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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                    )
UNITED STATES OF AMERICA,           )
                                    )
      Plaintiff,                    )
                                    )
               v.                   )
                                    )   CONSENT DECREE
DAIMLER AG and                      )
MERCEDES-BENZ USA, LLC,             )
                                    )   Civil Action Nos.:   1:20-cv-2564
      Defendants.                   )                        1:20-cv-2565
___________________________________ )
                                    )
PEOPLE OF THE STATE OF              )
CALIFORNIA,                         )
                                    )
      Plaintiff,                    )
                                    )
               v.                   )
                                    )
DAIMLER AG and                      )
MERCEDES-BENZ USA, LLC,             )
                                    )
      Defendants.                   )
___________________________________ )
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       WHEREAS, Plaintiff United States of America, on behalf of the United States

Environmental Protection Agency (“EPA”), is, concurrent with the lodging of this Consent

Decree, filing a complaint in this action (“U.S. Complaint”), against Daimler AG and Mercedes-

Benz USA, LLC (collectively, “Defendants”), alleging that Defendants violated Sections

203(a)(1), (a)(2)(A), (a)(3)(A), and (a)(3)(B) of the Clean Air Act (the “Act”), 42 U.S.C.

§§ 7522(a)(1), (a)(2)(A), (a)(3)(A), and (a)(3)(B), with regard to about 250,000 Model Year

(“MY”) 2009 to 2016 BlueTEC II diesel vehicles (collectively, “Subject Vehicles”).

       WHEREAS, the U.S. Complaint alleges that each Subject Vehicle contains, as part of the

electronic control unit (“ECU”), certain software functions and calibrations that cause the

emission control system of those vehicles to perform differently during normal vehicle operation

and use than during emissions testing. The U.S. Complaint alleges that these software functions

and calibrations are undisclosed “Auxiliary Emission Control Devices” (“AECDs”) in violation

of the Act and that some of these software functions and calibrations are also prohibited Defeat

Devices under the Act. The U.S. Complaint also alleges that during normal vehicle operation

and use, the Subject Vehicles emit increased levels of oxides of nitrogen (“NOx”). The U.S.

Complaint alleges and asserts claims for relief related to the presence of the undisclosed AECDs

and Defeat Devices in the Subject Vehicles.

       WHEREAS, Plaintiff the People of the State of California, acting by and through Xavier

Becerra, Attorney General of the State of California (“the California Attorney General”), and the

California Air Resources Board (“CARB”), are concurrently with the lodging of this Consent

Decree filing a complaint in this action (the “California Complaint”), against Defendants. In the

California Complaint, CARB alleges that Defendants violated certain provisions of California

law, including without limitation California Health and Safety Code sections 43016, 43106,




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43151, 43152, 43153, 43205, 43211, and 43212; 13 C.C.R. §§ 1961, 1961.2, 1965, 1968.2, and

2037; and 42 U.S.C. § 7604 and 40 C.F.R. § 54.3 with regard to 36,946 Model Year 2009 to

2016 BlueTEC II diesel vehicles (a subset of “Subject Vehicles”). For his part, the California

Attorney General alleges that Defendants, through their violation of the sections of California

Health and Safety Code and Code of Regulations pled by CARB, engaged in unlawful business

acts or practices, within the meaning of California Business and Professions Code § 17200 et

seq.

        WHEREAS, the California Complaint alleges, among other things, that the Subject

Vehicles contain undisclosed AECDs and prohibited Defeat Devices, as well as several

unreported, unapproved running changes and field fixes, that have resulted in, and continue to

result in, increased NOx emissions from each Subject Vehicle significantly in excess of

California limits.

        WHEREAS, Defendants deny the allegations in the Complaints and do not admit any

liability to the United States, California, or otherwise arising out of or in connection with the

allegations in the Complaints.

        WHEREAS, in 2017 and 2018, EPA and CARB certified that the configuration of

software and calibrations installed in the 6-cylinder Sprinters for MYs 2017 and 2018,

respectively, complied with the requirements of the Clean Air Act and, as to CARB, also with

California law.

        WHEREAS, Defendants will update the configuration of software and calibrations in the

Eligible Vehicles in Emission Modification Categories 1 and 2 with the MY17/18 Sprinter

certified configuration, and will make certain changes in the hardware, as listed in Appendix B,




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Attachment I, to each Eligible Vehicle in Emission Modification Categories 1 and 2, consistent

with the MY17/18 Sprinters.

       WHEREAS, Defendants will update the configuration of hardware, software, and

calibrations in the Eligible Vehicles in Emission Modification Category 9 (4-cylinder GLK 250s)

as listed in Appendix B, Attachment I. The Defendants made these updates on an Emission Test

Vehicle for Emission Modification Category 9, and conducted testing prior to lodging this

Consent Decree in accordance with an agreed-upon protocol with EPA/CARB, as set forth in

Appendix B.

       WHEREAS, Defendants will update the configuration of hardware, software, and

calibrations in the Eligible Vehicles in the other Emission Modification Categories as listed in

Appendix B, Attachment I.

       WHEREAS, based upon the results of the aforementioned testing of Emission

Modification Category 9 and the accompanying Updated AECD Document, and based upon

required testing pursuant to this Consent Decree for the other Emission Modification Categories,

EPA/CARB consider the updates to the Eligible Vehicles set forth in this Consent Decree,

together with the other terms set forth in this Consent Decree, to be an appropriate remedy for,

and to resolve in full, the allegations in the U.S. and California Complaints, as set forth in

Section XIV below.

       WHEREAS, the Parties recognize, and the Court by entering this Consent Decree finds,

that the United States and CARB are not issuing new Certificates of Conformity or Executive

Orders, respectively, for the Subject Vehicles, nor are they revoking the existing Certificates of

Conformity or Executive Orders for the Subject Vehicles.




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        WHEREAS, this Consent Decree is being filed during the COVID-19 pandemic, and all

Parties are mindful of the health and safety of the public and of their respective employees, and

cognizant of potential and uncertain impacts on work due to travel and social distancing

restrictions implemented to limit the spread of COVID-19 during the pandemic, and take these

important considerations into account, as described in Paragraph 65 of this Consent Decree.

        WHEREAS, the Parties recognize, and the Court by entering this Consent Decree finds,

that this Consent Decree has been negotiated by the Parties in good faith and will avoid litigation

among the Parties regarding the claims alleged in the Complaints, and that this Consent Decree is

fair, reasonable, and in the public interest.

        NOW, THEREFORE, before the taking of any testimony, without the adjudication or

admission of any issue of fact or law and with the consent of the Parties, IT IS HEREBY

ADJUDGED, ORDERED, AND DECREED as follows:

                               I.      JURISDICTION AND VENUE

        1.      This Court has jurisdiction over the subject matter of this action, pursuant to

28 U.S.C. §§ 1331, 1345, and 1355, and Sections 203, 204, and 205 of the Act, 42 U.S.C.

§§ 7522, 7523, and 7524, and over the Parties. Venue lies in this District pursuant to 28 U.S.C.

§ 1391 (b), (c). The Court has supplemental jurisdiction over the California State law claims

pursuant to 28 U.S.C. § 1367. For purposes of this Consent Decree, or in any action to enforce

this Consent Decree, the Parties agree to and Defendants consent to this Court’s jurisdiction over

this Consent Decree and over any action to enforce this Consent Decree, and over Defendants,

and consent to venue in this judicial district. Defendants reserve the right to challenge and

oppose any claims to jurisdiction that do not arise from the Court’s jurisdiction over this Consent

Decree or an action to enforce this Consent Decree.




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       2.      For purposes of this Consent Decree only, Defendants agree that the U.S.

Complaint states claims upon which relief may be granted pursuant to Sections 203, 204, and

205 of the Act, 42 U.S.C. §§ 7522, 7523, and 7524, and that the California Complaint states

claims upon which relief may be granted pursuant to California Health and Safety Code sections

43016, 43106, 43151, 43152, 43153, 43205, 43211, and 43212; California Business and

Professions Code § 17200 et seq.; 13 C.C.R. §§ 1961, 1961.2, 1965, 1968.2, and 2037; and 42

U.S.C. § 7604 and 40 C.F.R. § 54.3.

                                    II.     APPLICABILITY

       3.      The obligations of this Consent Decree apply to and are binding upon the United

States and California, and upon Defendants and any successors, assigns, or other entities or

persons otherwise bound by law.

       4.      No transfer of ownership or operation, whether in compliance with the procedures

of this Paragraph or otherwise, shall relieve Defendants of their obligation to ensure that the

terms of this Consent Decree are implemented. At least 30 Days prior to such transfer,

Defendants shall provide a copy of this Consent Decree to the proposed transferee and shall

simultaneously provide written notice of the prospective transfer, together with a copy of the

proposed written agreement, to the United States and CARB, in accordance with Section XVI

(Notices). Notwithstanding the foregoing, the provisions of this Paragraph do not apply to a

transfer of ownership or operations between or among Daimler group companies.

       5.      Defendants shall provide a copy of this Consent Decree to the members of their

respective Board of Management and/or Board of Directors and to their officers and executives

whose duties might reasonably include compliance with, or oversight over compliance with, any

provision of this Consent Decree. Defendants shall also ensure that any contractors retained to




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perform work required under the material terms of this Consent Decree, agents, or employees

whose duties might reasonably include compliance with any provision of this Consent Decree

are made aware of those requirements relevant to their performance. Defendants shall undertake

reasonable best efforts to condition any such contract upon performance of the work in

conformity with the terms of this Consent Decree.

       6.      In any action to enforce this Consent Decree, Defendants shall not raise as a

defense the failure by any of their respective officers, directors, employees, agents, or contractors

to take any actions necessary to comply with the provisions of this Consent Decree, except in

accordance with the provisions of Section XI (Force Majeure), below.

                                      III.    DEFINITIONS

       7.      Capitalized terms used in this Consent Decree that are defined in the Act or in

regulations promulgated pursuant to the Act shall have the meanings assigned to them in the Act

or such regulations, unless otherwise provided in this Consent Decree. Likewise, where context-

appropriate, capitalized terms that are defined in the California Health and Safety Code or in

CARB regulations promulgated pursuant to the California Health and Safety Code shall have the

meanings assigned to them in the California Health and Safety Code or such regulations, unless

otherwise provided in this Consent Decree. Capitalized terms that are defined in this Consent

Decree are defined for purposes of this Consent Decree only and are not defined or applicable for

any other purpose. Whenever the capitalized terms set forth below are used in this Consent

Decree, the following definitions shall apply:


               “20º F FTP” means the FTP conducted at 20º Fahrenheit, as specified in
               40 C.F.R. Part 1066, Subpart H.
               “Aftertreatment System” or “ATS,” for purposes of Section XI (Force Majeure)
               and Appendix B, Paragraph 1.e only, means the exhaust system consisting of the
               diesel oxidation catalyst (DOC), diesel particulate filter (DPF), SCR catalyst,


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   exhaust temperature sensors, the PM Sensor (where equipped), one NOx Sensor
   upstream from the SCR catalyst, and one NOx Sensor downstream from the SCR
   catalyst.
   “Air Pollution Control Fund” means the fund established by California Health and
   Safety Code section 43015.
   “Approved Emission Modification” means an emission modification submitted by
   Defendants pursuant to Appendix B, Paragraph 4 and approved by EPA/CARB
   pursuant to Appendix B, Paragraph 5.a.
   “Audit Plan” means the annual plan in which the PSAT will identify topics for
   internal audit.
   “Audit Report” means the report produced by the PSAT after the completion of
   the audit year, i.e., after completion of the final audit in a series of audits within a
   designated year.
   “Audit Committee of the Supervisory Board” means the committee consisting of
   four Supervisory Board members elected by a majority vote, which, among other
   duties, oversees Corporate Audit and external auditors.
   “Auxiliary Emission Control Device” or “AECD” has the meaning set forth in
   40 C.F.R. § 86.1803-01.
   “Bench-aged” means aging that is conducted pursuant to Appendix B, Paragraph
   1.e.i.
   “Board of Management” or “BoM” means the managerial board of Daimler AG,
   which is responsible for directing, coordinating, and controlling business
   activities in accordance with the goals it defines for Daimler in the best interests
   of the Company.
   “Business Day” means a calendar day that does not fall on a Saturday, Sunday, or
   federal or California holiday. In computing any period of time under this Consent
   Decree, where the last Day would fall on a Saturday, Sunday, or federal or
   California holiday, the period shall run until the close of business of the next
   Business Day.
   “Business Partner Integrity Management” means Daimler’s program regarding
   business partner integrity and compliance.
   “Business Practices Office” or “BPO” means Daimler’s central whistleblower
   system.
   “Buyback,” for purposes of Appendix A, Paragraph 18.j only, means the return of
   an Eligible Vehicle by an Eligible Owner to Defendants, in exchange for a
   payment that equals or exceeds the National Automobile Dealers Association
   (“NADA”) Clean Retail value of the Eligible Vehicle (adjusted for options,
   mileage, and NADA region in accordance with the then-current NADA guide) as
   of January 1, 2020.


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   “CA AG” means the California Attorney General’s Office and any of its
   successor departments or agencies.
   “CALID” means calibration identification for the software installed on any ECU
   as part of the Approved Emission Modification.
   “California” or “CA” means the People of the State of California, acting by and
   through the California Air Resources Board, and where it is used to refer to
   specific statutes or regulations only, it means the State of California.
   “California Attorney General” means the California Attorney General’s Office
   and any of its successor departments or agencies.
   “California Complaint” means the complaint filed by California in this action.
   “California Passenger Vehicle EMP Rate” means the 85 percent rate for
   Passenger Vehicles in California specified in Appendix A, Paragraph 4.
   “California Sprinter EMP Rate” means the 85 percent rate for Sprinters in
   California specified in Appendix A, Paragraph 4.
   “CARB” means the California Air Resources Board and any of its successor
   departments or agencies.
   “CBP” means the United States Customs and Border Protection and any of its
   successor departments or agencies.
   “CDCS” means Consolidated Debt Collection System.
   “CDX” means Central Data Exchange, the EPA’s electronic reporting site which
   can be found at https://cdx.epa.gov/epa_home.asp.
   “Central Powertrain Controller” or “CPC” means the electronic hardware device,
   together with the software and calibrations installed on the device, that links other
   control units, such as the ECU and TCU, to the rest of the vehicle and, in
   conjunction with other control units, controls the vehicle powertrain.
   “Certificate of Conformity” means the document that EPA issues to a vehicle
   manufacturer to certify that a vehicle class conforms to EPA requirements.
   “Class 1 Additional OBD Noncompliance” means the OBD Noncompliances
   described in Paragraph 53.c.ii.A.
   “Class 2 Additional OBD Noncompliance” means the OBD Noncompliances
   described in Paragraph 53.c.ii.B.
   “Class Action Settlement” means a consumer class action settlement agreement
   and release filed in In re Mercedes-Benz Emissions Litig., 2:16-cv-00881 (D.N.J.),
   by attorneys representing owners and lessees of Subject Vehicles. If a court
   issues an order granting final approval of a proposed consumer class action
   settlement agreement and release in In re Mercedes-Benz Emissions Litig., 2:16-



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   cv-00881 (D.N.J.), “Class Action Settlement” means that agreement as and in the
   form it is ultimately approved and entered by the court.
   “Clean Air Act” or “Act” means 42 U.S.C. §§ 7401–7671q.
   “Clearing Case” means a question or topic submitted into and resolved through
   the cross-functional decision-making process.
   “CO” means carbon monoxide.
   “CO2” means carbon dioxide.
   “Combined Uphill/Downhill and Highway Route” means the driving route shown
   and described in Appendix B, Attachment D.
   “Committee for Legal Affairs of the Daimler AG Supervisory Board” or
   “Committee for Legal Affairs” means the special committee of the Daimler AG
   Supervisory Board, which will direct and supervise the PSAT and retain the ECC.
   “Complaints” means the U.S. Complaint and the California Complaint.
   “Compliance Awareness Modules” or “CAM” means the integrity and
   compliance awareness modules provided to Daimler business partners.
   “Compliance Board” means the committee led by the Chief Compliance Officer
   and comprising of the responsible individual for each compliance field as well as
   the responsible individual for Compliance Management Systems & Processes and
   Legal Digital Transformation Strategy, which governs Daimler’s compliance
   strategy and steers and harmonizes overarching compliance activities.
   “Compliance Management System” or “CMS” means Daimler’s overall
   compliance management system.
   “Confidential Business Information” or “CBI” means information protected under
   40 C.F.R. Part 2 and/or comparable California law, including California
   Government Code § 6254(k) and 17 C.C.R. §§ 91000 et seq.
   “Consent Decree” or “Decree” means this Consent Decree and all Appendices
   and Attachments attached hereto.
   “Consumer Emission Modification Disclosure” means the disclosure to all
   affected Eligible Owners and Eligible Lessees required pursuant to Appendix A,
   Paragraph 15.
   “Cooling Phase” means the period of operation in which the ATS is returned to
   normal operating temperature and shall last for at least the number of seconds
   specified in the Updated AECD Document for Emission Modification Category 9.
   “Corporate Audit” means the independent and objective Company-wide assurance
   function of Daimler and its affiliates.
   “Curb Weight” has the meaning set forth in 40 C.F.R. § 86.1803-01.


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   “CVN” means calibration verification number for the software installed on any
   ECU as part of the Approved Emission Modification.
   “Date of Lodging” means the date this Consent Decree is filed for lodging with
   the Court.
   “Day” means a calendar day, unless expressly stated to be a Business Day. In
   computing any period of time under this Consent Decree, where the last day
   would fall on a Saturday, Sunday, or federal or California holiday, the period shall
   run until the close of business of the next Business Day.
   “Dealer” means any entity authorized by MBUSA or DVUSA, subject to a
   written dealer agreement, to sell and/or service Subject Vehicles in the United
   States.
   “Dealer Emission Modification Disclosure” means the disclosure to all Dealers
   required pursuant to Appendix A, Paragraph 17.
   “Defeat Device” has the meaning provided under 40 C.F.R. § 86.1803-01 and 42
   U.S.C. § 7522(a)(3)(B).
   “Defendants” means the entities named in the U.S. Complaint and California
   Complaint, specifically, Daimler AG and Mercedes-Benz USA, LLC.
   “Deterioration Factor” or “DF” means the number, determined pursuant to 40
   C.F.R. § 86.1823-08, that represents the change in emissions performance during
   a vehicle’s Full Useful Life.
   “Diesel Exhaust Fluid” or “DEF” means a liquid reducing agent used in
   conjunction with selective catalytic reduction to reduce NOx emissions. DEF is
   generally understood to be an aqueous solution of urea conforming to the
   specification of ISO 22241.
   “Diesel Oxidation Catalyst System” or “DOC System” means all hardware,
   components, parts, sensors, subassemblies, software, AECDs, calibrations, and
   other elements of design that collectively constitute the system for, among other
   things, controlling emissions of carbon monoxide and hydrocarbons, together
   with other pollutants, through a chemical reaction accelerated by an oxidation
   catalyst.
   “Diesel Particulate Filter System” or “DPF System” means all hardware,
   components, parts, sensors, subassemblies, software, AECDs, calibrations, and
   other elements of design that collectively constitute the system for, among other
   things, controlling emissions of particulate matter by trapping such particulates in
   a filter and periodically oxidizing them through thermal regeneration of the filter.
   “Dosing Control Unit” or “DCU” means the electronic hardware device, together
   with the software and calibrations installed on the device, that controls, among
   other things, the operation of the DEF dosing system in the Subject Vehicles.




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   “DPF Regeneration Event” means an event triggered by the ECU that increases
   exhaust temperature for a limited time period to oxidize particulate matter
   collected on and within the diesel particulate filter.
   “Drivability” means the combination of agile and smooth delivery of power, as
   demanded by the driver or operator.
   “DVUSA” means Daimler Vans USA, LLC.
   “E1” means executive level employee directly reporting to a BoM member.
   “E2” means senior manager-level employee.
   “E3” means manager-level employee, senior to E4.
   “E4” means manager-level employee.
   “Effective Date” or “Date of Entry” means the date upon which this Consent
   Decree is entered by the Court or a motion to enter this Consent Decree is
   granted, whichever occurs first, as recorded on the Court’s docket.
   “Effectiveness Evaluation” means the annual process by which Daimler evaluates
   the effectiveness of the various aspects of its compliance management systems.
   “Eligible Lessee” means (1) the current lessee or lessees of an Eligible Vehicle
   with an active lease as of the date the Eligible Vehicle receives the Approved
   Emission Modification; or (2) solely for purposes of any applicable Extended
   Modification Warranty, the subsequent lessee or lessees of an Eligible Vehicle
   that has received the Approved Emission Modification.
   “Eligible Owner” means the (1) owner or owners of an Eligible Vehicle on the
   day that the Eligible Vehicle receives or is eligible to receive the Approved
   Emission Modification or (2) solely for purposes of any applicable Extended
   Modification Warranty, the subsequent owner or owners of an Eligible Vehicle
   that has received the Approved Emission Modification.
   “Eligible Vehicle” means any vehicle in an Emission Modification Category
   identified in Appendix B, Attachment I that is (1) registered with a state
   Department of Motor Vehicles or equivalent agency or held by a Dealer or
   unaffiliated dealer and located in the United States or its territories; and (2)
   Operable as of the date the vehicle is brought in for the Approved Emission
   Modification.
   “Emission Control System” has the meaning set forth at 40 C.F.R. § 86.1803-01,
   and at “California 2001 through 2014 Model Criteria Pollutant Exhaust Emission
   Standards and Test Procedures and 2009 through 2016 Model Greenhouse Gas
   Exhaust Emission Standards and Test Procedures for Passenger Cars, Light-Duty
   Trucks, and Medium-Duty Vehicles,” Part I: C.3.3.2 and “California 2015 and
   Subsequent Model Criteria Pollutant Exhaust Emission Standards and Test
   Procedures and 2017 and Subsequent Model Greenhouse Gas Exhaust Emission
   Standards and Test Procedures for Passenger Cars, Light-Duty Trucks, and


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   Medium-Duty Vehicles,” Part I: C.3.3.2, the latter two of which are incorporated
   by reference in 13 C.C.R. §§ 1961 & 1961(d).
   “Emission Control System Extended Modification Warranty” means the warranty
   provided in Appendix A, Paragraph 18.a.
   “Emission-Related” means, for the purpose of Section VII (Corporate
   Compliance), hardware that is included on the Emission-Related Parts List
   described in Section VII, Paragraph 30.h.ii or ECU, TCU, DCU, or CPC software
   or software calibrations.
   “Emission Modification Category” means one of the 12 categories of Models and
   Model Years as identified in the sixth column of Appendix B, Attachment I.
   “Emission Modification Configuration” means the update(s) to the Subject
   Vehicles in an Emission Modification Category, pursuant to the process outlined
   in Appendix B.
   “Emission Modification Database” means a searchable database that Defendants
   make available online for a minimum of ten years, by which users may conduct a
   free-of-charge search by vehicle VIN to determine the information required
   pursuant to Appendix A, Paragraphs 16.c and 16.d.
   “Emission Modification Proposal Report” means the report specified in Appendix
   B, Paragraph 4.a.
   “Emission Modification Program” means the program specified in Appendix A,
   Paragraph 1.
   “Emission Standard” means the FUL emission standard specified in the fourth
   column of Appendix B, Attachment I for the given row. If EPA/CARB approve a
   proposed Emission Modification Configuration that meets the Emission Standard
   First Threshold or Emission Standard Upper Threshold, then where this Consent
   Decree, Test Protocol and other Appendices and Attachments use the term,
   “Emission Standard,” that term shall be replaced with Emission Standard First
   Threshold or Emission Standard Upper Threshold, as relevant for the AEM for
   that Emission Modification Category.
   “Emission Standard First Threshold” means the FUL emission standard, as
   follows: Emission Modification Categories 4–8 and 11–12: Tier 2, Bin 6, as set
   forth in 40 C.F.R. § 86.1811-04(c)(6), Tier 2, LDT4, as set forth in 40 C.F.R.
   § 86.1811-04(f), Highway NOx exhaust emission standard, as set forth in 40
   C.F.R. § 86.1811-04(j), and LEV II ULEV, as set forth in 13 C.C.R. § 1961.
   “Emission Standard Upper Threshold” means the FUL emission standard, as
   follows:
          (1)      Emission Modification Categories 4–8 and 11–12: Tier 2, Bin 7,
          as set forth in 40 C.F.R. § 86.1811-04(c)(6), Tier 2, LDT4, as set forth in
          40 C.F.R. § 86.1811-04(f), Highway NOx exhaust emission standard, as


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          set forth in 40 C.F.R. § 86.1811-04(j), and LEV II ULEV, as set forth in
          13 C.C.R. § 1961.
          (2)      Emission Modification Category 10: Tier 3, Bin 160, as set forth
          in 40 C.F.R. § 86.1811-17(b), Highway NOx exhaust emission standard, as
          set forth in 40 C.F.R. § 86.1811-17(c), and LEV III LEV 160, as set forth
          in 13 C.C.R. § 1961.2.
   “Emission Plus Test Vehicles” or “EPTV” means the Test Vehicles listed in
   Appendix B, Attachment A, Table 1.
   “Emission Plus Test Vehicle 1” or “EPTV 1” means the Emission Plus Test
   Vehicle tested for the emission, special cycle, and PEMS tests pursuant to
   Appendix B, Paragraph 2.b.
   “Emission Plus Test Vehicle 2” or “EPTV 2” means the Emission Plus Test
   Vehicle tested for the A-to-B fuel economy testing pursuant to Appendix B,
   Paragraph 2.c.i, and the A-to-B NVH and A-to-B Drivability testing pursuant to
   Appendix B, Paragraphs 2.c.ii and 2.c.iii, unless a third vehicle, Emission Plus
   Test Vehicle 3, is tested for the A-to-B NVH and A-to-B Drivability testing.
   “Emission Plus Test Vehicle 3” or “EPTV 3” means an additional Emission Plus
   Test Vehicle that may be tested for the A-to-B NVH and the A-to-B Drivability
   testing pursuant to Appendix B, Paragraphs 2.c.ii and 2.c.iii.
   “Engine Control Unit” or “ECU” means an electronic hardware device, together
   with the software and calibrations installed on the device, that controls, among
   other things, the operation of the Emission Control System in the Subject
   Vehicles.
   “Engineering Practices Board” or “EPB” means the committee consisting of
   mainly E1-level representatives from IL/P, R&D, Certification, tCMS R&D,
   Communications, and External Affairs which considers issues escalated from the
   TCC.
   “EPA” means the United States Environmental Protection Agency and any of its
   successor departments or agencies.
   “EPA/CARB” means EPA and CARB jointly, or EPA or CARB, as applicable.
   “ETK” means a development tool that includes the functions of an ECU and is an
   abbreviation for “Emulator Tast Kopf.”
   “Exhaust Gas Recirculation System” or “EGR System” means all hardware,
   components, parts, sensors, subassemblies software, AECDs, calibrations, and
   other elements of design that collectively constitute the system for recirculating
   gas from the engine’s exhaust manifold into the pipe in front of the intake
   manifold of the engine.
   “Executive Order” means an order issued by CARB to certify a particular MY test
   group in combination with one or more evaporative families that meets CARB


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   regulatory requirements for importation into and entry into commerce in
   California.
   “Extended Modification Warranty” means the extended warranty specified in
   Appendix A, Paragraph 18.
   “Extended Warranty Period” means the warranty period defined at Appendix A,
   Paragraph 18.b.
   “External Compliance Consultant” or “ECC” means the external individual
   retained by the Committee for Legal Affairs to advise and assist the Committee
   for Legal Affairs as it directs and supervises the PSAT.
   “Flat File” means a comprehensive file that consists of a series of rows of test
   records organized in columns of test parameters or variables from dynamometer
   or portable emission measurement system (PEMS) tests. The unique records are
   identified in a tabular format by test vehicle, test ID, test type (for dynamometer)
   or route (for PEMS), and phase number (for dynamometer) or route segment (for
   PEMS). The tabular file is to be provided in Excel format.
   “FLU” means the Financial Litigation Unit of the United States Attorney’s Office.

   “FTP 72” or “Urban Dynamometer Driving Schedule” or “UDDS” means the
   drive cycle set forth at 40 C.F.R. Part 86, Appendix I (Dynamometer Schedules).
   “FTP 72 Prep Cycle” means a single FTP 72 drive cycle.
   “Federal Test Procedure” or “FTP75” means the emission test cycle described in
   40 C.F.R. § 86.135-12 and the procedures set forth at 40 C.F.R. §§ 1066.810–
   1066.820.
   “Full Useful Life” or “FUL” has the meaning set forth in 40 C.F.R. § 86.1805-12.
   “Functional Group Leader” means an experienced engineer with expertise
   regarding certain functions who serves as an expert contact for questions, assists
   with data checks, and confirms compliance of functionalities.
   “Gross Vehicle Weight” or “GVW” has the meaning set forth in 40 C.F.R.
   § 86.1803-01.
   “Gross Vehicle Weight Rating” or “GVWR” has the meaning set forth in 40
   C.F.R. § 86.1803-01.
   “Group Risk Management Committee” or “GRMC” means the committee which
   evaluates risk to Daimler. The GRMC consists of representatives from the
   Accounting & Financial Reporting, Legal, Compliance, Legal Product &
   Technical Compliance, Corporate & Data Security departments, and CFOs of
   Mercedes-Benz AG, Daimler Truck AG, and Daimler Mobility AG. It is chaired
   by the BoM Member for Finance & Controlling and the BoM Member for
   Integrity and Legal Affairs of Daimler AG. Corporate Audit participates in the



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   GRMC and delivers material findings on the Internal Control and Risk
   Management System.
   “Heavy Duty Vehicle” or “HDV” has the meaning set forth in 40 C.F.R.
   § 86.1803-01.
   “Highway Fuel Economy Test” or “HWFET” means the emission test cycle
   described in 40 C.F.R. § 600.109-08(b) and Appendix I (Highway Fuel Economy
   Driving Schedule) to Part 600 and the procedure described in 40 C.F.R.
   § 1066.840.
   “Hydraulic Control Unit” or “HCU” means the electronic and hydraulic hardware
   device which consists of the hydraulic switch plate, the Transmission Control
   Unit, and the electromagnetic valves to control, among other things, the hydraulic
   pressure for the operation of the transmission in the Subject Vehicles.
   “Include” and “Including,” as used in this Consent Decree and accompanying
   Appendices and Attachments, are not limiting terms.
   “Infopoint Integrity” means the central hotline accessible Company-wide to all
   employees, serving as a point of contact for all integrity issues, including
   questions on technical compliance.
   “Infrequent Regeneration Adjustment Factor” or “IRAF” means the additive or
   upward adjustment factor for each pollutant used to account for increased
   emissions caused by periodic regeneration of any aftertreatment device. The
   increased emissions caused by such events are accounted for by adjustment
   factors, or IRAFs, for the pollutants NMOG, NOx, CO, and PM, as applicable.
   “Inspection and Maintenance Mandatory Recall Noncompliance” means the OBD
   Noncompliances described in Paragraph 53.c.v.
   “Integrity and Legal Affairs” or “IL” mean overarching BoM responsibility for
   legal, integrity, and compliance.
   “In-Use Group 1” means, for the purpose of in-use testing pursuant to Paragraph
   19.b, Emission Modification Category 1.
   “In-Use Group 2” means, for the purpose of in-use testing pursuant to Paragraph
   19.b, Emission Modification Categories 9, 10, 11, and 12.
   “In-Use Group 3” means, for the purpose of in-use testing pursuant to Paragraph
   19.b, Emission Modification Category 3.
   “In-Use Group 4” means, for the purpose of in-use testing pursuant to Paragraph
   19.b, Emission Modification Categories 4 and 5.
   “In-Use Group 5” means, for the purpose of in-use testing pursuant to Paragraph
   19.b, Emission Modification Categories 7 and 8.
   “IT” means information technology.



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   “IUCP” means the in-use confirmatory test plan described in Paragraph 19.b.
   “IUCP Vehicles” means vehicles that meet the requirements of Paragraph 19.b.iii.
   “IUVT Vehicles” means vehicles that meet the requirements of Paragraph 19.b.i.

   “Lease Termination” means, for purposes of Appendix A, Paragraph 18.j only,
   the return of an Eligible Vehicle by an Eligible Lessee to the lessor, at no cost to
   the Eligible Lessee and with full cancellation of the remaining terms of the lease
   with no financial or other penalty, under terms specified in Appendix A,
   Paragraph 18.j.
   “Legal Product & Technical Compliance” or “IL/P” mean the department
   consisting of lawyers, engineers, and business experts, which designs and
   develops tCMS elements, participates in the cross-functional decision-making
   process, conducts independent second-line testing of tCMS controls, and provides
   Daimler-wide tCMS monitoring and improvement initiatives.
   “Light Duty Truck” or “LDT” has the meaning set forth in 40 C.F.R. § 86.1803-
   01.
   “Light Duty Vehicle” or “LDV” has the meaning set forth in 40 C.F.R. § 86.1803-
   01.
   “Low-Emission Vehicle III” or “LEV III” means the LEV III emission standards
   in 13 C.C.R. § 1961.2 and the incorporated test procedures (incorporated by
   reference in 40 C.F.R. § 86.1(d)(1)(i)).
   “Malfunction” means a circumstance where a Test Vehicle experiences a
   mechanical or electrical problem, including as the result of damage or accident,
   that (1) renders the vehicle inoperable, (2) presents a safety or environmental
   hazard if the vehicle continues to be operated (such as an oil leak), or (3) causes
   an OBD event (for example, recording a pending fault code or illuminating the
   MIL), except for the following OBD events: (a) OBD events during OBD
   demonstration testing, (b) DEF/fuel tank level sloshing diagnostics (P21C5), and
   (c) false detection or MIL illumination due to chassis dynamometer simulation
   testing, unless such false detection or MIL illumination causes a default action or
   default strategy that changes the emission performance behavior.
   “Materials” means Submissions and other documents, certifications, plans,
   reports, notifications, statements of position, data, or other information required
   by or submitted pursuant to this Consent Decree.
   “Mercedes-Benz USA, LLC” or “MBUSA” means the U.S. division of Mercedes-
   Benz Cars.
   “Mercedes-Benz Research & Development North America, Inc.” or “MBRDNA”
   means the North American research and development-related service provider for
   Mercedes-Benz Cars.




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   “MIL” means the malfunction indicator light of the OBD system outlined in 13
   C.C.R. § 1968.2 that illuminates to notify the vehicle operator of detected
   malfunctions.
   “Mileage” means vehicle mileage recorded on the odometer.
   “Model” has the meaning set forth in 40 C.F.R. § 600.002 for “Model type.”
   “Modified Eligible Vehicle” means an Eligible Vehicle that has received an
   Approved Emission Modification.
   “MPG” means miles per gallon.
   “Model Year” or “MY” has the meaning set forth in 40 C.F.R. § 600.002.
   “MY16 Six-Cylinder GLE 350ds” means the six OM642 (6-cylinder) MY16 GLE
   350d vehicles with VINs 4JGDA2EB1GA598863, 4JGDA2EB8GA755062,
   4JGDA2EB7GA754985, 4JGDA2EB3GA755003, 4JGDA2EB0GA754794, and
   4JGDA2EBXGA754916 that Defendants sold or offered for sale in, or introduced
   or delivered for introduction into commerce in the United States, or imported into
   the United States.
   “MY17/18 Sprinters” means the OM642 (6-cylinder) Sprinters that were issued
   final Certificates of Conformity HMBXD03.0HD1-034-R01, HMBXD03.0HD2-
   035, HMBXD03.0HD3-036, HMBXD03.0HD4-037, JMBXD03.0HD1-030,
   JMBXD03.0HD2-031, JMBXD03.0HD3-032, JMBXD03.0HD4-033-R01 in
   Model Years 2017 and 2018 and issued Executive Orders A-003-0591-1, A-003-
   0592-1, A-003-0593-1, A-003-0594-1, A-003-0630, A-003-0631, A-003-0632,
   and A-003-0633.
   “NHTSA” means the National Highway Traffic Safety Administration.
   “National Passenger Vehicle EMP Rate” means the 85 percent nationwide rate for
   Passenger Vehicles specified in Appendix A, Paragraph 4.
   “National Sprinter EMP Rate” means the 85 percent nationwide rate for Sprinters
   specified in Appendix A, Paragraph 4.
   “Neutral Intermediary” means an independent external attorney available to
   receive reports to the BPO in Germany.
   “Noise, Vibration, and Harshness” or “NVH” means a measure of the noise level
   heard during driving and in idle, the vibrations felt during driving and in idle, and
   the acoustic harshness (which is the transition area between tactile vibration and
   hearable noise) of the ride of the vehicle.
   “NMHC” means “non-methane hydrocarbons,” i.e., the sum of all hydrocarbon
   species except methane.
   “Normal Mode” means the period of operation in which the ATS is operated at
   temperatures consistent with normal vehicle operation and shall last for at least



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   the number of seconds specified in the Updated AECD Document for Emission
   Modification Category 9.
   “NOx” means oxides of nitrogen, i.e., the sum of the nitric oxide and nitrogen
   dioxide contained in a gas sample as if the nitric oxide were in the form of
   nitrogen dioxide.
   “NOx Sensor(s)” means a sensor located in a vehicle’s exhaust system which
   directly or indirectly measures NOx or related characteristics.
   “On-board Diagnostic System” or “OBD System” means all hardware,
   components, parts, sensors, subassemblies, software, AECDs, calibrations, and
   other elements of design that collectively constitute the system for monitoring all
   systems and components that must be monitored pursuant to the version of 13
   C.C.R. § 1968.2 applicable at the time of certification for the particular Model
   Year of a Subject Vehicle, for the purpose of identifying and detecting
   malfunctions of such monitored systems and components, and for alerting the
   driver of such potential malfunctions by illuminating the MIL.
   “OBD Clusters” means the groupings of the Subject Vehicles as identified in the
   eighth column of Appendix B, Attachment I.
   “OBD Demonstration Vehicle” means the Test Vehicles listed in Appendix B,
   Attachment A, Table 2.
   “OBD Infrequent Regeneration Adjustment Factor” or “OBD IRAF” mean the
   additive or upward adjustment factor for each pollutant used to account for
   increased emissions caused by periodic regeneration of any aftertreatment device
   or strategies activated for monitoring faulty components of the control system in
   order to adjust the emissions results used to determine the malfunction criterion
   for monitors that are required to indicate a malfunction before emissions exceed
   the applicable emission threshold.
   “OBD Noncompliance” means any of the following terms, as relevant in the
   context of the Paragraph: Pre-Approved OBD Noncompliances, Class 1
   Additional OBD Noncompliances, Class 2 Additional OBD Noncompliances,
   Section 1968.5 OBD Noncompliances, or Unreported OBD Noncompliances.
   “OBD Summary Table” means the table submitted by Defendants to EPA and
   CARB pursuant to Appendix B, Paragraph 4.a.i.E and that complies with the
   version of 13 C.C.R. § 1968.2(i)(2.2) applicable at the time of certification for the
   particular Model Year of a Subject Vehicle. For Emission Modification
   Categories 1 to 5 and 9, it must include a revised OBD Summary Table for the
   OBD Cluster associated with the Emission Modification Category that identifies
   in redline the changes in the OBD system from the certified configuration due to
   the proposed Emission Modification Configuration, or, if there are no material
   changes to the OBD system, it must provide a statement that there are no material
   changes and the basis for this conclusion. The revised OBD Summary Table for
   Emission Modification Categories 1 to 5 shall be in a format comparable to that


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   included in the revised OBD Summary Table for Emission Modification Category
   9.
   “Operable” means that a vehicle so described can be driven under its own engine
   power.
   “Paragraph” means a portion of this Consent Decree or any Appendices attached
   hereto identified by an Arabic numeral. Unless a subsidiary Paragraph is
   otherwise specified, if a Paragraph is cross-referenced, the cross-reference shall
   include all subsidiary Paragraphs (e.g., Paragraph 1, 1.a, 1.b, 1.b.i, 1.b.i.A, 1.c,
   etc.).
   “Particulate Matter” or “PM” means particulates formed during the diesel
   combustion process and measured by the procedures specified in 40 C.F.R. Part
   86, Subpart B.
   “Particulate Matter Sensor” or “PM Sensor” means a sensor located in a vehicle’s
   exhaust system which directly or indirectly measures Particulate Matter or related
   characteristics.
   “Parties” means the United States, California, and Defendants.

   “Passenger Vehicles” means the vehicles in Emission Modification Categories 4–
   12.
   “Payment Transmittal Form” means the form provided by CARB to the addressee
   listed in Paragraph 10 after the Effective Date of this Consent Decree, to
   accompany payments made to CARB.
   “Personal Information” means (1) information specifically identifying, by
   reference to name, initials, telephone number, fax number, email, unique position
   or office, home address, or identification number, an employee of Daimler AG or
   any of its subsidiaries, except a subsidiary that is incorporated in or has its
   principal place of business in the United States, and (2) specific information about
   the health or family status of such an employee. Personal Information shall not
   include: (1) any information that directly relates to a violation of the terms of this
   Consent Decree; (2) any information that an employee has agreed may be
   processed and transferred to Plaintiffs by Daimler AG or any of its subsidiaries as
   part of that individual’s employment agreement, including any collective
   employment agreements that include such individual; or (3) any information that
   an employee has otherwise consented may be processed and transferred to
   Plaintiffs by Daimler AG or any of its subsidiaries.
   “Plaintiffs” means the United States and California.
   “Portable Emissions Measurement System” or “PEMS” means an emissions
   measurement system that complies with the field testing specifications of 40
   C.F.R. Part 1065, Subpart J, and that measures emissions while a vehicle is driven
   on the road.



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   “Post-Settlement Audit Team” or “PSAT” mean the audit department, located
   within Corporate Audit, consisting of audit teams dedicated specifically to
   environmental compliance and tCMS, which will conduct internal audits under
   this Consent Decree.
   “Pre-Approved OBD Noncompliance” mean the OBD Noncompliances described
   in Appendix B, Paragraph 2.f.i.A and Attachment L, and in Paragraph 53.c.i.
   “Project Future” means the restructuring plan under which Daimler AG has
   become the publicly listed parent company of three legally independent entities—
   Mercedes-Benz AG (including business units Mercedes-Benz Cars and Mercedes-
   Benz Vans), Daimler Truck AG (including business units Daimler Trucks and
   Daimler Buses), and Daimler Mobility AG (formerly Daimler Financial Services
   AG). Daimler AG will perform governance, strategy, and management functions
   as well as provide Company-wide services.
   “PVE” means production vehicle evaluation, which is testing conducted in
   accordance with the requirements of 13 C.C.R. § 1968.2(j) (2016), as modified by
   Appendix B.
   “QA/QC Reports” or “Quality Assurance/Quality Control Reports” mean records
   describing actions, measures, and steps taken to ensure the reliability and
   validation of the data and testing conducted under Appendix B to this Consent
   Decree. For emissions and fuel economy testing conducted pursuant to Appendix
   B, the QA/QC Reports will document compliance with 40 C.F.R. Part 1066; for
   OBD testing conducted pursuant to Appendix B, the QA/QC Reports will
   document compliance with 40 C.F.R. Part 86.
   “Quality Management Department” or “QM” means the department responsible
   for quality management at Daimler.
   “Records” means all non-identical copies of all documents, records, reports, or
   other information (including documents, records, or other information in
   electronic form).
   “Regeneration Mode” means the period of operation in which the ATS is operated
   at temperatures consistent with a DPF Regeneration Event and with a minimum
   temperature and minimum duration specified in the Updated AECD Document for
   Emission Modification Category 9.
   “Remedy Period” has the meaning set forth in Appendix A, Paragraph 18.j.

   “Research & Development Department(s)” or “R&D” or “R&D department”
   mean the research and development departments of Mercedes-Benz Cars and
   Mercedes-Benz Vans.
   “Risk Assessment” means the annual processes to systematically identify and
   assess the respective compliance risks of all Daimler entities.




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   “SC03” means the emission test cycle described in Appendix I, Paragraph (h)
   (Dynamometer Schedules) of 40 C.F.R. Part 86 and the procedures set forth in 40
   C.F.R. §§ 1066.810 and 1066.835.
   “Secondary Emission Plus Test Vehicles” means one or more backup, or
   secondary, Emission Plus Test Vehicles for each Emission Modification Category
   that meet the requirements of Appendix B, Paragraph 1.c.
   “Secondary OBD Demonstration Vehicles” means one or more backup, or
   secondary, OBD Demonstration Vehicles for each OBD Cluster that meet the
   requirements of Appendix B, Paragraph 1.c.
   “Secondary Vehicles” means Secondary Emission Plus Test Vehicles and/or
   Secondary OBD Demonstration Vehicles.
   “Section” means a portion of this Consent Decree identified by a capitalized
   Roman numeral.
   “Section 1968.5 OBD Noncompliance” means the OBD Noncompliances
   described in Paragraph 53.c.iv.
   “Selective Catalytic Reduction System” or “SCR System” means all hardware,
   components, parts, sensors, subassemblies, software, AECDs, calibrations, and
   other elements of design that collectively constitute the system for controlling
   NOx emissions through catalytic reduction using an ammonia-based DEF as the
   reducing agent, including without limitation all hardware, components, parts,
   sensors, subassemblies, software, AECDs, calibrations, and other elements of
   design relating to (1) the DEF storage tank, (2) the DEF injectors, (3) the dosing
   control unit, and (4) the SCR catalyst assembly.
   “Sprinters” means the vehicles in Emission Modification Categories 1–3.
   “Standard Road Cycle” or “SRC” means the test cycle described in 40 C.F.R. Part
   86, Appendix V.
   “Statement of Position” means a written statement of position by any Party
   regarding a matter in dispute to be resolved through formal dispute resolution
   procedures pursuant to Paragraphs 72–75 of this Consent Decree.
   “Subject Vehicles” means any vehicles identified in Appendix B, Attachment I
   that Defendants sold or offered for sale in, or introduced or delivered for
   introduction into commerce in the United States or its Territories, or imported into
   the United States or its Territories, and that are or were purported to have been
   covered by the EPA test groups and/or CARB test groups listed in Appendix B,
   Attachment I.
   “Submission” means any plan, report, application, or other item that is required to
   be submitted for approval pursuant to this Consent Decree.
   “Supervisory Board” means the corporate governance board of Daimler AG,
   which monitors and advises the BoM.


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   “tCMS Multiplier” means a contact person within R&D for technical compliance-
   related issues.
   “tCMS R&D” or “tCMS R&D department” mean the dedicated tCMS units
   established within R&D (both Mercedes-Benz Passenger Cars and Vans). Both of
   these units report directly to the respective heads of the R&D departments.
   “tCMS Risk Assessment” means the annual Risk Assessment conducted for
   technical product compliance risks, designed to measure the technical product
   compliance and environmental risk exposure of R&D departments, and identify
   the specific risks existing within each of those departments. The tCMS Risk
   Assessment is conducted by IL/P.
   “Technical Compliance Committee” or “TCC” means the committee consisting of
   mainly E2-level representatives from IL/P, R&D, Certification, tCMS R&D,
   Communications, and External Affairs, which participates in the cross-functional
   decision-making process and considers Clearing Cases.
   “Technical Compliance Management System” or “tCMS” means Daimler’s
   technical compliance management system, consisting of values, principles,
   structures, and processes that have the primary objective of addressing all
   significant technical and environmental risks arising during the product life cycle,
   including risks related to emissions and certification.
   “Test Group” means the basic classification unit within a durability group as
   determined under 40 C.F.R. § 86.1827-01, used for the purpose of demonstrating
   compliance with exhaust emission standards in accordance with 40 C.F.R.
   § 86.1841-01.
   “Test Protocol” means Appendix B and all Attachments thereto.
   “Test Vehicles” mean vehicles that meet the requirements of Appendix B,
   Paragraphs 1.a–1.c and Appendix B, Attachment A, and that are tested pursuant to
   Appendix B.
   “THC” means total hydrocarbons.
   “Transmission Control Unit” or “TCU” means the electronic hardware device,
   together with the software and calibrations installed on the device, that controls
   the operation of the transmission in the Subject Vehicles.
   “Ultra Low Emission Vehicle” or “ULEV” means any vehicle certified by CARB
   as meeting CARB ultra-low-emission vehicle standards, either under 13 C.C.R.
   § 1961(a)(1) for 2004 through 2019 vehicles certified under the California LEV II
   exhaust emission standards, or under 13 C.C.R. § 1961.2(a)(1) for 2015 and
   subsequent model year vehicles certified under the California “LEV III” exhaust
   emission standards.
   “Unified Drive Cycle” or “UDC” means the “Unified Cycle Driving Schedule”
   defined in Part II of the “California 2015 and Subsequent Model Criteria Pollutant


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               Exhaust Emission Standards and Test Procedures and 2017 and Subsequent
               Model Greenhouse Gas Exhaust Emission Standards and Test Procedures for
               Passenger Cars, Light Duty Trucks, and Medium Duty Vehicles,” incorporated by
               reference in 13 C.C.R. § 1961.2.
               “United States” means the United States of America, acting on behalf of EPA.
               “United States/California” means the United States and California jointly, or the
               United States or California, as applicable.
               “United States/CARB” means the United States and CARB jointly, or the United
               States or CARB, as applicable.
               “Unreported OBD Noncompliance” means the OBD Noncompliances described
               in Paragraph 53.c.iii.
               “Updated AECD Document” means the document that meets the requirements of
               Appendix B, Paragraph 4.a.ii.
               “U.S. Complaint” means the complaint filed by the United States in this action on
               September 14, 2020.
               “Urban/Downtown Los Angeles Route” means the driving route shown and
               described in Appendix B, Attachment D.
               “US06” means the emission test cycle described in Appendix I, Paragraph (g)
               (Dynamometer Schedules) of 40 C.F.R. Part 86 and the procedures set forth at 40
               C.F.R. §§ 1066.810 and 1066.831.
               “VIN” means vehicle identification number, as defined in 49 C.F.R. § 565.12(r).
               “WAL” means worst acceptable limit as set forth in 13 C.C.R. § 1968.2(h)(6.4.1)
               (2016).
               “Warrantable Failure” has the meaning set forth in Appendix A, Paragraph 18.j.

                                    IV.    CIVIL PENALTY

       8.      Within 30 Days after the Effective Date, Defendants shall pay the total sum of

$875,000,000 as a civil penalty, together with interest accruing from the Date of Lodging at the

rate specified in 28 U.S.C. § 1961 as of the Date of Lodging. Defendants are jointly and

severally liable for payment of the sum in the prior sentence.

       9.      Of the amount set forth in Paragraph 8, Defendants shall pay $743,750,000, plus

the interest due thereon, to the United States, by FedWire Electronic Funds Transfer to the U.S.




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Department of Justice account, in accordance with instructions provided to Defendants by the

Financial Litigation Unit (“FLU”) of the United States Attorney’s Office for the District of

Columbia after the Effective Date. The payment instructions provided by the FLU will include a

CDCS number, which Defendants shall use to identify all payments required to be made in

accordance with this Consent Decree. The FLU will provide the payment instructions to:

               Daimler AG
               z. H. Kurt Schäfer
               Werk 096, HPC Z300
               70546 Stuttgart, Germany
               Email: kurt.schaefer@daimler.com
               Phone: +49 711 17-92203

               Daimler AG
               z. H. Frank Wetter
               Werk 096, HPC Z304
               70546 Stuttgart, Germany
               Email: frank.wetter@daimler.com
               Phone: +49 711 17-92945

on behalf of Defendants. Defendants may change the individual to receive payment instructions

on its behalf by providing written notice of such change to the United States and EPA in

accordance with Section XVI (Notices).

       At the time of payment, Defendants shall send notice that payment has been made: (1) to

EPA via email at cinwd_acctsreceivable@epa.gov or via regular mail at EPA Cincinnati Finance

Office, 26 W. Martin Luther King Drive, Cincinnati, Ohio 45268; (2) to the United States via

email or regular mail in accordance with Section XVI (Notices); (3) to EPA in accordance with

Section XVI (Notices); and (4) to CBP via email in accordance with Section XVI (Notices).

Such notice shall state that the payment is for the civil penalty owed pursuant to the Consent

Decree in United States v. Daimler AG et al., and it shall reference Civ. No. 1:20-cv-2564 the

CDCS Number, and DJ # 90-5-2-1-11788.




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        10.     Of the amount set forth in Paragraph 8, Defendants shall pay $131,250,000, plus

the interest due thereon, to CARB by check, accompanied by a Payment Transmittal Form

(which CARB will provide to the addressee listed in Paragraph 9 after the Effective Date), with

the check mailed to:

                California Air Resources Board
                Accounting Office
                P.O. Box 1436
                Sacramento, CA 95812-1436;

or by wire transfer, in which case Defendants shall use the following wire transfer information

and send the Payment Transmittal Form to the above address prior to each wire transfer:

                State of California Air Resources Board
                c/o Bank of America, Inter Branch to 0148
                Routing No. 0260-0959-3; Account No. 01482-80005
                Notice of Transfer: Accounting; Fax: (916) 322-9612
                Reference: CARB Case #C00032.

Defendants are responsible for any bank charges incurred for processing wire transfers, and for

replacing any checks due to a check bouncing or being lost in the mail. Penalties paid to CARB

under this Consent Decree shall be deposited into the Air Pollution Control Fund for the purpose

of enhancing CARB’s mobile source emissions control program through additional certification

review, in-use evaluation, real-world testing, enforcement actions, and other CARB activities

related to the control of air pollution.

        11.     Defendants shall not deduct any penalties paid under this Consent Decree

pursuant to this Section IV (Civil Penalty) or Section X (Stipulated Penalties) in calculating their

U.S. federal, state, or local income tax.

       V.      APPROVAL OF SUBMISSIONS; U.S./EPA/CARB DECISION-MAKING

        12.     For purposes of this Consent Decree, unless otherwise specified in this Consent

Decree:



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               a.      with respect to any Submission, other obligation that requires approval or

                       other decision by Plaintiffs, or force majeure claim of Defendants that

                       concerns Section VI (Subject Vehicle Compliance) or that concerns

                       Appendix B, EPA/CARB or the United States/CARB shall issue a joint or

                       sole decision, as applicable, concerning the Submission, other obligation,

                       or force majeure claim;

               b.      with respect to any Submission, other obligation that requires approval or

                       other decision by Plaintiffs, or force majeure claim of Defendants that

                       concerns Section VIII (Mitigation), EPA or the United States shall issue a

                       decision concerning the Submission, other obligation, or force majeure

                       claim;

               c.      with respect to any other Submission, obligation that requires approval or

                       decision by Plaintiffs, or force majeure claim of Defendants under this

                       Consent Decree, the position of EPA or the United States, after

                       consultation with CARB, shall control.

       13.     Except as otherwise specified after review of any Submission, EPA/CARB or the

United States/CARB shall in writing: (1) approve the Submission; (2) approve the Submission

upon specified conditions; (3) approve part of the Submission and disapprove the remainder; or

(4) disapprove the Submission. In the event of an approval upon specified conditions or a

disapproval, in full or in part, of any portion of the Submission, if not already provided with the

EPA/CARB or the United States/CARB written decision, upon the request of Defendants,

EPA/CARB or the United States/CARB will provide in writing the reasons for such specified

conditions or disapproval.




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       14.     If the Submission is approved pursuant to (1) in Paragraph 13 above, Defendants

shall take all actions required by the Submission, in accordance with the schedules and

requirements of the Submission, as approved. If the Submission is conditionally approved or

approved only in part pursuant to (2) or (3) in Paragraph 13 above, Defendants shall, upon

written direction from EPA/CARB or the United States/CARB, take all actions required by the

Submission that EPA/CARB or the United States/CARB determine(s) are technically severable

from any disapproved portions, subject to Defendants’ right to dispute only the conditions

EPA/CARB or the United States/CARB specified or the disapproved portions, under Section XII

(Dispute Resolution).

       15.     If the Submission is disapproved, in whole or in part pursuant to (3) or (4) in

Paragraph 13 above, Defendants shall, within 45 Days or such other time as the Parties agree to

in writing, correct all deficiencies and resubmit the Submission, or disapproved portion thereof,

for approval, in accordance with Paragraph 13. If the resubmission is approved in whole or in

part, Defendants shall proceed in accordance with Paragraph 14.

       16.     If a resubmitted Submission is disapproved, in whole or in part, EPA/CARB or

the United States/CARB may again require Defendants to correct any deficiencies, in accordance

with Paragraph 15; or EPA/CARB or the United States/CARB may itself/themselves correct any

deficiencies, and Defendants shall implement the Submission as modified by EPA/CARB or the

United States/CARB, subject to Defendants’ right to invoke the dispute resolution procedures set

forth in Section XII (Dispute Resolution) and the right of EPA/CARB or the United

States/CARB to seek stipulated penalties.

       17.     Any stipulated penalties applicable to the original Submission, as provided in

Section X (Stipulated Penalties), shall accrue during the 45-Day period or such other time as the




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Parties agreed to in writing pursuant to Paragraph 15, but shall not be payable unless the

resubmission of the original Submission is untimely or is disapproved in whole or in part;

provided that, if EPA or the United States, in consultation with CARB, determines that the

original Submission was so deficient as to constitute a material breach of Defendants’

obligations under this Consent Decree, the stipulated penalties applicable to the original

submission shall be due and payable notwithstanding any subsequent resubmission. In the event

that EPA or the United States seeks stipulated penalties under this Paragraph, upon request of

Defendants, EPA or the United States will provide in writing the reasons for such a finding of

material deficiency, if not already provided with the EPA/CARB or United States/CARB written

decision.

                          VI.     SUBJECT VEHICLE COMPLIANCE

       18.     Emission Modification Program. The Parties shall implement the Emission

Modification Program in accordance with the requirements set forth in Appendix A.

               a.      Related Class Action Settlement. If the United States and CARB find and

                       provide notice in writing to Defendants that provisions in a related Class

                       Action Settlement are equivalent to the requirements of Appendix A,

                       Paragraphs 1, 8–12, 15–16, 18, and 19 and Paragraphs 53.b.i–53.b.iii,

                       53.b.v (except with respect to Dealer Emissions Modification

                       Disclosures), 53.b.viii, and 53.b.ix.A of this Consent Decree, Defendants

                       shall be relieved of those obligations under this Consent Decree without

                       further amendment to this Decree or action by the Court. All other terms

                       of this Consent Decree shall remain in force and effect.

               b.      Paragraph 18.a shall apply only if a United States district court grants a




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             motion for preliminary approval of the Class Action Settlement.

             Defendants shall abide by the terms of this Consent Decree if (1) a United

             States district court denies with prejudice a motion for final approval of

             the Class Action Settlement; or (2) the equivalent provisions in the Class

             Action Settlement are not included in the court’s final approval order or

             are delayed, reversed, or vacated by an appellate court for any reason,

             even if the United States and CARB provided notice to Defendants

             pursuant to Paragraph 18.a before an event described in (1) or (2) of this

             sentence occurs.

      c.     If the requirements found in Paragraphs 18.a and 18.b are satisfied, and

             notice provided accordingly, Defendants are relieved of any obligations

             found in Paragraphs 53.b.i–53.b.iii, 53.b.v (except with respect to Dealer

             Emissions Modification Disclosures), 53.b.viii, and 53.b.ix.A of this

             Consent Decree specified in that notice without further amendment to this

             Decree or action by the Court.

19.   Subject Vehicle In-Use Testing.

      a.     OBD In-Use Monitoring Performance Verification and Reporting. Using

             a contractor or Dealer, Defendants shall collect and report in-use

             monitoring performance data as required by 13 C.C.R. § 1968.2(j)(3)

             (2016) (i.e., verification and reporting of in-use monitoring performance)

             from 15 vehicles from each of Emission Modification Categories 1, 2, 3,

             4, 5, and 9, and 5 vehicles from each of Emission Modification Categories

             6, 7, 8, 10, 11, and 12 that has received the Approved Emission




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         Modification, within 360 Days after the first Eligible Vehicle from each

         Emission Modification Category is modified in accordance with Appendix

         A. Vehicles shall be selected, for the purposes of this Paragraph only, in

         accordance with 13 C.C.R. § 1968.2(j)(3) (2016) and 13 C.C.R.

         § 1968.5(b)(3)(D)(ii) (2016).

   b.    In-Use Emission Standard Testing. Defendants shall undertake and

         complete in-use testing pursuant to this Paragraph 19.b. Defendants shall

         test according to the following schedule: (1) For Emission Modification

         Category 1 (also known as In-Use Group 1), begin testing no later than

         one year after the Effective Date, or one year after the date of approval of

         the Category 1 Emission Modification in accordance with Appendix B,

         Paragraph 5, whichever is later, and test each year thereafter; (2) for

         Emission Modification Category 9, begin testing no later than one year

         after the Effective Date, or one year after the date of approval of the

         Category 9 Emission Modification in accordance with Appendix B,

         Paragraph 5, whichever is later, and for each year thereafter, test from one

         of Defendants’ choice of one of Emission Modification Categories 9, 10,

         11, and 12 (collectively, also known as In-Use Group 2); (3) for Emission

         Modification Category 3 (also known as In-Use Group 3), begin testing no

         later than one year after the Effective Date, or one year after approval of

         the Category 3 Emission Modification in accordance with Appendix B,

         Paragraph 5 , whichever is later, and for each year thereafter; (4) for

         Defendants’ choice of one of Emission Modification Categories 4 and 5




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             (collectively, also known as In-Use Group 4), begin testing no later than

             one year after the Effective Date, or one year after approval of the

             Category 4 Emission Modification in accordance with Appendix B,

             Paragraph 5, whichever is later, and for each year thereafter; and (5) for

             Defendants’ choice of one of Emission Modification Categories 7 and 8

             (collectively, also known as In-Use Group 5), begin testing no later than

             one year after the Effective Date, or one year after approval of the

             Category 7 Emission Modification in accordance with Appendix B,

             Paragraph 5, whichever is later, and for each year thereafter. Defendants

             shall undertake and complete in-use emission standard testing in

             accordance with the requirements of this Paragraph 19.b. Within 9 to 12

             months from the Effective Date, and each year thereafter for five years

             from the Effective Date, Defendants shall repeat the in-use testing

             required under this Paragraph, except for Subject Vehicles that are the

             subject of a determination of non-compliance issued pursuant to Paragraph

             19.b.v.

        i.             In-Use Verification Testing and Vehicle Selection. Defendants

                       shall select no less than two Subject Vehicles for each Emission

                       Modification Category that have been updated with the Approved

                       Emission Modification for in-use verification testing that meet the

                       requirements of Appendix B, Paragraph 1.b. Defendants may not

                       exclude Subject Vehicles from being selected for in-use

                       verification testing based solely upon the lack of maintenance




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               records or a history of multiple owners or repairs. Each Subject

               Vehicle shall have between 100,000 and 110,000 miles, and each

               Subject Vehicle shall have been driven no less than 1,500 miles

               since receiving the Approved Emission Modification. If

               Defendants are unable to find such a Subject Vehicle, Defendants

               may select a Subject Vehicle with mileage no less than 50,000

               miles and no greater than 119,000 miles and driven no less than

               1,500 miles since receiving the Approved Emission Modification.

               Defendants shall use best reasonable efforts to select a high

               mileage vehicle using the criteria above. In selecting vehicles for

               In-Use Groups 2, 4, and 5, which are comprised of different

               Emission Modification Categories, Defendants shall select and test

               a vehicle from a different Emission Modification Category than

               that selected for in-use testing in the prior year, provided such a

               vehicle can be acquired within the aforementioned mileage range.

               In addition, in the case of In-Use Group 4, Defendants shall select

               and test a different Model within the chosen Emission

               Modification Category than the Model selected for in-use testing in

               the prior year, provided such a vehicle can be acquired within the

               aforementioned mileage range. If Defendants cannot procure a

               high mileage vehicle, Defendants shall select and test a vehicle

               from the same Emission Modification Category as that selected for

               in-use testing in the prior year, and Defendants shall describe all




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               efforts made to procure such a vehicle and explain why it could not

               be reasonably procured under Paragraph 42.b (In-Use Testing).

               Vehicles that meet the requirements of this Paragraph shall be

               known as the “IUVT Vehicles.”

               A.     Evaluation of In-Use Verification Testing. On each of the

                      IUVT Vehicles selected for in-use verification testing in

                      accordance with Paragraph 19.b.i, above, Defendants shall

                      conduct emissions tests pursuant to Paragraph 19.b.iii. If,

                      after applying any IRAFs, but not any Deterioration

                      Factors, that applied at the time of certification, either of

                      the IUVT Vehicles exceeds the Emission Standard

                      specified in Appendix B, Attachment I, and the average

                      emissions of IUVT Vehicles tested is equal to or greater

                      than 115 percent of the Emission Standard as a result of the

                      testing specified in Paragraph 19.b.iii.A, Defendants shall

                      undertake in-use confirmatory testing in accordance with

                      Paragraph 19.b.ii. For purposes of calculating SFTP

                      composite emission levels, Defendants shall include the

                      IUVP FTP emissions, the IUVP US06 emissions, and the

                      values from the SC03 test reported in the Emission

                      Modification Proposal Report, or in the case of In-Use

                      Group 3, the values from the MY20 certification

                      application, if applicable. If more than one set of SC03




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                       data exists, Defendants shall choose the SC03 result to use

                       in the calculation from among those data sets using good

                       engineering judgment. The calculations shall be made

                       using the equations prescribed in 40 C.F.R. § 86.164.

        ii.    In-Use Confirmatory Testing and Vehicle Selection. Within 20

               Days of submitting in-use verification test results that meet the

               criteria for in-use confirmatory testing set forth in Paragraph

               19.b.i.A, Defendants shall submit to EPA/CARB for review and

               approval an in-use confirmatory test plan (the “IUCP”) to test other

               Subject Vehicles within the same Emission Modification Category

               as the IUVT Vehicles that triggered the IUCP. Defendants’ IUCP

               Vehicles shall comply with the requirements of Appendix B,

               Paragraph 1.a and Paragraph 1.b, 40 C.F.R. § 86.1846-01(i), and

               must meet the requirements of Paragraph 19.b.i. The vehicles

               specified in IUCP shall be known as the “IUCP Vehicles.”

               Defendants shall commence testing under the IUCP no later than

               90 Days from the Day EPA/CARB approve the IUCP, and shall

               complete testing under the IUCP within 210 Days from the Day

               EPA/CARB approve the IUCP. The approved IUCP shall only

               require Defendants to conduct emissions tests in accordance with

               Paragraph 19.b.iii.

               A.      Evaluation of In-Use Confirmatory Testing. If, after

                       applying any IRAFs, but not any Deterioration Factors, that




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                      applied at the time of certification, any IUCP Vehicle

                      exceeds the Emission Standard specified in Appendix B,

                      Attachment I for the tests conducted pursuant to Paragraph

                      19.b.iii.A, Defendants shall conduct an evaluation to

                      determine the reason(s) for the failure. Defendants shall

                      submit a report of their findings to EPA/CARB no later

                      than 90 Days from conclusion of the IUCP. EPA/CARB

                      may agree, in writing, to extend this deadline.

       iii.    Emissions Tests, Data Collection.

               A.     For each IUVT Vehicle and any IUCP Vehicle, Defendants

                      shall conduct FTP75 and HWFET emissions tests in

                      accordance with Appendix B, Paragraph 2.b.i. In addition,

                      for each IUVT Vehicle and any IUCP Vehicle in In-Use

                      Groups 2, 4, and 5, Defendants shall conduct US06

                      emissions tests in accordance with Appendix B, Paragraph

                      2.b.i. For each IUVT Vehicle and any IUCP Vehicle in In-

                      Use Group 3, Defendants shall conduct a modified US06

                      emissions test in accordance with 13 C.C.R. § 1961.2. All

                      testing conducted pursuant to this Paragraph shall conform

                      to the requirements of 40 C.F.R. Part 86, as modified by

                      Appendix B, and conformity with 40 C.F.R. Part 1066 shall

                      not be required.




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               B.    Defendants shall also perform special cycle and PEMS

                     emissions tests under Appendix B, Paragraphs 2.b.i and

                     2.b.ii on each IUVT for the first, third, and fifth year of

                     testing required under Paragraph 19.b, and on any IUCP

                     vehicle, provided that the results of special cycle and/or

                     PEMS testing conducted under this Paragraph cannot be the

                     basis for determining a failure to meet the Emission

                     Standard for in-use verification testing pursuant to

                     Paragraph 19.b.i.A, or for determining a failure of in-use

                     confirmatory testing pursuant to Paragraph 19.b.ii.A.

                     Notwithstanding the foregoing, special cycle and PEMS

                     emissions tests pursuant to this Paragraph shall not be

                     required for In-Use Group 1. All testing conducted

                     pursuant to this Paragraph shall conform to the

                     requirements of 40 C.F.R. Part 86, as modified by

                     Appendix B, and conformity with 40 C.F.R. Part 1066 shall

                     not be required.

               C.    Prior to EPA or CARB taking any action, including the

                     assessment of stipulated penalties, based on the results of

                     special cycle and/or PEMS emissions tests conducted on in-

                     use vehicles, whether such testing was conducted by

                     Defendants or by EPA/CARB, EPA/CARB must notify

                     Defendants in writing of such planned action. If the in-use




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                     testing was conducted by EPA and/or CARB, the testing

                     agency shall concurrently provide Defendants with all

                     available data, including but not limited to the ECU data

                     and modal emissions data, for all testing conducted on

                     vehicles in that In-Use Group. Thereafter, the parties must

                     have a meet-and-confer period of no less than 60 Days to

                     discuss the special cycle and/or PEMS emissions test

                     results before any stipulated penalty can be assessed or any

                     other action can be taken.

               D.    For all tests conducted under this Paragraph 19.b.iii,

                     Defendants shall collect data from such tests in accordance

                     with Appendix B, Paragraphs 4.a.v, 4.a.vi, 4.a.vii, 4.a.xvi,

                     and 4.a.xvii, except that the requirement to collect ECU

                     data in Appendix B, Paragraphs 4.a.vi and 4.a.vii shall not

                     apply and instead, Defendants shall collect ECU data in

                     accordance with the procedures outlined in Appendix C.

                     Additionally, for all tests conducted under Paragraph

                     19.b.iii, in accordance with 13 C.C.R. § 1968.2 (2016),

                     Defendants shall collect all downloads of all standardized

                     OBD data from the tested vehicles, both before and after

                     conducting each test required by Paragraphs 19.b.i and

                     19.b.ii, except that for PEMS testing, if more than one

                     PEMS route is conducted in a single day, the downloads




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                      shall be conducted before the start of the first PEMS route

                      and after the end of the final PEMS route on that day when

                      the vehicle has returned to Defendants’ testing facility.

       iv.     FUL Limitation. Defendants are not required to test any vehicle

               with mileage beyond its FUL.

        v.     EPA/CARB Options Following IUCP Testing Failure. Upon

               receipt and consideration of a report pursuant to Paragraph

               19.b.ii.A, EPA/CARB shall, in writing: (1) determine that no

               further action is required, (2) issue a Determination of In-Use Non-

               Compliance due to failure of the Approved Emission Modification

               and may assess stipulated penalties pursuant to Paragraph 53.d.iii

               (Failure to Comply with Emission Standards), and/or (3) issue a

               Determination of In-Use Non-Compliance and follow their

               regulatory procedures for determining whether to implement a

               recall under 40 C.F.R. Part 85, Subpart S, and 13 C.C.R. §§ 2113

               and 2123 or take other appropriate actions under their respective

               regulations with respect to all Subject Vehicles identified in the

               Determination of In-Use Non-Compliance. Any administrative

               action under (3) in the preceding sentence in this Paragraph 19.b.v

               shall not be subject to review under Section XII (Dispute

               Resolution) of this Consent Decree. If Defendants miss the

               applicable deadline to submit a report pursuant to Paragraph

               19.b.ii.A, EPA/CARB may issue a Determination of In-Use Non-




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                     Compliance without waiting to receive such report from

                     Defendants. Additionally, notwithstanding any other provision of

                     this Consent Decree including Paragraph 86 and Paragraph 87.

                     (concerning effect of settlement), the United States and California

                     reserve all equitable rights to address any non-compliance

                     identified in the Determination of In-Use Non-Compliance under

                     applicable laws and regulations by instituting proceedings in this

                     action or in a new action and/or by pursuing administrative

                     remedies.

        vi.          Notification of Testing. Defendants shall notify EPA/CARB at

                     least 15 Days prior to commencing testing in accordance with

                     Paragraph 19.b.i.A (In-Use Verification Testing), Paragraph 19.b.ii

                     (In-Use Confirmatory Testing), and, as applicable, Paragraph

                     19.b.ii.A (Evaluation of In-Use Confirmatory Testing) so that

                     EPA/CARB may observe the testing.

   c.         Reporting. In-use testing under Paragraph 19.a and 19.b.i shall be

              reported in the next semi-annual report, in accordance with Paragraph 42.b

              (In-Use Testing). In-use testing under Paragraphs 19.b.ii and 19.b.ii.A

              shall be reported in accordance with those subparagraphs. If any IUVT

              Vehicle or IUCP Vehicle in an Emission Modification Category fails the

              Emission Standard specified in Appendix B, Attachment I, Defendants

              shall notify the persons designated in Section XVI (Notices) for

              EPA/CARB within 72 hours of such event.




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   d.    Publication of Data. For any IUVT Vehicle, within 30 Days of submitting

         the applicable semi-annual report, Defendants shall post an emissions test

         report containing the bag results, and all second-by-second modal

         (continuous) emissions data for NOx, total hydrocarbons, carbon

         monoxide, carbon dioxide, and non-methane hydrocarbons for each

         emissions test required pursuant to Paragraph 19.b.iii.A, and each test

         required by Paragraph 19.b.iii.B, on the public website required by

         Appendix A, Paragraph 16. For any IUCP Vehicle, within 30 Days of

         receipt of the EPA/CARB written response pursuant to Paragraph 19.b.v,

         Defendants shall post an emissions test report containing the bag results,

         and all second-by-second modal (continuous) emissions data for NOx,

         total hydrocarbons, carbon monoxide, carbon dioxide, and non-methane

         hydrocarbons for each emissions test required pursuant to Paragraph

         19.b.iii.A, and each test required by Paragraph 19.b.iii.B, on the public

         website required by Appendix A, Paragraph 16. Defendants shall provide

         the modal (continuous) emissions data specified in this Paragraph in a

         format that can be imported into a spreadsheet. Defendants shall not be

         required to post, pursuant to this Paragraph, any data that has been

         invalidated pursuant to Appendix B, Paragraph 2.a.iv. The Parties agree

         and acknowledge that neither United States nor California law sets forth a

         standard by which PEMS and off-cycle dynamometer testing can be used

         to determine compliance for purposes of certification under Title II of the

         Clean Air Act.




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                              VII.    CORPORATE COMPLIANCE

        20.     Defendants shall undertake the Corporate Compliance provisions of this Consent

Decree in conjunction with their existing corporate and compliance management activities with

the goal to:

               a.      Prevent environmental compliance problems related to United States or

                       California environmental laws and regulations from arising in the first

                       instance;

               b.      Detect any environmental compliance problems related to United States or

                       California environmental laws and regulations that do arise; and

               c.      Respond to any environmental compliance problems related to United

                       States or California environmental laws and regulations that arise,

                       including modifying broader policies, processes, controls or any other

                       activities that allowed the problem to arise, and self-disclose, as

                       appropriate, to EPA and CARB where disclosure should have occurred in

                       the first instance.

To meet the goals of this Section VII, Defendants have designed the measures described in

Paragraphs 28–30 to target compliance with United States and California laws and regulations

governing light- and medium-duty vehicle emission and certification.

        21.    Defendants have developed and are continuing to implement and enhance existing

various corporate governance policies and practices in the areas of integrity, business ethics, and

environmental compliance. Defendants describe these policies and practices in their Operating

Plan for Technical and Environmental Product Compliance (“Compliance Operating Plan”),

attached hereto as Appendix D. These efforts include: (1) compliance-related corporate




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organizations; (2) a compliance management system (“CMS”) to detect and address Company-

wide compliance risks; (3) a technical compliance management system (“tCMS”), which focuses

specifically in part on vehicle environmental compliance; (4) technical compliance and

certification control measures to detect and address Company-wide vehicle environmental

compliance risks; and (5) external communication of Daimler’s compliance efforts. Defendants

will conduct both (1) internal audits and (2) a third-party review to evaluate these efforts.

       22.     Defendants shall implement both the policies and practices contained in their

Compliance Operating Plan and the requirements contained in this Section VII (Corporate

Compliance).

       23.     Segregation of Duties. Defendants shall maintain the separation of individuals

and organizational units within the company that deal with: vehicle certification; vehicle research

and development; and internal corporate audits. Each of these organizational units shall

primarily report to a different Board of Management member.

       24.     Integrity Code. Defendants have modified their Integrity Code’s environmental

protection and technical compliance provisions to emphasize the reduction of air emissions and

the improvement of air quality by, in part, emphasizing compliance with environmental laws and

regulations. By September 30, 2020, Defendants shall inform and train their employees

regarding the modified Code.

       25.     Employee Discipline and Compensation. Defendants shall continue to factor

environmental compliance into the integrity factor for the variable compensation structure of

their relevant middle- and senior-level managers, and shall periodically assess any additional

adjustments to how this compliance factors into compensation. Defendants shall continue to




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subject employees who violate any environmental compliance requirement to appropriate

internal disciplinary measures.

       26.     Whistleblower System.

               a.     Defendants shall continue to implement their existing Business Practices

                      Office (“BPO”) (their whistleblower office) to report, investigate, and

                      mitigate any environmental compliance issues. Defendants’ BPO shall

                      continue to be centralized and available to all of Defendants’ employees,

                      and shall maintain the ability to report anonymously in Germany and the

                      United States, and otherwise as permitted by local law, possible

                      environmental compliance issues. Employees in Germany shall continue

                      to have the option to make reports to the Neutral Intermediary, an

                      independent external attorney, who shall be available to receive and

                      forward anonymous BPO reports.

               b.     Defendants have trained the BPO Neutral Intermediary on vehicle

                      emissions and certification compliance issues and have provided the

                      Intermediary with an independent tCMS expert contact point to clarify

                      vehicle emissions and certification compliance questions. Defendants’

                      BPO Neutral Intermediary has participated in an expert-level dialogue

                      with IL/P and an external technical expert regarding vehicle emissions and

                      certification compliance risks.

               c.     By December 31, 2020, Defendants shall clarify in their Treatment of

                      Violations Policy used by the BPO, and in related training, that

                      environmental noncompliance of a product within the United States




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                      always constitutes “serious risk.”

               d.     Defendants have formalized and documented the requirement that BPO

                      employees assigned to review any reported potential environmental

                      compliance violation discuss the reported violation with the head of the

                      BPO in person.

               e.     Defendants have launched a communication campaign within research and

                      development (“R&D”) to promote the BPO. This campaign shall last until

                      at least December 31, 2021.

               f.     By December 31, 2020, Defendants shall test and measure the actual reach

                      of the communication campaign by way of a dedicated anonymous survey

                      among all addressed audiences. The survey’s results shall be used for

                      further development of additional communication and improvement of the

                      BPO.

               g.     Defendants have fully implemented an embedded IT system control that

                      ensures that a BPO case cannot be closed without review by at least two

                      BPO employees.

       27.     Risk Assessment. Defendants shall continue to perform their annual compliance

Risk Assessment. Defendants shall complete their compliance Risk Assessment for 2019, and

shall assign any mitigating measures by December 31, 2019. Defendants shall complete

compliance Risk Assessments by December 31 of every year for the duration of this Consent

Decree. Defendants shall implement any mitigation measures assigned to address compliance

risks and shall track completion of new mitigation measures for material risks, including risks




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related to compliance with U.S. and California laws and regulations governing vehicle emissions

and certification.

        28.     Business Partner and Supplier Integrity Management.

                a.     As described in this Paragraph 28, Defendants shall continue to evaluate

                       their business partners’ environmental compliance and the effects that

                       those partners’ compliance could have on Defendants’ own environmental

                       compliance. For purposes of this Section VII (Corporate Compliance),

                       unless otherwise specified herein, “suppliers” shall refer to suppliers

                       which Defendants have a contractual relationship with and which directly

                       provide to Defendants Emission-Related software, Emission-Related

                       software calibrations, or Emission-Related hardware parts for use in

                       vehicles intended for certification in the United States or California.

                b.     Defendants have enhanced their screening process to identify suppliers

                       that have potentially violated environmental regulatory requirements.

                c.     By December 31, 2020, Defendants shall enhance the general terms and

                       conditions in their standard supplier contracts to include an explicit

                       requirement to comply with technical regulations and laws, which include

                       laws and regulations governing vehicle emissions and certification, and

                       will undertake reasonable best efforts to include the requirement to

                       comply with technical regulations into contracts entered into with

                       suppliers. Defendants shall undertake reasonable best efforts to include a

                       requirement in supplier contracts to document or notify Defendants in

                       writing when the supplier determines that the supply of an Emission-




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         Related part or performance of an Emission-Related service will result in

         Defendants violating U.S. or California vehicle emissions or certification

         regulations or laws, except where deficiencies under 13 C.C.R. §§ 1968.2

         or 1968.5 may be permitted with appropriate disclosure to EPA or CARB.

   d.    Defendants shall undertake reasonable best efforts to have its suppliers

         include in their contracts entered into with other suppliers that provide

         Emission-Related software, Emission-Related software calibrations,

         and/or or Emission-Related hardware parts for the ultimate use by

         Defendants in vehicles intended for certification in the United States or

         California terms that require these suppliers to document or notify the

         Defendants’ direct supplier in writing when it determines that the supply

         of an Emission-Related part or performance of an Emission-Related

         service will result in Defendants violating U.S. or California vehicle

         emissions or certification regulations or laws, except where deficiencies

         under 13 C.C.R. §§ 1968.2 or 1968.5 may be permitted with appropriate

         disclosure to EPA or CARB.

   e.    From June 30, 2020, onward, Defendants shall establish and maintain a

         list of suppliers that provide an Emission-Related part or Emission-

         Related service that, to Defendants’ knowledge, result in Defendants

         violating U.S. or California vehicle emissions or certification regulations

         or laws, except where deficiencies are permitted with appropriate

         disclosure to EPA or CARB. Additionally, Defendants shall include on

         such a list suppliers that have been found by a governmental




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               environmental agency to have violated U.S. or California vehicle

               emissions or certification regulations or laws in an administrative

               agreement, consent decree, settlement agreement, or other formal

               judgment or adjudication. Such list shall identify both the supplier of the

               Emission-Related parts or service and the individual Emission-Related

               part or service which resulted in the violation.

   f.          By December 31, 2019, Defendants shall update their Compliance

               Awareness Module (“CAM”) for sales business partners that sell

               Defendants’ vehicles or vehicle parts (“Sales Business Partners”) to

               include information for those Sales Business Partners on environmental

               compliance topics and contact information for Defendants’ BPO.

          i.          By December 31, 2019 Defendants shall begin rollout of the

                      updated CAM to Sales Business Partners.

         ii.          By December 31, 2020 Defendants shall implement an automatic

                      CAM invitation process for every new Sales Business Partner.

        iii.          Defendants have implemented an automatic CAM invitation

                      process for every new supplier.

   g.          By December 31, 2019, Defendants shall identify relevant suppliers that

               are supplying Emission-Related parts or services to “High-risk”

               departments (according to the tCMS Risk Assessment described in

               Paragraph 29.e) and shall provide to those suppliers an additional tCMS

               awareness presentation.

   h.          Defendants have identified and conducted an in-person workshop with




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                   suppliers that provide products or services directly relating to compliance

                   with United States or California vehicle emissions or certification laws or

                   regulations, to detail Defendants’ expectations regarding environmental

                   compliance.

             i.    By June 30, 2020 Defendants shall establish environmental compliance-

                   related communications and escalation processes with suppliers that

                   provide products or services directly relating to compliance with United

                   States or California vehicle emissions or certification laws or regulations,

                   and, by June 30, 2020, Defendants shall develop and provide a platform

                   and guidance for these suppliers to evaluate their own environmental

                   compliance systems and Emission-Related development processes.

             j.    By December 31, 2019, Defendants shall develop and begin providing

                   specific web-based training on United States and California vehicle

                   emissions and certification laws and regulations to suppliers that provide

                   products or services directly relating to compliance with United States or

                   California vehicle emissions or certification laws and regulations.

      29.    Compliance Management System and Technical Compliance Management

System.

             a.    Defendants shall continue to implement and evaluate both their corporate-

                   wide CMS and their tCMS to prevent, detect, and respond to information

                   that may lead to issues regarding environmental compliance.

             b.    By December 31, 2019, and annually thereafter, Defendants shall conduct

                   a CMS effectiveness evaluation.




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   c.         By December 31, 2019 and annually thereafter, Defendants shall conduct

              a tCMS effectiveness evaluation, that includes, among other things,

              interviews of relevant employees, self-assessments, and evaluation of

              feedback received through consultation channels such as the tCMS

              multiplier network or via the BPO, which provides a channel for

              employees to provide anonymous feedback that may be relevant to the

              Effectiveness Evaluation, to determine if the tCMS program elements are

              designed and implemented effectively and, if they are not, to assign

              measures to improve the tCMS program. All tCMS effectiveness

              evaluations will be presented to the Compliance Board, the Group Risk

              Management Committee, the Board of Management (“BoM”), and the

              Audit Committee of the Supervisory Board.

   d.         tCMS Training.

         i.          Defendants have required face-to-face tCMS training of all

                     relevant existing employees within R&D departments. Defendants

                     shall require face-to-face tCMS training with all relevant new

                     employees within R&D departments. Defendants have

                     implemented web-based tCMS training and shall require ongoing

                     web-based tCMS training with relevant existing and new R&D

                     employees.

        ii.          By December 31, 2019, and annually thereafter, Defendants shall

                     provide specific mandatory training on United States and

                     California emissions and certification regulations and laws,




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                     including OBD, AECDs, and defeat devices to relevant R&D

                     department employees. Defendants shall, on a risk basis,

                     periodically evaluate which employees should receive this training.

        iii.         Defendants have distributed their AECD Documentation

                     Guidelines to all Certification and R&D department employees

                     that deal with these issues, and shall continue to annually distribute

                     their AECD Documentation Guidelines to all Certification and

                     R&D department employees that deal with these issues.

   e.          tCMS Risk Assessment and Control Objectives.

          i.         By December 31, 2019, and annually thereafter, Defendants shall

                     conduct an annual tCMS Risk Assessment that includes, among

                     other things, evaluation of feedback regarding environmental

                     compliance risks and suggested improvements provided via

                     established consultation channels such as the tCMS multiplier

                     network, and/or via the BPO, to measure the risk exposure of R&D

                     departments. By December 31, 2020, Daimler shall include in the

                     tCMS Risk Assessment survey a statement inviting anonymous

                     feedback through the BPO. As part of these tCMS Risk

                     Assessments, Defendants shall assign mitigating measures. As

                     part of the tCMS Risk Assessment process, Defendants shall

                     conduct sample checks of mitigation measures to evaluate the

                     effectiveness of mitigation measures and annually update the




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                         tCMS Risk Assessment to improve the identification of risks and

                         the completion of mitigation measures.

            ii.          In conjunction with each annual tCMS Risk Assessment beginning

                         with the 2020 calendar year, Defendants shall determine the

                         effectiveness of prior year Assessments, and refine the following

                         year Assessment based on this determination.

           iii.          By December 31, 2019, and annually thereafter, Defendants shall

                         identify tCMS control objectives to monitor processes used for

                         environmental and technical compliance including detecting and

                         disclosing AECDs and detecting and preventing defeat devices,

                         and shall, as part of the Effectiveness Evaluation process, evaluate

                         whether the objectives are being met.

30.   Technical Compliance and Certification Control Measures.

      a.          Regulatory Monitoring Meeting. By December 31, 2019, and quarterly

                  thereafter, Defendants shall hold cross-functional Regulatory Monitoring

                  Meetings in which Defendants shall aggregate developments on emerging

                  United States or California emissions laws and regulations from various

                  inputs and provide one consolidated source of information that is

                  distributed on a management level within R&D departments.

      b.          Enhanced Regulatory Database. By December 31, 2021, Defendants shall

                  finalize an Enhanced Regulatory Database accessible to all R&D

                  department employees which will contain, in addition to other material,

                  environmental compliance requirements arising from United States or




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         California laws, regulations, or guidance.

   c.    Systematic Derivation of Technical Specifications. By December 31,

         2020, Defendants shall develop and establish an enhanced process for

         systematically deriving technical specifications from United States or

         California regulatory requirements for technical or environmental

         compliance. The systematic derivation of technical specifications is

         intended to take the regulatory requirements for vehicle emissions and

         certification compliance and turn them into parameters or limits for engine

         or aftertreatment performance, which are then applied to the design of

         software. Following December 31, 2020, derivation of these technical

         specifications will be a mandatory step in the development of powertrains

         for use in vehicles to be certified as light- and medium duty vehicles.

   d.    Software Compliance Guide. Defendants shall maintain and update their

         Software Compliance Guide and provide electronic access to the Guide to

         all R&D department employees. Defendants’ Software Compliance Guide

         shall require, at a minimum, that all software not detect or respond in any

         way to United States or California test cycles or test cycle parameters and

         that all software be designed independent from any such regulatory test

         cycles and test cycle parameters.

   e.    Disclosure-Relevant Control Parameters. By June 30, 2020, Defendants

         shall implement a process to identify, track, and list all disclosure-relevant

         control parameters to ensure that any changes that materially affect such

         control parameters are reflected in AECD disclosure documents as




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              required by United States or California laws, regulations, or guidance.

              After June 30, 2020 Defendants shall continually revise and update this

              list of disclosure-relevant control parameters.

   f.         Compliance Check by Functional Group Leaders. Defendants are

              establishing and implementing the role of Functional Group Leaders and a

              tool-based requirement that Functional Group Leaders approve any new

              software functions developed or requested by Daimler to be used in ECUs,

              TCUs, CPCs, and DCUs in light-or medium-duty vehicles intended for

              certification in the United States or California.

         i.           Defendants have established the role of Functional Group Leaders

                      and have established a tool-based requirement that Functional

                      Group Leaders approve any new software functions developed or

                      requested by Daimler to be used in ECUs, TCUs, or CPCs in

                      Mercedes-Benz Passenger Car vehicles to be certified as light- or

                      medium duty that have been assigned to respective Functional

                      Groups.

        ii.           By July 1, 2020, Defendants shall implement the role of Functional

                      Group Leader and implement this tool-based requirement that

                      Functional Group Leaders approve any new software functions

                      developed or requested by Daimler to be used in ECUs, TCUs, and

                      CPCs in Mercedes-Benz Passenger Car vehicles that have been

                      assigned to respective functional groups.




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        iii.          By July 1, 2020, Defendants shall establish the role of Functional

                      Group Leader and establish a tool-based requirement that

                      Functional Group Leaders approve any new software functions

                      developed or requested by Daimler to be used in ECUs, TCUs, and

                      CPCs in Mercedes-Benz Van and AMG vehicles, that have been

                      assigned to respective functional groups.

        iv.           By December 1, 2021, Defendants shall implement this tool-based

                      requirement that Functional Group Leaders approve any new

                      software functions developed or requested by Daimler to be used

                      in ECUs, TCUs, CPCs, and DCUs in light-or medium-duty

                      vehicles, that have been assigned to respective functional groups.

   g.          Software Screening.

          i.          Screening of Functions for Review. By December 31, 2020,

                      Defendants shall develop and establish a Tool-Supported

                      Screening Process designed to identify functions that may qualify

                      as AECDs during software development so that the functions will

                      be further evaluated.

         ii.          By March 31, 2021, and continuing thereafter, Defendants shall

                      use a Tool-Supported Screening Process to screen all new U.S.

                      powertrain projects to identify software functions that may qualify

                      as AECDs.

        iii.          Tool-Supported Calibration Check. By December 31, 2019,

                      Defendants shall use their Tool-Supported Calibration Check to




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               screen calibrations in ECU and TCU software of all gasoline and

               diesel vehicles intended for certification as light- and medium-duty

               vehicle models in the United States and shall use their Tool-

               Supported Calibration Check to screen ECU- and TCU- relevant

               software changes (running changes or changes implemented via

               field measures) developed or requested by Daimler to light- and

               medium-duty diesel vehicle models issued Certificates of

               Conformity or Executive Orders.

       iv.     Beginning with MY2021, Defendants shall use their Tool-

               Supported Calibration Check to screen calibrations in DCU and

               CPC software of all vehicles intended for certification as light- and

               medium-duty diesel vehicle models in the United States and use

               their Tool-Supported Calibration Check to screen calibrations in

               CPC software of two light- or medium-duty gasoline vehicle

               models intended for certification in the United States.

        v.     Beginning with MY2022 Defendants shall use their Tool-

               Supported Calibration Check to screen calibrations in CPC

               software of all vehicles intended for certification as light- and

               medium-duty gasoline vehicle models in the United States.

       vi.     Beginning with MY2022, Defendants shall use their Tool-

               Supported Calibration Check to screen DCU- and CPC-relevant

               software changes (running changes or changes implemented via




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                    field measures) to vehicles issued Certificates of Conformity or

                    Executive Orders as light-duty and medium-duty diesel vehicles.

   h.        Controls on the Certification Process.

        i.          Off-Cycle Testing Prior to Certification.

                    A.      Diesel. Defendants shall continue to conduct PEMS and

                            off-cycle dynamometer testing as specified in Appendix A

                            to the MY2017 OM642 Sprinter AECD documentation for

                            any new vehicles issued Certificates of Conformity or

                            Executive Orders through and including MY2023 as light-

                            or medium-duty diesel models.

                    B.      Gasoline. Defendants shall conduct PEMS testing to

                            demonstrate off-cycle tailpipe emissions and screen for

                            undisclosed AECDs or defeat devices on three vehicles

                            certified as light- or medium-duty gasoline Test Groups per

                            Model Year from MY2021 through and including

                            MY2024. Defendants shall select the Test Groups based on

                            sales volume, selecting the highest volume Test Groups per

                            Model Year using the projected 50 states’ sales volumes

                            prepared for NMOG + NOx fleet averages under Tier 3,

                            except that Defendants shall not repeat testing of any Test

                            Group during the duration of the Consent Decree.

                            Defendants shall conduct the PEMS testing over the

                            Combined Freeway and Uphill/Downhill Route and the




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                     Urban/Downtown Los Angeles Route, specified in

                     Appendix B, Attachment D, as follows: (1) multiple PEMS

                     tests on the test vehicle may be conducted in the same Day;

                     (2) the first PEMS test on each Day shall be started after a

                     soak of at least 6 hours. The test vehicle may be parked

                     outdoors in Los Angeles for the soak period, or indoors at

                     an ambient temperature of between 68°F and 86°F; (3) if it

                     is not possible to park the vehicle at the start of the PEMS

                     route for the soak period, the vehicle may be cold-started at

                     another location, provided that the emissions results and

                     PEMS testing data are collected from engine-on and a map

                     of the route is provided along with the other data reported

                     under this Paragraph 30.h.i.B. Defendants have completed

                     the required PEMS testing and submitted corresponding

                     reports for MY2021. For each PEMS test conducted for

                     MY2022 through and including MY2024, Defendants shall

                     collect and report the following to EPA and CARB: (1) all

                     raw data generated for speed, load, second-by-second

                     emissions data, and the signals and parameters listed in

                     Appendix E in a .CSV file format and in the native format

                     of the PEMS unit, the AVL iFile; (2) average emissions

                     results for NOx and CO2, ambient temperature and other

                     information related to environmental conditions during the




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                     test; (3) average emissions results for THC and CO,

                     ambient temperature and other information related to

                     environmental conditions during the test; and (4) a Flat File

                     of each test that includes vehicle identification information,

                     the VIN, a test identification number, and average

                     emissions results per route segment (parsing). Post-

                     processing of PEMS data shall be carried out as follows:

                     (1) drift correction shall be performed in accordance with

                     40 C.F.R. § 1065.672; (2) wet/dry correction shall be

                     performed in accordance with 40 C.F.R. § 1065.655; and

                     (3) humidity correction shall be performed in accordance

                     with 40 C.F.R. § 1065.670. Defendants shall also collect

                     data for the signals and parameters listed at Appendix E.

                     Defendants shall submit the PEMS testing emissions data

                     to the certification departments at EPA and CARB, in the

                     format specified by those certification departments, no later

                     than, for EPA, three months prior to the submission of the

                     Request for Certificate for the Test Group application for

                     certification, and, for CARB, no later than 30 days after

                     submission of the request for an Executive Order.

               C.    Public posting of data. Within 30 Days of introduction to

                     commerce of the first vehicle in each Test Group covered

                     by Paragraphs 30.h.i.A and 30.h.i.B (i.e., after approval of




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                      certification of the Test Group), or within 30 Days of the

                      Effective Date, whichever comes later, Defendants shall

                      post the PEMS data described in Paragraphs 30.h.i.A and

                      30.h.i.B (redacted of any CBI or PII, the disclosure of

                      which is restricted by applicable law, provided that no

                      emissions test methods, data, or results may be claimed as

                      CBI) on the public website required by Paragraph 16 of

                      Appendix A, except that Defendants shall not be required

                      to post the raw data generated for speed, load, second-by-

                      second emissions data, and the signals and parameters

                      listed in Appendix E.

               D.     Testing entity. A team located in Los Angeles, California,

                      and independent from Defendants’ product development,

                      shall conduct the testing required by this Paragraph.

               E.     The Parties agree and acknowledge that neither United

                      States nor California law sets forth a standard by which

                      PEMS and off-cycle dynamometer testing can be used to

                      determine compliance for purposes of certification under

                      Title II of the Clean Air Act.

        ii.    Emission-Related Parts List. As required by Appendix D, Section

               V, Paragraph C.2, Defendants shall maintain a list of Emission-

               Related parts in vehicles certified as light- and medium-duty

               vehicles, and update the list annually by December 31 to ensure




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                     that the parts list complies with applicable regulatory guidelines

                     while incorporating technological developments.

        iii.         AECD Documentation, Approval, and Review. Beginning with

                     MY2021, Defendants’ shall require their Certification department

                     to conduct checks of ECU datasets as an independent check that

                     calibration values in the dataset match the values disclosed in

                     AECD disclosure documentation to be submitted to EPA and

                     CARB for vehicles intended to be certified as light- and medium-

                     duty gasoline and diesel vehicles in the United States.

   i.          Lifecycle Management Control.

          i.         Tracking and Recording of Certified Configuration. Beginning

                     with MY2021, Defendants shall require their Certification

                     department to retain certified software configurations for vehicles

                     issued Certificates of Conformity as light-duty and medium-duty

                     vehicles in the United States or Executive Orders in California in a

                     centralized database.

         ii.         Software Change Process. Defendants shall require that all

                     software changes to ECUs, TCUs, DCUs, or CPCs in light- and

                     medium-duty vehicles issued Certificates of Conformity or

                     Executive Orders be submitted to, and approved, or not approved

                     by their Certification department.

        iii.         By December 31, 2019, and continuing thereafter, Defendants

                     shall have their Certification department conduct a dataset check of




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               all proposed software changes to emissions-relevant functions in

               light-duty vehicle ECUs, TCUs (NAG3, 7-DCT, and 8-DCT),

               DCUs, or CPCs issued Certificates of Conformity or Executive

               Orders, in which that department will compare the software

               datasets before and after the proposed change to ensure that any

               proposed change is accurately described in the submissions to

               regulatory authorities.

       iv.     By December 31, 2020, and continuing thereafter, Defendants

               shall have their Certification department conduct a dataset check of

               all proposed software changes to emissions-relevant functions in

               medium-duty vehicle ECUs, TCUs (NAG3, 7-DCT, and 8-DCT),

               DCUs, or CPCs issued Certificates of Conformity or Executive

               Orders, in which that department will compare the software

               datasets before and after the proposed change to ensure that any

               proposed change is accurately described in the submissions to

               regulatory authorities.

        v.     Field Software Control. By December 31, 2019, Defendants shall

               have their tCMS R&D department select and conduct sample

               checks of the software configurations of three vehicles certified as

               light- or medium-duty gasoline models in the field in the United

               States to determine whether such software configurations are

               consistent with each vehicle’s certified configuration and confirm




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                                 that any changes to the certified configuration were made in

                                 accordance with regulatory requirements.

                    vi.          Beginning with MY2020, and continuing thereafter, Defendants

                                 shall require their tCMS R&D department to randomly select and

                                 conduct sample checks of vehicle software configurations of

                                 vehicles certified as light- or medium-duty in the field in the

                                 United States to determine whether such software configurations

                                 are consistent with each vehicle’s certified configuration as

                                 reported to EPA and CARB, and to confirm that any changes to the

                                 certified configuration were made in accordance with United States

                                 and California regulatory requirements, as applicable.

       31.     Reporting of Corporate Compliance. Defendants shall report on their compliance

with Paragraphs 20–30 on an annual basis consistent with the requirements of Section IX

(Reporting). Any violations of Paragraphs 20–30 shall be reported in the semi-annual reports

consistent with the requirements of Section IX (Reporting). Defendants shall report on any

audits undertaken pursuant to Paragraphs 32 or 33 consistent with those requirements of this

Consent Decree. In reports submitted to EPA, and only in the copy of a report sent to EPA,

Defendants shall exclude any material dealing with this Section VII (Corporate Compliance),

with the exception of information required by Paragraphs 30.h.i and 30.h.ii, which shall be

submitted to EPA.

       32.     Internal Audits.

               a.         Defendants shall maintain the organizational independence of their

                          Corporate Audit by continuing to have the department report to the




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         Chairman of the BoM, the BoM member for IL, and, in addition to the

         Audit Committee of the Supervisory Board. This reporting is governed by

         Defendants’ Corporate Audit Charter and must comprise both periodic and

         ad-hoc reporting, and ensure direct access to the ultimate governing and

         supervisory bodies of Defendants’ present and any future corporate

         structure. Defendants will also maintain the organizational independence

         of their Corporate Audit by continuing to maintain a structure where

         Corporate Audit sets its budget with the ultimate oversight of the Audit

         Committee and in which Corporate Audit selects its own issues for audits,

         determines the scope of those audits, and adopts methods necessary for

         accomplishing its audit objectives.

   b.    By September 1, 2020, Defendants shall designate an audit department

         with audit teams within Corporate Audit dedicated specifically to

         environmental compliance and tCMS, hereinafter the Post-Settlement

         Audit Team (“PSAT”). The PSAT shall have the expertise, responsibility,

         independence, and authority to assess environmental compliance with

         United States and California regulations and laws concerning vehicle

         emissions and certification. Defendants shall ensure that personnel on

         these audit teams have and retain the capability and qualifications to

         evaluate Defendants’ tCMS and R&D processes, certification activities,

         and software development and, as necessary, have the ability to retain

         internal or external technical consultants to assist in an audit. Defendants

         shall ensure that all current and future PSAT members and all external




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         technical consultants are free from conflicts of interest regarding former

         employment, contract, or consulting work for suppliers listed as required

         by Paragraph 28.e.

   c.    Defendants shall select the leader of the PSAT in consultation with the

         United States and California. The PSAT leader shall have the expertise,

         responsibility, independence, and authority to direct and supervise the

         activities of the PSAT.

   d.    The PSAT, through the PSAT leader, shall report directly to the

         Committee for Legal Affairs of the Daimler AG Supervisory Board (the

         “Committee for Legal Affairs”) in addition to the BoM member for IL.

         The PSAT leader’s reporting must comprise both periodic and ad-hoc

         reporting, and ensure direct access to the ultimate governing and

         supervisory bodies of Defendants’ present and any future corporate

         structure. Regardless of any future corporate structure, Defendants shall

         ensure that the PSAT continues to function as described herein, with all

         relevant authority and obligations. The Committee for Legal Affairs shall

         have authority to direct and supervise the PSAT. The removal or

         discipline of the PSAT leader or PSAT members shall be subject to the

         approval of the Committee for Legal Affairs. No member of the BoM

         shall have the authority to direct or restrict the activities of the PSAT, or to

         remove or discipline the PSAT leader or PSAT members, without

         approval of the Committee for Legal Affairs.

   e.    The PSAT shall operate under the terms of this Consent Decree until the




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               PSAT has submitted a fourth Audit Report pursuant to Paragraph 32.n.

   f.          Beginning on the Effective Date the PSAT shall, on a risk basis, identify

               in annual Audit Plans aspects of the following to audit, and shall complete

               said audits:

          i.           the design, implementation status, and effectiveness of relevant

                       tCMS processes, including certification processes, software

                       development, compliance with United States and California

                       environmental regulations and certification limits concerning

                       vehicle emissions and certification;

         ii.           compliance with the terms of this Consent Decree, and

        iii.           the capabilities of individuals or organizational units to carry out

                       tasks assigned to them regarding tCMS processes or compliance

                       with the terms of this Consent Decree.

   g.          The first annual audit shall include a review of the process used by

               Defendants to develop proposed Emission Modification Configurations

               and draft Emission Modification Proposal Reports pursuant to Appendix B

               of this Consent Decree. The audit shall specifically include a review of

               the coordination between the Mercedes-Benz Passenger Cars and

               Mercedes-Benz Van organizational units and any other organizational unit

               with responsibilities under Appendix B to ensure development of full and

               complete Emission Modification Proposal Reports, and it shall evaluate

               the accuracy of Emission Modification Proposal Reports already

               submitted to the United States, EPA, and CARB.




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   h.          As described in Paragraph 33.e, Audit Plans shall be submitted to the

               Committee for Legal Affairs. No member of the BoM shall have the

               authority to direct or control the content of Audit Plans.

   i.          The PSAT shall conduct audits based on:

          i.          the review of relevant documents and procedures, including

                      anonymous feedback submitted through the BPO, and awareness

                      of United States and California laws and regulations concerning

                      vehicle emissions and certification;

         ii.          on-site observation of selected systems and procedures, including

                      internal controls and record-keeping procedures;

        iii.          meetings with and interviews of relevant employees;

        iv.           analyses, studies, and testing of Defendants’ environmental

                      compliance under United States and California laws and

                      regulations concerning vehicle emissions and certification and

                      tCMS, including the review of software;

         v.           all standards and guidance for internal auditing as applicable

                      provided by the Institute for Internal Auditors; and

        vi.           any reporting conducted by Defendants to the United States or

                      California pursuant to the terms of this Consent Decree.

   j.          The PSAT, as a part of Corporate Audit, shall have unrestricted access to

               all relevant corporate information, including but not limited to records,

               property, IT systems including software, and personnel.

   k.          The PSAT shall complete the first audit (i.e., completion of the final audit




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               in a series of audits) within one year of the Effective Date, and shall

               complete each subsequent audit (i.e., completion of the final audit in a

               series of audits) on a recurring annual basis from the date of the first Audit

               Report under Paragraph 32.n.

   l.          After the completion of the annual audit year (i.e., after completion of the

               final audit in a series of audits within an audit year), the PSAT shall

               produce an Audit Report which contains:

          i.          a description of the audit or audits, including a description of the

                      purpose of each audit;

         ii.          who conducted each audit, including the competencies of the

                      members of the PSAT;

        iii.          how each audit was conducted including the information obtained

                      and reviewed, and, if applicable, a description of any information

                      that was unavailable;

         iv.          the results, conclusions and recommendations of any such audits;

         v.           to whom within Defendants’ organization the results of such audits

                      were provided;

         vi.          if applicable, whether previous audit recommendations were

                      adopted and corrective measures timely taken and whether any

                      previous audit concerns remain;

        vii.          any recommended changes or enhancements to the audits; and




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        viii.           a declaration signed by two signatories, including the PSAT leader,

                        that the audit was conducted in accordance with this Consent

                        Decree.

   m.           As described in Paragraph 33.f, within 30 Days after the completion of the

                final audit in a series of audits within each audit year, the PSAT shall

                produce a draft annual Audit Report to the Committee for Legal Affairs.

                No member of the BoM shall have the authority to direct or control the

                content of Audit Reports or drafts thereof.

   n.           Within 60 days after the completion of each annual audit year the PSAT

                shall submit to the United States and California a final annual Audit

                Report, pursuant to Section XVI (Notices).

   o.           The Committee for Legal Affairs shall submit, along with each annual

                Audit Report, a declaration, signed by each member of the Committee for

                Legal Affairs, regarding the efficacy of the PSAT’s activities and

                Defendants’ compliance with the Consent Decree, based on the annual

                audit(s).

   p.           Within 60 days after receiving a final annual Audit Report containing a

                finding of noncompliance, Defendants shall submit a response to the

                PSAT that contains recommendations and a schedule for corrective action.

                Such schedule shall include an action plan to implement corrective

                measures as expeditiously as practicable, or an explanation of why

                corrective measures are not being implemented or, in the case of previous

                recommendations, corrective measures were not timely implemented.




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                Defendants shall implement any such corrective measures. After

                Defendants have completed implementation of the corrective measures, if

                any, Defendants shall provide, pursuant to Section XVI (Notices), a report

                to the United States and California with a certification that the work has

                been completed and that the work was conducted in accordance with the

                terms of this Consent Decree, as applicable, and consistent with the Audit

                Report and Defendants’ response.

      q.        The PSAT shall coordinate and communicate on a regular basis with the

                Committee for Legal Affairs.

      r.        The PSAT shall consider any comments received from the United States

                or CARB in developing annual Audit Plans.

33.   External Compliance Consultant.

      a.        Within 180 Days after the Effective Date, the Committee for Legal Affairs

                shall select and retain an individual to serve as the External Compliance

                Consultant (“ECC”) to the Committee for Legal Affairs. The ECC shall

                advise and assist the Committee for Legal Affairs as the Committee for

                Legal Affairs fulfills its obligations under Paragraph 32. Within

                Defendants’ organization, the ECC shall report solely to the Committee

                for Legal Affairs.

      b.        Selection and Retention. Defendants shall:

           i.          Request that ECC candidates submit a resume, biographical

                       information, and any relevant material concerning each of the

                       candidate’s competence and qualifications to serve as the ECC;




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         ii.          Request that ECC candidates describe any past, present, or future

                      business or financial relationship that the candidate has with

                      Defendants, Defendants’ suppliers or contractors, EPA, or CARB.

                      The ECC shall not be an employee or an agent of Defendants,

                      Defendants’ subsidiaries, the United States or California, nor will

                      he or she be currently engaged in any work for, or in representation

                      of, Defendants;

        iii.          Verify that, to Defendants’ best knowledge and based on the

                      reasonably available information, either the ECC candidate has no

                      conflicts of interest with regard to this matter or any actual or

                      apparent conflict has been waived by Defendants;

        iv.           Verify that the ECC candidate has agreed not to be employed by

                      Defendants, or Defendants’ subsidiaries, for a minimum of two

                      years after conclusion of work as the ECC; and

         v.           Retain the ECC until the PSAT has submitted its final annual

                      Audit Report.

   c.          Compensation. Defendants shall be responsible for compensating the

               ECC in accordance with the terms agreed upon by the Committee for

               Legal Affairs of the Supervisory Board and the selected ECC and at a

               level of compensation and resources sufficient for the ECC to perform the

               duties outlined herein. Such terms of agreement shall state that the ECC is

               retained by the Daimler AG Supervisory Board, but is not an employee of

               Defendants.




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   d.    Role, Duties, and Access Rights. The ECC shall be retained to advise and

         assist the Committee for Legal Affairs acting in its role supervising the

         PSAT’s activities pursuant to Paragraph 32. The ECC shall provide

         objective and fair assessments of the PSAT’s activities under Paragraph 32

         and Defendants’ compliance with the terms of this Consent Decree to the

         Committee for Legal Affairs. The ECC shall promptly report to the

         Committee for Legal Affairs any violations of this Consent Decree. The

         PSAT shall fully cooperate with the ECC in exchanging relevant

         information in a timely manner.

   e.    Prior to conducting an audit under Paragraph 32, the PSAT shall submit

         each annual Audit Plan to the Committee for Legal Affairs. The ECC

         shall review each Audit Plan and provide recommendations to the

         Committee for Legal Affairs within 30 Days. The Committee for Legal

         Affairs shall have the discretion whether to adopt such recommendations

         and whether to require modifications to the annual Audit Plan. Upon

         request, Defendants shall provide the United States a copy of any formal

         ECC recommendations, and a report on whether the Committee for Legal

         Affairs required modifications to the annual Audit Plan. Defendants shall

         provide CARB a copy on any ECC recommendations within 30 days of

         the receipt by the Committee for Legal Affairs, and a subsequent report on

         whether the Committee required modifications to the annual Audit Plan.

   f.    The PSAT shall produce draft Audit Reports to the Committee for Legal

         Affairs within 30 Days of completion of the final audit in a series of audits




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         within an audit year. The ECC shall review such draft Audit Reports and

         provide to the Committee for Legal Affairs any recommendations for

         modification regarding the content of the Audit Report or subsequent

         activities undertaken by the PSAT pursuant to Paragraph 32. The

         Committee for Legal Affairs shall have the discretion whether to adopt

         such recommendations and whether to require modifications or

         amendments to the Audit Report. The PSAT shall produce final Audit

         Reports to the Committee for Legal Affairs when it submits such Reports

         to the United States and California pursuant to Paragraph 32.n. Upon

         request, Defendants shall provide the United States or California any

         formal ECC recommendations on draft Audit Reports and a report on

         whether the Committee for Legal Affairs required modifications or

         amendments to an Audit Report.

   g.    The Committee for Legal Affairs shall require full transparency from the

         PSAT with regard to its activities and findings under Paragraph 32.

         Additionally, the Committee for Legal Affairs may, at its discretion,

         empower the ECC to review this information. In such circumstances, the

         ECC shall report any observations or recommendations to the Committee

         for Legal Affairs. The Committee for Legal Affairs shall have the

         discretion whether to adopt such recommendations. Upon request,

         Defendants shall provide the United States or California any formal ECC

         recommendations on PSAT activities and a report on whether the

         Committee for Legal Affairs adopted any ECC recommendations.




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       34.     The Committee for Legal Affairs may otherwise request the assistance of the ECC

in the course of carrying out its supervisory duties under Paragraph 32.

                                       VIII.   MITIGATION

       35.     U.S. Mitigation Program. As set forth in this Section, Defendants shall mitigate

NOx emissions from Subject Vehicles (other than NOx emissions from Subject Vehicles in

California), by implementing a program to reduce emissions from older locomotives (the “U.S.

Mitigation Program”).

               a.       Pursuant to the U.S. Mitigation Program, by no later than 40 months from

                        the Effective Date, Defendants shall fund, in whole, the repowering of 15

                        unregulated, Tier 0, Tier 0+, Tier 1, or Tier 1+ line-haul locomotives as

                        defined in 40 C.F.R. § 1033.901. “Repowering” refers to replacing the

                        existing engines with engines certified to EPA Tier 4 or more stringent

                        locomotive emission standards. Defendants may satisfy this obligation by

                        funding the repowering aspect of a locomotive rebuild. “Rebuild” refers

                        to the complete down-to-frame rebuild of the entire locomotive.

               b.       These projects shall be referred to as “Environmental Mitigation Projects.”

                        Defendants shall provide evidence of the progress and completion of

                        Environmental Mitigation Projects and other information as set forth in

                        Paragraph 42.c.i. Defendants’ implementation of the U.S. Mitigation

                        Program will be deemed to fully mitigate the total lifetime excess NO x

                        emissions from Subject Vehicles in the United States, excluding

                        California, as claimed by the United States.

               c.       Selection Criteria. Defendants or their implementing Third Party or Third




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                           Parties shall use the following selection criteria when implementing the

                           U.S. Mitigation Program.

                      i.          In selecting line-haul locomotives, Defendant shall use reasonable

                                  best efforts to preferentially repower/rebuild locomotives that are

                                  likely to run long distances to geographically diverse locations

                                  across the continental United States, except that Defendants shall

                                  not be required to repower/rebuild locomotives located in or

                                  traveling to California.

                     ii.          In selecting suppliers or manufacturers of Tier 4 engines, or when

                                  selecting recipients of the engines: (1) Defendants shall not

                                  preferentially select manufacturers that are Daimler-AG controlled

                                  entities over other manufacturers or suppliers; and (2) Defendants

                                  shall use reasonable best efforts to not preferentially select public

                                  or governmental entities over private entities.

       36.     Defendants, in their sole discretion, may satisfy the obligations in Paragraph 35

by funding Environmental Mitigation Projects that are to be implemented by one or more state,

local, tribal, independent non-profit organizations, or other third party entities (each a “Third

Party”). If Defendants use a state, local, tribal, or independent non-profit organization to

implement an Environmental Mitigation Project, Defendants shall require the state, local, tribal,

or independent non-profit organization to identify, in writing: (1) its legal authority for accepting

such funding; and (2) its legal authority to conduct the Environmental Mitigation Project for

which Defendants contribute the funds. The use of a Third Party to carry out the requirements

herein shall in no way alter the Defendants’ obligations under the Consent Decree. In selecting a




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Third Party or Third Parties, Defendants shall consider whether a bidding or application program

would ensure a fair process and would be practical. If Defendants undertake such a bidding or

application program, the deadlines for implementation of the U.S. Mitigation Program contained

in Paragraph 35 shall be amended so that Defendants must implement the U.S. Mitigation

Program by repowering/rebuilding 15 locomotives by no later than 45 months from the Effective

Date.

        37.     Defendants shall require, or shall instruct any Third Parties to require, that any

recipients receiving funds or equipment under the U.S. Mitigation Program shall provide to

Defendants or to the Third Party a written certification that the recipient will, within a reasonable

time, permanently destroy or salvage for parts the replaced locomotive engines upon acceptance

of such funds or equipment. For avoidance of doubt, the crankshaft and block shall be

destroyed.

        38.     In the event that Defendants determine that it is impractical to complete the U.S.

Mitigation Program identified in Paragraph 35, Defendants shall notify the United States in

accordance with Section XVI. Within 21 Days of providing notice, Defendants shall submit to

the United States a supplemental mitigation plan (“Supplemental Mitigation Plan”) for review

and approval in accordance with Section V (Approval of Submissions; U.S./CARB Decision-

Making). The Supplemental Mitigation Plan shall provide:

                a.     A description of the proposed Supplemental Mitigation Project(s);

                b.     A plan for implementing the Supplemental Mitigation Project(s);

                c.     A proposed number of Supplemental Environmental Project(s) to conduct;

                       and




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               d.     The proposed schedule for implementation of the Supplemental Mitigation

                      Plan.

       39.     The United States shall respond to Defendants’ proposed Supplemental

Mitigation Plan pursuant to Paragraph 13 within 30 Days. If the United States fails to make a

determination within 30 Days of receipt of the proposal, Defendants may, at their discretion,

consider the plan to be denied for the purpose of invoking Dispute Resolution pursuant to

Section XII (Dispute Resolution) of this Consent Decree. The Parties shall otherwise adhere to

the requirements set forth in Section V (Approval of Submissions; U.S./CARB Decision-

Making). Upon approval, conditional approval, or partial approval by the United States,

Defendants shall implement the Supplemental Mitigation Plan according to the schedule for

implementation contained therein. Such a schedule for implementation shall supersede the

schedule for implementation contained in Paragraphs 35 and 36.

       40.     Defendants shall continue to implement the U.S. Mitigation Program and submit

semi-annual reports under Paragraph 42.c.i until evidence is provided that 15 line-haul

locomotives have been repowered in accordance with Paragraph 35.a.

       41.     California Mitigation Program. Defendants have entered into a separate

agreement with California, which is intended to fully mitigate the total lifetime excess NOx

emissions from the Subject Vehicles in California as claimed by California. That agreement is

set forth in a separate proposed consent decree between Defendants and California (the

“California Partial Consent Decree”) that has been lodged contemporaneously with this Consent

Decree.




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                                IX.   REPORTING REQUIREMENTS

       42.     Consent Decree Compliance Reports. Defendants shall submit separate semi-

annual Consent Decree compliance reports to the United States, EPA, and CARB that include the

content specified in the subparagraphs below. An agency shall not receive the content of a

subparagraph unless the agency is specifically identified in the subparagraph or the agency

otherwise requests the content.

               a.          Emission Modification Program.

                      i.         To CARB only: Each Eligible Vehicle, listed by Emission

                                 Modification Category, VIN, Model, Model Year, and Test Group

                                 that has received an Approved Emission Modification in California

                                 and the date of such modification pursuant to Appendix A,

                                 Paragraph 3 (Modification of Eligible Vehicles with Approved

                                 Emission Modification) since the last semi-annual report submitted

                                 by Defendants, which information shall be reported in an Excel

                                 data spreadsheet;

                     ii.         To CARB only: Defendants’ progress toward reaching the

                                 California Passenger Vehicle EMP Rate and California Sprinter

                                 EMP Rate since the last semi-annual report submitted by

                                 Defendants;

                    iii.         To CARB only: Each Subject Vehicle registered in California at

                                 the time of the report, listed by Emission Modification Category,

                                 VIN, Model, Model Year, and Test Group that, based on current

                                 information available to Defendants, has been resold or, exported,




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               and the date of such resale or export, pursuant to Appendix A,

               Paragraph 6 (Resale and Export of Subject Vehicles) since the last

               semi-annual report submitted by Defendants, or which has been

               rendered permanently inoperable or destroyed, and the date of such

               rendering or destruction since the last semi-annual report submitted

               by Defendants, which information shall be reported in an Excel

               data spreadsheet;

       iv.     To CARB only: Any Eligible Vehicle by Emission Modification

               Category, VIN, Model, Model Year, and Test Group for which the

               Approved Emission Modification was sought by an Eligible Owner

               or Eligible Lessee in California, but not applied, and the date on

               which the modification was sought, pursuant to Appendix A,

               Paragraph 8 (Grounds for Refusal to Apply the Modification to an

               Eligible Vehicle), and the grounds for Defendants’ decision not to

               install the Approved Emission Modification since the last semi-

               annual report submitted by Defendants, which information shall be

               reported in an Excel data spreadsheet;

        v.     To CARB only: A compilation of all notices and information

               distributed to Eligible Owners or Eligible Lessees in California

               pursuant to Appendix A, Paragraph 15 (Consumer Emission

               Modification Disclosure) since the last semi-annual report

               submitted by Defendants, including any updates to the public




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               website specified in Appendix A, Paragraph 16 (Online Access to

               Information);

        vi.    To CARB only: A compilation of all notices and information

               distributed to Dealers in California pursuant to Appendix A,

               Paragraph 17 (Dealer Disclosures) since the last semi-annual report

               submitted by Defendants;

       vii.    To the United States, EPA, and CARB: Additionally, Defendants

               shall provide the United States, EPA, and CARB with any

               information reasonably requested and in the possession of

               Defendants related to Defendants’ compliance with the Emission

               Modification Program requirements within 30 Days of the request

               by the agency or agencies, or longer with the requesting Party’s

               agreement. Defendants shall provide the information only to the

               requesting agency or agencies.

      viii.    To the United States, EPA, and CARB: For each of the National

               Sprinter EMP Rate, the National Passenger Vehicle EMP Rate, the

               California Sprinter EMP Rate, and the California Passenger

               Vehicle EMP Rate, in the semi-annual Consent Decree compliance

               report following the earlier of the applicable date specified in

               Appendix A, Paragraph 4 or the date Defendants meet the

               respective EMP Rate, Defendants shall provide an assessment as to

               whether Defendants have met the respective EMP Rate, and they

               shall provide a list in an Excel data spreadsheet, by VIN and




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                      separated by vehicles located within California and outside of

                      California, of: (1) every Subject Vehicle that Defendants assert has

                      received an AEM under the terms of this Consent Decree; (2)

                      every Subject Vehicle that Defendants assert has been permanently

                      removed from commerce; and (3) every Subject Vehicle that

                      Defendants assert has been purchased by Defendants by the date

                      specified in Appendix A, Paragraph 4.

   b.         In-Use Testing.

         i.           To EPA and CARB: A summary of all activities since the last

                      semi-annual report submitted by Defendants, if any, relating to in-

                      use testing under Paragraph 19, including the selection and

                      screening of Subject Vehicles, in-use verification testing of IUVT

                      Vehicles, and in-use confirmatory testing of IUCP Vehicles.

        ii.           To EPA and CARB: Any data required by Paragraph 19.a and

                      Paragraph 19.b.i.A.

   c.         Mitigation.

         i.           Defendants shall submit to the United States semi-annual reports

                      that identify the number of Environmental Mitigation Projects in

                      progress and completed by the date of the submission of each

                      semi-annual report.

        ii.           The parties agree that until termination of the Consent Decree in

                      accordance with Section XX, any information submitted under

                      Section VIII that provides the identity or any identifying




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               information of any Third Party or locomotive owner, as well as any

               information reported pursuant to Paragraph 42.c.i, shall be treated

               as CBI, provided that Defendants follow the procedures set forth in

               Paragraph 84 and 40 C.F.R. Part 2. Further, Defendants shall take

               reasonable measures to protect the confidentiality of such

               information.

       iii.    Additional Certification. In the first semi-annual report required by

               Paragraph 42.c.i, Defendants shall certify in accordance with

               Paragraph 48 that:

               A.     They are not required to perform the U.S. Mitigation

                      Program by any federal, state, or local law or regulation or

                      by any agreement, grant, or as injunctive relief awarded in

                      any other action in any forum;

               B.     Defendants are unaware of any other person who is

                      required by law to, or, as of the Date of Lodging, otherwise

                      planned or intended to, construct, perform, or implement

                      the U.S. Mitigation Program.

               C.     The U.S. Mitigation Program is not a project that

                      Defendants were planning or intending to construct,

                      perform, or implement other than in settlement of the

                      claims resolved in the Consent Decree;




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                               D.     Defendants have not received and will not receive credit for

                                      the U.S. Mitigation Program in any other enforcement

                                      action; and

                               E.     Defendants will not receive any reimbursement for any of

                                      the costs they expend implementing the U.S. Mitigation

                                      Program from any person, except to the extent that

                                      Defendants reimburse each other for the costs of

                                      implementing the U.S. Mitigation Program.

               d.      Data. All data shall be reported using the number of significant figures in

                       which the pertinent standard, limit, or requirement is expressed.

       43.     Timing of Reports. Unless otherwise specified in this Consent Decree, or the

Parties otherwise agree in writing:

               a.      To the extent semi-annual or annual reporting is required under this

                       Consent Decree, Defendants shall submit each report one month after the

                       end of the applicable prior six-month period (i.e., by January 31 or July

                       31) or annual calendar period (i.e., by January 31), that shall cover the

                       prior six-month period or prior annual calendar period, respectively, and

                       the items specified elsewhere in this Consent Decree.

               b.      The first report shall be due by the last Day of the month following the

                       end of the first six-month period, or annual calendar period, as applicable,

                       after this Consent Decree is entered. However, if this Consent Decree is

                       entered fewer than 45 Days before the end of the first six-month period,

                       the first report shall not be due until the last Day of the month following




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             the end of the second six-month period after entry. Reporting shall

             continue until this Consent Decree is terminated in accordance with

             Section XX (Termination).

44.   Reporting of Violations.

      a.     Reporting of Violations. If Defendants violate, or reasonably believe they

             may violate, a requirement of this Consent Decree for which a stipulated

             penalty applies under Paragraph 53, and Defendants have not remedied or

             will not remedy the violation within ten Business Days of the Day

             Defendants reasonably learn that the violation occurred or may occur,

             Defendants shall notify the United States and CARB of such violation and

             its likely duration, in writing, within ten Business Days of the Day

             Defendants first reasonably learn that the violation occurred or may occur,

             with an explanation of the violation’s likely cause. Within an additional

             four Business Days, Defendants shall notify the United States and CARB

             in writing of the remedial steps taken, or to be taken, to prevent or

             minimize such violation, and the dates on which such remedial steps are to

             be, or have been taken. If Defendants believe the cause of a violation

             cannot be fully explained at the time the report is due, Defendants shall so

             state in the report. Defendants shall investigate the cause of the violation

             and shall then submit an amendment to the report, including a full

             explanation of the cause of the violation, within 30 Days of the Day

             Defendants reasonably believe they have determined the cause of the

             violation. Nothing in this Paragraph or the following Paragraph relieves




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                      Defendants of their obligation to provide the notice required by Section XI

                      (Force Majeure).

               b.     Semi-Annual Report of Violations. On January 31 and July 31 of each

                      year, Defendants shall submit a summary to the United States and CARB

                      of any violations of this Consent Decree that occurred during the

                      preceding six months (or potentially shorter period for the first semi-

                      annual report). The summary shall include: (1) the date of the violation;

                      (2) a brief description of the violation; (3) a brief description of steps

                      taken to remedy the violation; and (4) for violations Defendants are

                      required to report under Paragraph 44.a, a list of violations previously

                      reported and the date the notice of violation was sent. If no violations

                      occurred during the reporting period, Defendants shall submit a statement

                      that no violations occurred.

       45.     Whenever Defendants reasonably believe any violation of this Consent Decree or

any other event affecting Defendants’ performance under this Consent Decree may pose an

immediate threat to the public health or welfare or the environment, Defendants shall notify EPA

and CARB by telephone and email as soon as possible, but no later than 24 hours after

Defendants first reasonably believe the violation or event may pose an immediate threat to the

public health or welfare or the environment. This procedure is in addition to the notice

requirements set forth in Paragraph 44.

       46.     Unless specified elsewhere in this Consent Decree, all reports shall be submitted

to the persons designated in Section XVI (Notices).




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       47.     All information required to be posted to a public web page by this Consent Decree

shall be accessible on the public web page that Defendants use to administer the Emission

Modification Program pursuant to Appendix A, Paragraph 16, and a link to such web page shall

be accessible from Defendants’ primary consumer website in the United States. This web page

link shall be provided to EPA and CARB with Defendants’ signature pages to this Consent

Decree, and Defendants shall send any new web page link to EPA and CARB within ten

Business Days if the web page is moved.

       48.     Each report submitted by Defendants under this Section shall be signed by an

officer or Director of the submitting party and include the following certification:


               I certify under penalty of law that this document and all attachments were
               prepared under my direction or supervision in accordance with a system designed
               to assure that qualified personnel properly gather and evaluate the information
               submitted. Based on my inquiry of the person or persons who manage the system,
               or those persons directly responsible for gathering the information, the
               information submitted is, to the best of my knowledge and belief, true, correct,
               and complete. I have no personal knowledge that the information submitted is
               other than true, correct, and complete. I am aware that there are significant
               penalties for submitting false information, including the possibility of fine and
               imprisonment for knowing violations.

       49.     Defendants agree that the certification required by Paragraph 48 is subject to

18 U.S.C. §§ 1001(a) and 1621, and California Penal Code §§ 115, 118, and 132.

       50.     The certification requirement in Paragraph 48 does not apply to emergency or

similar notifications where compliance would be impractical.

       51.     The reporting requirements of this Consent Decree do not relieve Defendants of

any reporting obligations required by the Act or implementing regulations, or by any other

federal, state, or local law, regulation, permit, or other requirement.




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       52.     Any information provided pursuant to this Consent Decree may be used by the

United States or California in any proceeding to enforce the provisions of this Consent Decree

and as otherwise permitted by law.

                                  X.        STIPULATED PENALTIES

       53.     Defendants shall be liable for stipulated penalties to the United States and

California for violations of this Consent Decree as specified in this Section, unless excused under

Section XI (Force Majeure). There shall be only one stipulated penalty assessed per violation

against the Defendants, for which they shall be jointly and severally liable. A violation includes

failing to perform any obligation required by the terms of this Consent Decree, including any

work plan or schedule approved under this Consent Decree, according to all applicable

requirements of this Consent Decree and within the specified time schedules established by or

approved under this Consent Decree.

               a.         Late Payment of Civil Penalty. If Defendants fail to pay the civil penalty

                          required under Section IV (Civil Penalty) of this Consent Decree when

                          due, Defendants shall pay stipulated penalties as follows for each Day the

                          payment is late:

                                 Penalty per Day        Period of Noncompliance

                                 Interest               1st through 4th Day
                                                        (per 28 U.S.C. § 1961)
                                 $50,000                5th through 30th Day
                                 $100,000               31st through 45th Day
                                 $200,000               46th Day and beyond.

               b.         Injunctive Relief Requirements: Section VI, Paragraph 18 (Emission

                          Modification Program), Appendices A and B, and their Attachments.

                     i.          Failure to Establish Emission Modification Program Call Center.

                                 If Defendants fail to establish and maintain an Emission


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               Modification Program call center as required by Appendix A,

               Paragraph 1, Defendants shall pay the following stipulated

               penalties for each Day that the call center is delayed:

                      Penalty per Day           Period of Noncompliance

                      $500                      1st through 10th Day
                      $4,000                    11th through 30th Day
                      $15,000                   31st Day and beyond.

        ii.    Failure to Establish Emission Modification Program Website. If

               Defendants fail to establish and maintain a website for the

               Emission Modification Program as required by Appendix A,

               Paragraphs 1 and 16, Defendants shall pay the following stipulated

               penalties for each Day the website is not maintained:

                      Penalty per Day           Period of Noncompliance

                      $2,000                    1st through 14th Day
                      $10,000                   15th through 30th Day
                      $50,000                   31st Day and beyond.

       iii.    Failure to Timely Initiate Offer of AEM. If Defendants fail to

               make an Approved Emission Modification available within 15

               Business Days of the date specified in Appendix A, Paragraph

               15.a, Defendants shall pay the following stipulated penalties for

               each Day the offer is delayed:

                      Penalty per Day           Period of Noncompliance

                      $10,000                   1st through 14th Day
                      $20,000                   15th through 30th Day
                      $35,000                   31st Day and beyond.

       iv.     Early Termination of Emission Modification Program. If

               Defendants terminate an Emission Modification Program for any


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               Eligible Vehicle prior to the date specified in Appendix A,

               Paragraph 7 (15 years after the Model Year of the Subject Vehicle

               or 8 years after the approval of the applicable Approved Emission

               Modification), Defendants shall pay the following stipulated

               penalty for each Day on which the Emission Modification Program

               should have been offered but was not:

                      Penalty per Day        Period of Noncompliance

                      $4,000                 1st through 30th Day
                      $10,000                31st through 60th Day
                      $20,000                61st Day and beyond.

        v.     Failure to Provide Emission Modification Program Disclosures. If

               Defendants fail to execute the disclosures as required by Appendix

               A, Paragraph 15 or Paragraph 17, Defendants shall pay the

               following stipulated penalties for each Day such disclosure is not

               provided:

                      Penalty per Day        Period of Noncompliance

                      $2,000                 1st through 14th Day
                      $5,000                 15th through 30th Day
                      $10,000                31st Day and beyond.

       vi.     Misleading Disclosures or Advertisements. If Defendants provide

               any materially misleading or inaccurate disclosure to any Eligible

               Owner or Eligible Lessee regarding the individual owner or

               lessee’s rights or available remedies under the Emission

               Modification Program, including, but not limited to, any rights or

               available remedies under the Warranty provisions set forth in




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               Appendix A, Paragraphs 18–20, Defendants shall have 30 Days to

               correct such disclosure after EPA or CARB advise Defendants that

               the disclosure is materially misleading or inaccurate. If

               Defendants fail to correct the disclosure within 30 Days after such

               notification, the following stipulated penalty shall apply per Day

               the disclosure is not corrected after the 30 Days:

                       Penalty per Day         Period of Noncompliance

                       $10,000                 1st through 14th Day
                       $25,000                 15th through 30th Day
                       $50,000                 31st Day and beyond.

       vii.    Failure to Comply with Labeling Requirements. If Defendants fail

               to ensure that any Eligible Vehicle that receives the Approved

               Emission Modification is affixed with a label, as required by

               Appendix A, Paragraph 13, before such vehicle is sold, leased,

               offered for sale or lease, otherwise introduced into commerce, or

               returned to the Eligible Owner or Eligible Lessee, or if the

               information included in any such label is incorrect, Defendants

               shall pay a stipulated penalty of $1,000 per label, per vehicle,

               provided that no stipulated penalty shall accrue for the first 15

               Days that the label is not affixed.

      viii.    No Release of Private Party Claims. If Defendants require any

               release of liability for any legal claims that an Eligible Owner or

               Eligible Lessee may have against Defendants or any other person

               solely in exchange for receiving the Approved Emission




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               Modification, or if Defendants require any customer payment or

               release of any Eligible Owner’s or Eligible Lessee’s right in

               exchange for performing the Approved Emission Modification, in

               violation of Appendix A, Paragraphs 7 and 11, Defendants shall

               pay a stipulated penalty of $7,500 per affected vehicle.

       ix.     Failure to Honor Warranties.

               A.     If Defendants fail to honor or cause any Dealer to fail to

                      honor the Extended Modification Warranty described in

                      Appendix A, Paragraph 18, Defendants shall pay a

                      stipulated penalty of $20,000 for each vehicle for which the

                      Extended Modification Warranty was not properly

                      honored. In addition, Defendants shall reimburse the

                      affected Eligible Owner or Eligible Lessee any amount paid

                      by the Eligible Owner or the Eligible Lessee to Defendants

                      or to a Dealer because of the failure to honor the Extended

                      Modification Warranty. Defendants’ liability for stipulated

                      penalties for failure to honor the Extended Modification

                      Warranty shall not accrue unless and until there have been

                      100 instances of action or inaction that would give rise to a

                      stipulated penalty. Once the threshold number of instances

                      is reached, Defendants shall be liable for every instance of

                      failure to honor the Extended Modification Warranty.




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               B.    Notwithstanding the requirements of Paragraph 53.b.ix.A

                     above, if the requirements of Paragraph 18.a and 18.b are

                     satisfied, Defendants shall not be liable for any stipulated

                     penalty for failure to honor the Extended Modification

                     Warranty described in Appendix A, Paragraph 18, unless

                     and until the Class Action Settlement claims review

                     committee considers and finally adjudicates a warranty

                     claim dispute and finds in favor of the Eligible Owner or

                     the Eligible Lessee in accordance with the process required

                     in the Class Action Settlement. In such a case, Defendants

                     shall pay a stipulated penalty of $20,000 for each warranty

                     claim dispute that the Class Action Settlement review

                     committee considers and finally adjudicates in favor of the

                     Eligible Owner or the Eligible Lessee in accordance with

                     the process required in the Class Action Settlement. In

                     addition, Defendants shall reimburse the Eligible Owner or

                     the Eligible Lessee any amount paid by the Eligible Owner

                     or the Eligible Lessee to Defendants or to a Dealer because

                     of the failure to honor the Extended Modification

                     Warranty. Defendants’ liability for failure to honor the

                     Extended Modification Warranty shall not accrue until

                     there have been 100 instances in which the Class Action

                     Settlement claims review committee considers and finally




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                      adjudicates a warranty claim dispute in favor of the Eligible

                      Owner or the Eligible Lessee in accordance with the

                      process required in the Class Action Settlement. Once the

                      threshold number of instances is reached, Defendants shall

                      be liable for every instance in which the Class Action

                      Settlement review committee considers and finally

                      adjudicates a warranty claim dispute in favor of the Eligible

                      Owner or the Eligible Lessee in accordance with the

                      process required in the Class Action Settlement.

        x.     Penalties for Export, Sale, or Re-Sale of Unmodified Vehicles. If,

               after the Date of Lodging of this Consent Decree or after the date

               of approval of the applicable Emission Modification, whichever is

               later, Defendants sell, lease, introduce into commerce, or cause or

               arrange for any Dealer or other entity to do the foregoing, or fail to

               instruct its Dealers not to sell, lease, or introduce into commerce

               any Subject Vehicle that has not received an Approved Emission

               Modification in violation of the requirements of Appendix A,

               Paragraphs 5 or 6, Defendants shall pay $25,000 per affected

               Subject Vehicle. If, after the Date of Lodging of this Consent

               Decree, Defendants export, or fail to instruct Dealers not to export,

               from the United States to another country, any Subject Vehicle that

               has not received an Approved Emission Modification in violation

               of the requirements of Appendix A, Paragraph 6, except where that




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               Subject Vehicle is exported to Germany as permitted by Appendix

               A, Paragraph 6, Defendants shall pay $25,000 per affected Subject

               Vehicle.

        xi.    Failure to Submit a Complete Emission Modification Proposal

               Report or OBD Interim Report. If Defendants fail to timely submit

               or resubmit a complete proposed Emission Modification Proposal

               Report as required under Appendix B, Paragraph 4, or fail to

               timely submit or resubmit a complete OBD Interim Report as

               required under Appendix B, Paragraph 3 (which shall include

               failure to submit any required content in either the Emission

               Modification Proposal Report or the OBD Interim Report, or to

               complete testing in accordance with Appendix B), the following

               stipulated penalties shall accrue for each Day the report remains

               incomplete:

                      Penalty per Day        Period of Noncompliance

                      $2,000                 1st through 14th Day
                      $10,000                15th through 30th Day
                      $50,000                31st Day and beyond.

       xii.    Failure to Submit an Emission Modification Proposal Report that

               Meets the Emission Standard, Emission Standard First Threshold,

               or Emission Standard Upper Threshold. If Defendants’ proposed

               Emission Modification fails to meet the Emission Standard for the

               relevant Emission Modification Category, Defendants shall pay the

               following stipulated penalties per Eligible Vehicle as of the date




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               specified in Appendix A, Paragraph 4 in that Emission

               Modification Category (but not per Day):

                       (1)     below the Emission   Standard First Threshold, but
                               above the Emission   Standard: $7,000
                       (2)     below the Emission   Standard Upper Threshold, but
                               above the Emission   Standard First Threshold:
                               $16,000
                       (3)     above the Emission   Standard Upper Threshold:
                               $25,000.

      xiii.    Failure to Provide EPA or CARB with Test Vehicles, Equipment,

               or Software. If Defendants fail to provide a Test Vehicle,

               equipment, or software within 45 Days of a request by

               EPA/CARB, as provided in Appendix B, Paragraph 5.b,

               Defendants shall pay the following stipulated penalty per Test

               Vehicle for each Day the Test Vehicle is not provided:

                       Penalty per Day       Period of Noncompliance

                       $5,000                1st through 14th Day
                       $20,000               15th through 30th Day
                       $50,000               31st Day and beyond.

      xiv.     Failure to Comply with Prohibition on Defeat Devices. If

               Defendants propose to modify, modify, or cause to be modified, a

               Subject Vehicle after the Effective Date by updating such vehicle

               with a configuration of software and calibrations that contains a

               Defeat Device, Defendants must pay a stipulated penalty to the

               United States and CARB of $20,000,000 per Defeat Device (but

               not per vehicle).




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       xv.     Failure to Disclose AECDs. If a proposed Emission Modification

               or Approved Emission Modification includes an AECD that

               Defendants have not listed and described in the Updated AECD

               Document for that Emission Modification Category as of the date

               of submission of the relevant Emission Modification Proposal

               Report, Defendants shall pay the following stipulated penalties:

                      (1)     $1,000,000 per undisclosed AECD that reduces the
                              effectiveness of the emission control system under
                              conditions which may reasonably be expected to be
                              encountered in normal vehicle operation and use
                              (but not per vehicle), and

                      (2)     $100,000 per undisclosed AECD that is wholly
                              emissions neutral or that improves the effectiveness
                              of the emission control system under conditions
                              which may reasonably be expected to be
                              encountered in normal vehicle operation and use
                              (but not per vehicle).

      xvi.     Failure to Comply with Post-Entry Provisions Related to

               Modification of the Subject Vehicles Updated with the AEM. If,

               after implementing the Approved Emission Modification,

               Defendants fail to follow the procedures in Appendix A, Paragraph

               14 for modifying the Subject Vehicles, Defendants shall pay to the

               United States and CARB a stipulated penalty of:

                      (1)     $900,000 for each failure to submit a proposal in
                              accordance with the requirements in Appendix A,
                              Paragraph 14.a (but not per vehicle); and

                      (2)     $500,000 for each failure to submit a report to EPA
                              and CARB in accordance with the requirements of
                              Appendix A, Paragraph 14.b (but not per vehicle).




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        xvii.          Failure to Meet the Emission Modification Program Rate. If

                       Defendants fail to achieve an Emission Modification Program Rate

                       by the dates required in Appendix A, Paragraph 4, Defendants

                       shall pay a stipulated penalty of:

                                 (1)   $9,137,866.78 for each percentage point that the
                                       National Sprinter EMP Rate falls short of 85
                                       percent;

                                 (2)   $6,445,600.34 for each percentage point that the
                                       National Passenger EMP Rate falls short of 85
                                       percent;

                                 (3)   $1,485,665.16 for each percentage point that the
                                       California Sprinter EMP Rate falls short of 85
                                       percent; and

                                 (4)   $1,325,908.64 for each percentage point that the
                                       California Passenger EMP Rate falls short of 85
                                       percent.

                       In calculating any payment under this Paragraph 53.b.xvii, each

                       Emission Modification Program Rate shall be rounded to the

                       nearest percentage point, except that any number between 84

                       percent and 85 percent shall be considered a one percent shortfall

                       for calculation of the relevant stipulated penalty.

   c.           Injunctive Relief Requirements: Section VI, Paragraphs 18 and 18.a (OBD

                Requirements).

           i.          Pre-Approved OBD Noncompliances. Within 30 Days of the

                       Effective Date, Defendants shall pay to CARB $35,436,600 for the

                       Cluster 1 Pre-Approved OBD Noncompliances and $7,271,300 for

                       the Cluster 5 Pre-Approved OBD Noncompliances. Within 30




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               Days of the Effective Date, Defendants shall pay to the United

               States $21,804,800 for the Cluster 1 Pre-Approved OBD

               Noncompliances and $5,796,000 for the Cluster 5 Pre-Approved

               OBD Noncompliances. Defendants shall also follow the additional

               extended warranty provisions of Appendix A, Paragraph 18.d.i.A

               and with respect to ten Cluster 1 Pre-Approved OBD

               Noncompliances, as determined by EPA/CARB, and with respect

               to seven Cluster 5 Pre-Approved OBD Noncompliances, as

               determined by EPA/CARB.

        ii.    Additional OBD Noncompliances. Within 30 Days of

               EPA/CARB’s approval of the Emission Modification Proposal

               Report of each EMC in an OBD Cluster, Defendants shall pay to

               CARB the stipulated penalty required under Paragraph 53.c.ii.A or

               53.c.ii.B, as applicable, per OBD Noncompliance determined by

               EPA/CARB in the approval of the Report. In the event that

               Defendants report any OBD Noncompliance in an Emission

               Modification Proposal Report of an EMC that was not present in a

               previously submitted EMC Emission Modification Proposal Report

               within the same OBD Cluster, Defendants shall pay to CARB the

               amount provided for under Paragraph 53.c.ii.A or 53.c.ii.B, as

               applicable, for that newly-reported OBD Noncompliance, even if

               the number of OBD Noncompliances is the same for each EMC

               within a Cluster.




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                A.    Class 1 Additional OBD Noncompliances. If EPA/CARB

                      determine that one or more Subject Vehicles fail to comply

                      with the OBD requirements in the applicable version of

                      13 C.C.R. § 1968.2, and if such failure is not a Pre-

                      Approved OBD Noncompliance under Appendix B,

                      Paragraph 2.f.i.A or a DOC OBD Noncompliance under

                      Paragraph 12 or 13 of the California Partial Consent

                      Decree, and Defendants disclose the failure to comply in

                      the respective Emission Modification Proposal Report for

                      each Emission Modification Category to which the failure

                      to comply applies, such failure shall be known as a Class 1

                      Additional OBD Noncompliance, and Defendants shall pay

                      to CARB a stipulated penalty per OBD Cluster, per OBD

                      Noncompliance of:

                              (1)    $339,900 per OBD Noncompliance for
                                     Cluster 2;
                              (2)    $214,850 per OBD Noncompliance for
                                     Cluster 3; and
                              (3)    $224,650 per OBD Noncompliance for
                                     Cluster 4.

                      For avoidance of doubt, this subparagraph also applies if

                      Defendants report any failure to comply in the respective

                      Emission Modification Proposal Report for the Emission

                      Modification Category to which the failure applies that

                      Defendants would also report under Paragraphs 19.a and

                      19.c.



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                B.    Class 2 Additional OBD Noncompliances. If EPA/CARB

                      determine that one or more Subject Vehicles fail to comply

                      with the OBD requirements in the applicable version of

                      13 C.C.R. § 1968.2, and if such failure is not a Pre-

                      Approved OBD Noncompliance under Appendix B,

                      Paragraph 2.f.i.A or listed in Appendix B, Attachment L, a

                      Class 1 Additional OBD Noncompliance, or a DOC OBD

                      Noncompliance under Paragraph 12 or 13 of the California

                      Partial Consent Decree, and Defendants disclose the failure

                      to comply in the respective Emission Modification

                      Proposal Report for each Emission Modification Category

                      to which the failure applies, such failure shall be known as

                      a Class 2 Additional OBD Noncompliance, and Defendants

                      shall pay to CARB a stipulated penalty per OBD Cluster,

                      per OBD Noncompliance of:

                             (1)     $509,850 per OBD Noncompliance       for
                                     Cluster 2;
                             (2)     $322,275 per OBD Noncompliance       for
                                     Cluster 3;
                             (3)     $336,975 per OBD Noncompliance       for
                                     Cluster 4; and
                             (4)     $337,050 per OBD Noncompliance       for
                                     Cluster 5.
                      For avoidance of doubt, this subparagraph also applies if

                      Defendants report any failure to comply in the respective

                      Emission Modification Proposal Report for the Emission

                      Modification Category to which the failure applies that



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                       Defendants would also report under Paragraph 19.a.

        iii.    Unreported OBD Noncompliances. If EPA and CARB determine

                that one or more Subject Vehicles fail to comply with the OBD

                requirements in the applicable version of 13 C.C.R. § 1968.2 and

                Defendants do not disclose such failure to comply in the Emission

                Modification Proposal Report for each Emission Modification

                Category, and if such failure is not a Pre-Approved OBD

                Noncompliance, Class 1 or Class 2 Additional OBD

                Noncompliance, or DOC OBD Noncompliance under Paragraph

                12 or 13 of the California Partial Consent Decree, Defendants shall

                pay to the United States and CARB a stipulated penalty per OBD

                Cluster, per OBD Noncompliance of:

                       (1)     $10,902,400 per OBD Noncompliance for Cluster
                               1;
                       (2)     $3,881,400 per OBD Noncompliance for Cluster 2;
                       (3)     $2,271,900 per OBD Noncompliance for Cluster 3;
                       (4)     $2,072,000 per OBD Noncompliance for Cluster 4;
                               and
                       (5)     $1,932,000 per OBD Noncompliance for Cluster 5.

                For avoidance of doubt, this subparagraph also applies in the event

                that Defendants report any failure to comply under Paragraph 19.a

                and the failure is not a Pre-Approved OBD Noncompliance, a

                Class 1 or Class 2 Additional OBD Noncompliance, or a DOC

                OBD Noncompliance under Paragraph 12 or 13 of the California

                Partial Consent Decree.




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        iv.     Section 1968.5 OBD Noncompliances. If an Approved Emission

                Modification fails to comply with the applicable version of

                13 C.C.R. § 1968.5(b)(6) (except 13 C.C.R. § 1968.5(b)(6)(C)(ii),

                (c)(3), (c)(4) (2016), and except for a DOC OBD Noncompliance

                under Paragraph 12 or 13 of the California Partial Consent

                Decree), Defendants shall pay to the United States and CARB a

                stipulated penalty of $1,000 per Subject Vehicle as of the date in

                Appendix A, Paragraph 4, per Section 1968.5 OBD

                Noncompliance, and may, within 30 Days of receiving EPA’s and

                CARB’s determination of 13 C.C.R. § 1968.5 Noncompliances,

                seek EPA’s and CARB’s approval for a modification related to the

                Approved Emission Modification under Appendix A, Paragraph 14

                to remedy the failure to comply with the applicable version of

                13 C.C.R. § 1968.5(b)(6).

        v.      Inspection and Maintenance Mandatory Recall. If an Approved

                Emission Modification contains an OBD Noncompliance

                referenced in the applicable version of 13 C.C.R.

                § 1968.5(b)(6)(C)(ii), except for a DOC OBD Noncompliance

                under Paragraph 12 or 13 of the California Partial Consent Decree,

                Defendants shall pay to the United States and CARB a stipulated

                penalty per OBD Cluster, per OBD Noncompliance of:

                       (1)     $10,902,400 per OBD Noncompliance for Cluster
                               1;
                       (2)     $3,881,400 per OBD Noncompliance for Cluster 2;
                       (3)     $2,271,900 per OBD Noncompliance for Cluster 3;



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                            (4)      $2,072,000 per OBD Noncompliance for Cluster 4;
                                     and
                            (5)      $1,932,000 per OBD Noncompliance for Cluster 5.

                     Additionally, Defendants shall submit to EPA and CARB for

                     review and approval a remedial plan in accordance with 13 C.C.R.

                     § 1968.5(d) to address each Noncompliance, and shall recall each

                     affected Eligible Vehicle consistent with 13 C.C.R. § 1968.5(d)

                     and this Consent Decree. Defendants shall not be subject to the

                     OBD recall provisions if an Eligible Vehicle fails or is otherwise

                     not able to complete the Inspection and Maintenance program

                     because insufficient miles have been accumulated on the vehicle to

                     clear any fault codes or Inspection and Maintenance readiness

                     flags following application of the Approved Emission

                     Modification.

    d.        Injunctive Relief Requirements: Section VI, Paragraph 19 (Subject

              Vehicle In-Use Testing).

         i.          Failure to Complete In-Use Testing Requirements. If Defendants

                     fail to complete In-Use Testing in accordance with Paragraphs 19.a

                     or 19.b of this Consent Decree, Defendants shall pay to the United

                     States and CARB a stipulated penalty for each Day of such failure:

                            Penalty per Day        Period of Noncompliance

                            $5,000                 1st through 14th Day
                            $20,000                15th through 30th Day
                            $50,000                31st Day and beyond.




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         ii.    Failure to Provide Notice in Advance of In-Use Testing. If

                Defendants fail to notify EPA/CARB of testing in accordance with

                Paragraph 19.b.vi (Notification of Testing), Defendants shall pay

                to the United States and CARB a stipulated penalty for each Day

                of such failure:

                        Penalty per Day          Period of Noncompliance

                        $2,000                   1st through 14th Day
                        $3,000                   15th through 30th Day
                        $10,000                  31st Day and beyond.

        iii.    Failure to Comply with Emission Standard, Emission Standard

                First Threshold, or Emission Standard Upper Threshold. If, as

                determined in accordance with Paragraph 19.b.v, Eligible Vehicles

                updated with the Approved Emission Modification fail to meet the

                Emission Standard, Emission Standard First Threshold, or the

                Emission Standard Upper Threshold for the relevant Emission

                Modification Category approved in the Emission Modification

                Proposal Report for the relevant Emission Modification Category,

                Defendants shall pay the following stipulated penalties, as

                applicable, per Eligible Vehicle in that Emission Modification

                Category (but not per Day):

                        (1)        below the Emission   Standard First Threshold, but
                                   above the Emission   Standard: $7,350
                        (2)        below the Emission   Standard Upper Threshold, but
                                   above the Emission   Standard First Threshold:
                                   $16,800
                        (3)        above the Emission   Standard Upper Threshold:
                                   $26,250.




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    e.          Injunctive Relief Requirements: Section VII (Corporate Compliance).

           i.          Corporate Compliance Obligations. Defendants shall pay

                       stipulated penalties per Day for each Day that Defendants fail to

                       meet the requirements for compliance with the provisions of

                       Section VII. In the event that a failure to meet a requirement is

                       covered by a specific stipulated penalty listed below, Defendants

                       shall only pay the stipulated penalties as required by that specific

                       subparagraph. If no specific stipulated penalty is listed for a

                       failure to meet a particular requirement, Defendants shall pay

                       stipulated penalties for failing to meet that requirement as follows:

                              Penalty per Day         Period of Noncompliance

                              $1,000                  1st through 14th Day
                              $2,500                  15th through 30th Day
                              $10,000                 31st Day and beyond.

          ii.          Segregation of Duties. Defendants shall pay stipulated penalties

                       per Day for each Day that Defendants fail to implement and

                       maintain any segregation of duty requirement in Paragraph 23 as

                       follows:

                              Penalty per Day         Period of Noncompliance

                              $2,000                  1st through 14th Day
                              $10,000                 15th through 30th Day
                              $50,000                 31st Day and beyond.

         iii.          Integrity Code. Defendants shall pay stipulated penalties per Day

                       for each Day that the modification to their Integrity Code is




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                overdue or is otherwise not in accordance with the requirements in

                Paragraph 24 as follows:

                       Penalty per Day        Period of Noncompliance

                       $1,000                 1st through 14th Day
                       $2,500                 15th through 30th Day
                       $10,000                31st Day and beyond.

        iv.     Employee Discipline and Compensation. Defendants shall pay

                stipulated penalties per Day for each Day that they fail to

                implement and maintain any employee discipline and

                compensation requirement in Paragraph 25 as follows:

                       Penalty per Day        Period of Noncompliance

                       $1,000                 1st through 14th Day
                       $2,500                 15th through 30th Day
                       $10,000                31st Day and beyond.

        v.      Whistleblower System. Defendants shall pay stipulated penalties

                per Day for each Day that they fail to implement and maintain any

                BPO system requirement in Paragraph 26 as follows:

                       Penalty per Day        Period of Noncompliance

                       $2,000                 1st through 14th Day
                       $5,000                 15th through 30th Day
                       $10,000                31st Day and beyond.

        vi.     Risk Assessment. Defendants shall pay stipulated penalties per

                Day for each Day that they fail to comply with any requirement

                concerning risk assessments in Paragraph 27 as follows:

                       Penalty per Day        Period of Noncompliance

                       $1,000                 1st through 14th Day
                       $2,500                 15th through 30th Day



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                       $10,000                 31st Day and beyond.

       vii.     Business Partner and Supplier Integrity Management. Defendants

                shall pay stipulated penalties per Day for each Day that they fail to

                comply with any requirement concerning business partner and

                supplier integrity management in Paragraph 28 as follows:

                       Penalty per Day         Period of Noncompliance

                       $1,000                  1st through 14th Day
                       $2,500                  15th through 30th Day
                       $10,000                 31st Day and beyond.

       viii.    Compliance Management System and Technical Compliance

                Management System. Defendants shall pay stipulated penalties

                per Day for each Day that they fail to comply with any requirement

                concerning their compliance management system and technical

                compliance management system in Paragraph 29 as follows:

                       Penalty per Day         Period of Noncompliance

                       $1,000                  1st through 14th Day
                       $2,500                  15th through 30th Day
                       $10,000                 31st Day and beyond.

        ix.     Technical Compliance and Certification Control Measures.

                Defendants shall pay stipulated penalties per Day for each Day that

                they fail to comply with any requirement concerning technical

                compliance and certification control measures, including, but not

                limited to, PEMs testing, in Paragraph 30 as follows:

                       Penalty per Day         Period of Noncompliance

                       $2,000                  1st through 14th Day
                       $5,000                  15th through 30th Day



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                       $10,000                 31st Day and beyond.

        x.      Reporting of Corporate Compliance. Defendants shall pay

                stipulated penalties per Day for each Day that they fail to report on

                corporate compliance measures, including, but not limited to,

                failing to include corporate compliance information in other

                reports, as required in Paragraph 31 as follows:

                       Penalty per Day         Period of Noncompliance

                       $1,000                  1st through 14th Day
                       $2,500                  15th through 30th Day
                       $10,000                 31st Day and beyond.

        xi.     Internal Audits. Defendants shall pay stipulated penalties per Day

                for each Day that they fail to comply with any requirement

                concerning internal audits, including, but not limited to, the

                implementation of corrective measures, in Paragraph 32 as

                follows:

                       Penalty per Day         Period of Noncompliance

                       $1,000                  1st through 30th Day
                       $2,500                  31st through 60th Day
                       $10,000                 61st Day and beyond.


       xii.     External Compliance Consultant. Defendants shall pay stipulated

                penalties per Day for each Day that they fail to comply with any

                requirement concerning the External Compliance Consultant in

                Paragraph 33 as follows:

                       Penalty per Day         Period of Noncompliance

                       $2,000                  1st through 30th Day



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                         $10,000               31st through 60th Day
                         $35,000               61st Day and beyond.

    f.    Injunctive Relief Requirements: Section VIII (Mitigation).

          i.     If Defendants fail to repower or rebuild 15 non-Tier 4 compliant

                 line-haul locomotives as required by Paragraph 35 by the specified

                 deadlines contained in Paragraph 35.a and 36, Defendants shall

                 pay the following stipulated penalties per violation per Day, unless

                 Defendants submit and implement a Supplemental Mitigation Plan

                 pursuant to Paragraphs 38 and 39:

                         Penalty per Day       Period of Noncompliance

                         $5,000                1st through 14th Day
                         $10,000               15th through 30th Day
                         $20,000               31st Day and beyond

          ii.    In the event Defendants determine that it is impractical to complete

                 the U.S. Mitigation Program pursuant to Paragraph 38, if

                 Defendants fail to submit a Supplemental Mitigation Plan that

                 complies with the requirements of Paragraph 38, or fail to take all

                 actions required by the Supplemental Mitigation Plan in

                 accordance with the schedules and requirements of the

                 Supplemental Mitigation Plan as required by Paragraph 38,

                 Defendants shall pay the following stipulated penalties per

                 violation per Day, provided that no stipulated penalty shall accrue

                 for failure to take an action required by the Supplemental

                 Mitigation Plan in accordance with the schedules and requirements

                 of the Supplemental Mitigation Plan if Defendants have



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                       resubmitted, in whole or in part, the Supplemental Mitigation Plan

                       as required by Paragraph 38:

                                 Penalty per Day      Period of Noncompliance

                                 $5,000               1st through 14th Day
                                 $10,000              15th through 30th Day
                                 $20,000              31st Day and beyond

    g.          Reporting and Certification Requirements: Section IX (Reporting

                Requirements).

           i.          Timing, Content of Reports. The following stipulated penalties

                       shall accrue per violation per Day for each violation of the

                       requirements of Paragraph 43 (Timing of Reports) and Paragraph

                       42 (Consent Decree Compliance Reports):

                                 Penalty per Day      Period of Noncompliance

                                 $2,000               1st through 14th Day
                                 $5,000               15th through 30th Day
                                 $10,000              31st Day and beyond.

          ii.          Reporting of Violations. The following stipulated penalties shall

                       accrue per violation per Day for each violation of the requirements

                       of Paragraph 44 (Reporting of Violations):

                                 Penalty per Day      Period of Noncompliance

                                 $2,000               1st through 14th Day
                                 $5,000               15th through 30th Day
                                 $10,000              31st Day and beyond.

         iii.          Certification Requirements. For each violation of the certification

                       requirements of Paragraph 48 of this Consent Decree and

                       Appendix B, Paragraph 4.a.i.P, except for false statements as




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                      described in Paragraph 53.g.iv, below, for which the stipulated

                      penalty shall be as provided therein, Defendants shall have one

                      opportunity to self-correct the violation within 15 Days of the

                      applicable Submission, after which time, Defendants shall pay a

                      stipulated penalty of $200,000 for each violation.

         iv.          False Statements. Defendants shall pay a stipulated penalty of

                      $1,000,000 for each Submission required to be submitted pursuant

                      to this Consent Decree that contains a knowingly false, fictitious,

                      or fraudulent statement or representation of material fact.

    h.         Information Collection and Retention Requirements: Section XIII

               (Information Collection and Retention).

          i.          If Defendant Mercedes-Benz USA fails to maintain within the

                      United States a copy of all Records as required to be retained

                      within the United States pursuant to Paragraph 81, Defendants

                      shall pay stipulated penalties per Day for each Day that Defendant

                      Mercedes-Benz USA fails to maintain such Records in the United

                      States:

                                Penalty per Day      Period of Noncompliance

                                $2,000               1st through 14th Day
                                $5,000               15th through 30th Day
                                $10,000              31st Day and beyond.

         ii.          If Defendants fail to provide the United States or CARB with an

                      unredacted copy of a Record upon request, as required by




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                               Paragraph 82, Defendants shall pay stipulated penalties per Day for

                               each Day that Defendants fail to provide such a Record:

                                      Penalty per Day         Period of Noncompliance

                                      $1,000                  1st through 14th Day
                                      $2,500                  15th through 30th Day
                                      $10,000                 31st Day and beyond.

       54.     Stipulated penalties shall begin to accrue on the Day after performance is due or

on the Day a violation occurs, whichever is applicable, and shall continue to accrue until

performance is satisfactorily completed or until the violation ceases. Stipulated penalties shall

accrue simultaneously for separate violations of this Consent Decree, provided that there shall be

only one stipulated penalty assessed per violation against the Defendants.

       55.     The United States, in consultation with CARB, shall issue any demand for

stipulated penalties in writing to Defendants, except for violations of Paragraph 53.c.ii, for which

CARB shall issue any demand for stipulated penalties in writing to Defendants. The written

demand for payment of stipulated penalties shall specifically identify the violation.

       56.     Defendants shall pay any stipulated penalties to the United States and CARB, as

applicable, within 30 Days of receiving the written demand. Defendants shall pay 75 percent of

the total stipulated penalty amount due to the United States and 25 percent to CARB, except for

violations of Paragraphs 53.c.iii to 53.c.v, for which Defendants shall pay 50 percent of the total

stipulated penalty amount due to the United States and 50 percent to CARB, and violations of

Paragraph 53.c.ii, for which Defendants shall pay the entire stipulated penalty amount to CARB.

       57.     Either the United States or CARB may in the unreviewable exercise of its

discretion, reduce or waive stipulated penalties otherwise due it under this Consent Decree.




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However, no action by either the United States or CARB may reduce or waive stipulated

penalties due the other.

       58.     Stipulated penalties continue to accrue as provided in Paragraph 54 during any

dispute resolution period, but need not be paid unless determined to be owing and until the

following:

               a.      If the dispute is resolved by agreement of the Parties or by a decision of

                       EPA/CARB that is not appealed to the District Court, Defendants shall

                       pay accrued penalties determined to be owing, together with interest as

                       provided in Paragraph 62, to the United States and CARB, as applicable,

                       within 30 Days after the effective date of the agreement or the receipt of

                       EPA’s/CARB’s decision or order.

               b.      If the dispute is appealed to the District Court and the United

                       States/California prevail(s) in whole or in part, Defendants shall pay all

                       accrued penalties determined by the Court to be owing, together with

                       interest as provided in Paragraph 62, to the United States and CARB, as

                       applicable, within 60 Days of receiving the Court’s decision or order,

                       except as provided in Paragraph 58.c, below.

               c.      If any Party appeals the District Court’s decision and the United

                       States/California prevail(s) in whole or in part, Defendants shall pay all

                       accrued penalties determined by the federal appellate court to be owing,

                       together with interest as provided in Paragraph 62, to the United States

                       and CARB, as applicable, within 15 Days of receiving the final appellate

                       court decision.




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        59.     Obligations from Date of Lodging to the Effective Date. Upon the Effective

Date, the stipulated penalty provisions of this Consent Decree shall be retroactively enforceable

with regard to any and all violations of Appendix A, Paragraph 6 and Appendix B, Paragraphs 3,

4, and 5.b that have occurred from the Date of Lodging to the Effective Date, provided that

stipulated penalties that may have accrued between the Date of Lodging and the Effective Date

may not be collected unless and until this Consent Decree is entered by the Court.

        60.     Defendants shall pay stipulated penalties owing to the United States in the manner

set forth and with the confirmation notices required by Paragraph 9, except that the transmittal

letter shall state that the payment is for stipulated penalties and shall state for which violation(s)

the penalties are being paid.

        61.     Defendants shall pay stipulated penalties owing to CARB by check, accompanied

by a Payment Transmittal Form (which CARB will provide to the addressee listed in Paragraph 9

after the Effective Date), with each check mailed to:

                California Air Resources Board
                Accounting Office
                P.O. Box 1436
                Sacramento, CA 95812-1436;

or by wire transfer, in which case Defendants shall use the following wire transfer information

and send the Payment Transmittal Form to the above address prior to each wire transfer:

                State of California Air Resources Board
                c/o Bank of America, Inter Branch to 0148
                Routing No. 0260-0959-3 Account No. 01482-80005
                Notice of Transfer: Accounting; Fax: (916) 322-9612
                Reference: ARB Case # C00032.

Defendants are responsible for any bank charges incurred for processing wire transfers.

Stipulated penalties paid to CARB under this Consent Decree shall be deposited into the Air

Pollution Control Fund for the purpose of enhancing CARB’s mobile source emissions control



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program through additional certification review, in-use evaluation, real-world testing,

enforcement actions, and other CARB activities related to the control of air pollution.

       62.     If Defendants fail to pay stipulated penalties according to the terms of this

Consent Decree, Defendants shall be liable for interest on such penalties, as provided for in

28 U.S.C. § 1961, accruing as of the date payment became due and continuing until payment has

been made in full. Nothing in this Paragraph shall be construed to limit the United States or

California from seeking any remedy otherwise provided by law for Defendants’ failure to pay

any stipulated penalties.

       63.     The payment of stipulated penalties and interest, if any, shall not alter in any way

Defendants’ obligation to complete the performance of the requirements of this Consent Decree,

unless otherwise agreed to by the Parties in writing.

       64.     Non-Exclusivity of Remedy. Stipulated penalties are not the United States’ or

California’s exclusive remedy for violations of this Consent Decree, including violations of this

Consent Decree that are also violations of law. Subject to the provisions of Section XIV (Effect

of Settlement/Reservation of Rights), the United States and California expressly reserve the right

to seek any other relief they deem appropriate for Defendants’ violation of this Consent Decree

or applicable law, including but not limited to an action against Defendants for statutory

penalties where applicable, additional injunctive relief, mitigation or offset measures and/or

contempt. However, the amount of any statutory penalty assessed for a violation of this Consent

Decree shall be reduced by an amount equal to the amount of any stipulated penalty assessed and

paid pursuant to this Consent Decree (to the United States or to CARB, respectively).




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                                    XI.     FORCE MAJEURE

       65.     “Force majeure,” for purposes of this Consent Decree, is defined as any event

arising from causes beyond the control of Defendants, of any entity controlled by Defendants, or

of Defendants’ contractors that delays or prevents the performance of any obligation under this

Consent Decree despite Defendants’ best efforts to fulfill the obligation. The requirement that

Defendants exercise “best efforts to fulfill the obligation” includes using best efforts to anticipate

any potential force majeure event and best efforts to address the effects of any potential force

majeure event (1) as it is occurring and (2) following the potential force majeure, such that the

delay and any adverse effects of the delay are minimized. “Force majeure” does not include

Defendants’ financial inability to perform any obligation under this Consent Decree.

Notwithstanding the foregoing, any failure by any supplier to deliver the Aftertreatment System

hardware necessary for an Approved Emission Modification which delays or prevents the

performance of any obligation under Section VI (Subject Vehicle Compliance), Appendix A, or

Appendix B of this Consent Decree shall constitute “force majeure,” and any COVID-19 public

health crisis event—even though COVID-19 is already under way—which delays or prevents an

obligation under Section VI (Subject Vehicle Compliance), Section VII (Corporate Compliance),

Section VIII (Mitigation) (except Paragraph 41), Appendix A, or Appendix B may constitute

“force majeure,” provided in either instance that Defendants otherwise meet the requirements for

force majeure under this Consent Decree.

       66.     If any event occurs or has occurred that may delay the performance of any

obligation under this Consent Decree, for which Defendants intend or may intend to assert a

claim of force majeure, whether or not caused by a force majeure event, Defendants shall

provide notice by email and telephone to EPA/CARB, within seven Business Days of when




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Defendants first knew that the event might cause a delay. Within 14 Days thereafter, Defendants

shall provide in writing to EPA/CARB an explanation and description of the reasons for the

delay; the anticipated duration of the delay; all actions taken or to be taken to prevent or

minimize the delay or the effect of the delay; a schedule for implementation of any measures to

be taken to prevent or mitigate the delay or the effect of the delay; Defendants’ rationale for

attributing such delay to a force majeure event if it intends to assert such a claim; and a statement

as to whether, in the opinion of Defendants, such event may cause or contribute to an

endangerment to public health, welfare, or the environment. Defendants shall include with any

notice all available documentation supporting the claim that the delay was attributable to a force

majeure. Failure to comply with the requirements in this Paragraph shall preclude Defendants

from asserting any claim of force majeure for that event for the period of time of such failure to

comply, and for any additional delay caused by such failure. For purposes of this Paragraph,

Defendants shall be deemed to know of any circumstance of which Defendants, any entity

controlled by Defendants, or Defendants’ contractors (excluding any supplier delivering

Aftertreatment System hardware necessary for an Approved Emission Modification) knew or

should have known.

       67.     If EPA/CARB agree that the delay or anticipated delay is attributable to a force

majeure event, the time for performance of the obligations under this Consent Decree that are

affected by the force majeure event will be extended by EPA/CARB, as applicable, for such time

as is necessary to complete those obligations. An extension of the time for performance of the

obligations affected by the force majeure event shall not, of itself, extend the time for

performance of any other obligation. EPA/CARB will notify Defendants in writing of the length

of the extension, if any, for performance of the obligations affected by the force majeure event.




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       68.     If EPA/CARB do(es) not agree that the delay or anticipated delay has been or will

be caused by a force majeure event, EPA/CARB will notify Defendants in writing of its/their

decision. If EPA/CARB do(es) not provide a response within 30 Days after receipt of

Defendants’ written force majeure notice, Defendants may treat the absence of a response as a

denial of the written force majeure notice.

       69.     If Defendants elect to invoke the dispute resolution procedures set forth in

Section XII (Dispute Resolution), they shall do so no later than 15 Days after receipt of

EPA’s/CARB’s written notice or 15 Days after the 30 Day period referenced in the preceding

Paragraph, as applicable. In any such proceeding, Defendants shall have the burden of

demonstrating by a preponderance of the evidence that the delay or anticipated delay has been or

will be caused by a force majeure event, that the duration of the delay or the extension sought

was or will be warranted under the circumstances, that best efforts were exercised to avoid and

mitigate the effects of the delay, and that Defendants complied with the requirements of

Paragraphs 65 and 66. If Defendants carry this burden, the delay at issue shall be deemed not to

be a violation by Defendants of the affected obligation of this Consent Decree identified to

EPA/CARB and the Court, as applicable.

                                XII.    DISPUTE RESOLUTION

       70.     Unless otherwise expressly provided for in this Consent Decree, the dispute

resolution procedures of this Section shall be the exclusive mechanism to resolve disputes arising

between the Parties under or with respect to this Consent Decree. Failure by the Defendants to

seek resolution of a dispute under this Section shall preclude Defendants from raising any such

issue as a defense to an action by the United States or California to enforce any obligation of

Defendants arising under this Consent Decree.




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       71.     Informal Dispute Resolution. Any dispute subject to dispute resolution under this

Consent Decree shall first be the subject of informal negotiations. The dispute shall be

considered to have arisen when Defendants send the United States and CARB a written Notice of

Dispute. Such Notice of Dispute shall state clearly the matter in dispute, including, where

applicable, whether the dispute arises from a decision made by EPA and CARB jointly, or EPA

or CARB individually. The period of informal negotiations shall last for 30 Days after the date

the Notice of Dispute is received by Plaintiffs, unless that period is modified by written

agreement signed by all Parties. If the Parties cannot resolve a dispute by informal negotiations,

then the position advanced by the United States/CARB shall be considered binding unless,

within 30 Days after the conclusion of the informal negotiation period, Defendants invoke formal

dispute resolution procedures as set forth below.

       72.     Formal Dispute Resolution. Defendants shall invoke formal dispute resolution

procedures, within the time period provided in the preceding Paragraph, by serving on the United

States/CARB a written Statement of Position regarding the matter in dispute. The Statement of

Position shall include, but need not be limited to, any factual data, analysis, or opinion

supporting Defendants’ position and any supporting documentation relied upon by Defendants.

       73.     The United States/CARB shall serve its/their Statement of Position within 45

Days of receipt of Defendants’ Statement of Position. The United States’/CARB’s Statement of

Position shall include, but need not be limited to, any factual data, analysis, or opinion

supporting that position and any supporting documentation relied upon by the United

States/CARB. The United States’/CARB’s Statement of Position shall be binding on

Defendants, unless Defendants file a motion for judicial review of the dispute in accordance with

the following Paragraph.




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       74.     Defendants may seek judicial review of the dispute by filing with the Court and

serving on the United States/CARB, in accordance with Section XVI (Notices), a motion

requesting judicial resolution of the dispute. The motion must be filed within 30 Days of receipt

of the United States’/CARB’s Statement of Position pursuant to the preceding Paragraph. The

motion shall contain a written statement of Defendants’ position on the matter in dispute,

including any supporting factual data, analysis, opinion, or documentation, and shall set forth the

relief requested and any schedule within which the dispute must be resolved for orderly

implementation of this Consent Decree. The motion may not raise any issue not raised in

informal dispute resolution pursuant to Paragraph 71, unless the Plaintiffs raise a new issue of

law or fact in the Statement of Position. If Defendants wish to raise in their motion seeking

judicial resolution of the dispute new facts that became available after the completion of the

informal dispute resolution process, Defendants shall re-initiate the dispute resolution process in

accordance with Paragraph 71 and include the new facts in the Notice of Dispute.

       75.     The United States/California shall respond to Defendants’ motion within the time

period allowed by the Local Rules of this Court. Defendants may file a reply memorandum, to

the extent permitted by the Local Rules.

       76.     Standard of Review

               a.      Disputes Concerning Matters Accorded Record Review. Except as

                       otherwise provided in this Consent Decree, in any dispute brought

                       pursuant to Paragraph 74 that pertains to (1) the adequacy or

                       appropriateness of plans or procedures to implement plans, schedules, or

                       any other item that requires approval by EPA/CARB under this Consent

                       Decree, (2) the adequacy of the performance of work undertaken pursuant




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                       to this Consent Decree, and (3) all other disputes that are accorded review

                       on the administrative record under applicable principles of administrative

                       law, Defendants shall have the burden of demonstrating, based on the

                       administrative record, that the position of EPA/CARB is arbitrary and

                       capricious or otherwise not in accordance with law based on the

                       administrative record. For purposes of this Paragraph, EPA/CARB will

                       maintain an administrative record of the dispute, which will contain all

                       statements of position, including supporting documentation, submitted

                       pursuant to this Section. Prior to the filing of any motion, the Parties may

                       submit additional materials to be part of the administrative record pursuant

                       to applicable principles of administrative law.

               b.      Other Disputes. Except as otherwise provided in this Consent Decree, in

                       any other dispute brought under Paragraph 72, Defendants shall bear the

                       burden of demonstrating by a preponderance of the evidence that their

                       position complies with this Consent Decree.

       77.     In any disputes brought under this Section, it is hereby expressly acknowledged

and agreed that this Consent Decree was jointly drafted in good faith by the United States,

California, and Defendants. Accordingly, the Parties hereby agree that any and all rules of

construction to the effect that ambiguity is construed against the drafting party shall be

inapplicable in any dispute concerning the terms, meaning, or interpretation of this Consent

Decree.

       78.     The invocation of dispute resolution procedures under this Section shall not, by

itself, extend, postpone, or affect in any way any obligation of Defendants under this Consent




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Decree, unless and until final resolution of the dispute so provides. Stipulated penalties with

respect to the disputed matter shall continue to accrue from the first Day of noncompliance, but

payment shall be stayed pending resolution of the dispute as provided in Paragraph 58. If

Defendants do not prevail on the disputed issue, stipulated penalties shall be assessed and paid as

provided in Section X (Stipulated Penalties).

                      XIII.     INFORMATION COLLECTION AND RETENTION

        79.      The United States, CARB, and their representatives, including attorneys,

contractors, and consultants (collectively, “Agency Representatives”), shall have the right of

entry, upon presentation of credentials, at all reasonable times into any of Defendants’ offices,

plants, or facilities:

                 a.           to monitor the progress of activities required under this Consent Decree;

                 b.           to verify any data or information submitted to the United States or CARB

                              in accordance with the terms of this Consent Decree;

                 c.           to inspect records related to this Consent Decree;

                 d.           to conduct or observe testing related to this Consent Decree, whereupon a

                              representative of Defendants shall be given the opportunity to accompany

                              the Agency Representatives conducting such testing;

                 e.           to obtain documentary evidence, including photographs and similar data,

                              related to this Consent Decree;

                 f.           to assess Defendants’ compliance with this Consent Decree; and

                 g.           for other purposes as set forth in 42 U.S.C. § 7542(b) and Cal. Gov’t Code

                              § 11180 et seq.




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        80.     Upon request, and for purposes of evaluating compliance with this Consent

Decree, Defendants shall, as soon as is reasonably practicable, provide to EPA/CARB or the

Agency Representatives at locations to be designated by EPA/CARB:

                a.      a reasonable number of vehicles matching the configuration of the

                        proposed Emission Modification in the applicable Emission Modification

                        Proposal Report, pursuant to Appendix B, Paragraph 5.b hereto, for

                        emissions testing;

                b.      specified software, hardware, and related documentation for vehicles

                        matching the configuration of the proposed Emission Modification in the

                        applicable Emission Modification Proposal Report, pursuant to Appendix

                        B, Paragraph 5.b hereto, including any tools needed for testing;

                c.      reasonable requests for English translations of software or Defendants’

                        documents; or

                d.      other items or information that could be requested pursuant to 42 U.S.C.

                        § 7542(a) or Cal. Gov’t Code § 11180 et seq.

        81.     Until three years after the termination of this Consent Decree, Defendants shall

retain, and shall instruct their contractors and agents to preserve, all Records in their or their

contractors’ or agents’ possession or control, or that come into their or their contractors’ or

agents’ possession or control, that relate to Defendants’ performance of their obligations under

this Consent Decree. The United States and CARB have an interest in these Records, which are

necessary to their ability to oversee and assess Defendants’ compliance with the terms of this

Consent Decree resolving the United States’ and CARB’s allegations in their respective

Complaints. Defendant Mercedes-Benz USA shall maintain within the United States a copy of




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all Records required to be retained by Defendants pursuant to this Paragraph, except for Records

that relate solely to Defendant Daimler AG’s performance of its obligations under Section VII

(Corporate Compliance) to the extent that such Records are retained by Daimler AG pursuant to

this Paragraph. These information-retention requirements shall apply regardless of any contrary

corporate or institutional policies or procedures. Nothing in this Paragraph shall apply to any

documents in the possession, custody, or control of any outside legal counsel retained by

Defendants in connection with this Consent Decree or of any contractors or agents retained by

such outside legal counsel solely to assist in the legal representation of Defendants.

       82.     At any time during the three-year information-retention period of Paragraph 81,

upon request by the United States or CARB, a Defendant receiving a request shall provide to the

requesting Plaintiff copies of any Records required to be maintained under that Paragraph.

Defendant Daimler AG alone may apply reasonable redactions to Personal Information

contained in Records that relate to its performance of its obligations under this Consent Decree,

provided that Daimler AG retains original copies of such Records. However, Defendant Daimler

AG may not redact (1) the names of auditors who participated in any corporate audit conducted

pursuant to the requirements of Section VII (Corporate Compliance); or (2) the name of the

External Compliance Consultant retained pursuant to the requirements of Section VII (Corporate

Compliance). Upon request by the United States or CARB, Defendant Daimler AG shall provide

unredacted copies of such Records.

       83.     Defendants may assert that certain Records are privileged or protected as

provided under federal or California law. If Defendants assert such a privilege or protection,

they shall provide the following in writing: (1) the title of the Record; (2) the date of the Record;

(3) the name and title of each author of the Record; (4) the name and title of each addressee and




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recipient; (5) a description of the subject of the Record; and (6) the privilege or protection

asserted by Defendants. However, Defendants may make no claim of privilege or protection

regarding: (1) any data regarding the Subject Vehicles that Defendants are required to create or

generate pursuant to this Consent Decree; or (2) the final version of a portion of any Record that

Defendants are required to create or generate pursuant to this Consent Decree.

        84.     Confidential Business Information. Defendants may also assert that Records

required to be provided under this Section or Section IX (Reporting Requirements) are protected

as CBI under 40 C.F.R. Part 2 or 17 C.C.R. §§ 91000 et seq. As to any Record that Defendants

seek to protect as CBI, Defendants and the United States and/or California, as applicable, shall

follow the procedures set forth in 40 C.F.R. Part 2, and, for California, in 17 C.C.R. §§ 91000 et

seq.

        85.     This Consent Decree in no way limits or affects any right of entry and inspection,

or any right to obtain information, held by the United States or California pursuant to applicable

federal or state laws, regulations, or permits, nor does it limit or affect any duty or obligation of

Defendants to maintain Records imposed by applicable federal or state laws, regulations, or

permits.

               XIV.    EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS

        86.     Subject to the reservations of rights in this Section, this Consent Decree shall

resolve and settle all of the United States’ civil claims for civil penalties and injunctive relief

against Defendants through the Date of Lodging for: (1) the violations alleged in the U.S.

Complaint, (2) violations arising from or relating to the software, calibrations, and/or functions

of the emission control system, combustion system, and transmission system for the Subject

Vehicles, and (3) violations arising from or relating to Defendants’ applications for a certificate




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of conformity for the Subject Vehicles and any information provided to EPA for the purpose of

securing such certificates. Payment of the civil penalty described in Paragraph 9 above also

resolves the civil claims of CBP, as set forth in the separate settlement agreement between

Defendants and CBP.

          87.   Subject to the reservations of rights in this Section, this Consent Decree shall

resolve and settle all of California’s civil claims for civil penalties and injunctive relief against

Defendants through the Date of Lodging for: (1) the violations alleged in the California

Complaint or any other allegations asserted by CARB before March 31, 2017, (2) violations

arising from or relating to the software, calibrations, and/or functions of the emission control

system, combustion system, and transmission system for the Subject Vehicles, and (3) violations

arising from or relating to Defendants’ applications for an executive order for the Subject

Vehicles and any information provided to CARB for the purpose of securing such executive

orders.

          88.   Neither this Consent Decree nor Defendants’ consent to its entry constitutes an

admission by Defendants of violations alleged by EPA or CARB in the Complaints or any other

allegations asserted by CARB before March 31, 2017, related to the Subject Vehicles.

Defendants reserve all defenses and all rights and remedies, legal and equitable, available to

them in any action by a non-party pertaining to the Act, or any other federal, state, or local

statute, rule, or regulation.

          89.   The United States and California reserve all legal and equitable remedies to

enforce the provisions of this Consent Decree. The United States further reserves any claim(s) of

any agency of the United States, other than EPA.




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       90.     California further reserves, and this Consent Decree is without prejudice to any

and all civil claims, rights, and remedies against Defendants with respect to:

               a.      Further injunctive relief, including prohibitory and mandatory injunctive

                       provisions intended to enjoin, prevent, and deter future misconduct, and/or

                       incentivize its detection, disclosure, and/or prosecution; or to enjoin false

                       advertising, violation of environmental laws, violation of consumer laws,

                       the making of false statements, or the use or employment of any practice

                       that constitutes unfair competition;

               b.      Further injunctive relief pursuant to California Health and Safety Code as

                       alleged in the California Complaint to mitigate the total lifetime excess

                       emissions in California from the Subject Vehicles, which injunctive relief

                       is fully set forth in and resolved by the California Partial Consent Decree,

                       lodged concurrently with this Consent Decree;

               c.      Any part of any claims for the violation of securities or false claims laws;

               d.      Any criminal liability;

               e.      Any and all other claim(s) of any officer or agency of the State of

                       California, other than CARB;

               f.      Any and all claims for relief to customers, including claims for restitution,

                       refunds, rescission, damages, disgorgement;

               g.      Any and all claims of the California Attorney General, except those claims

                       released and/or resolved by the California Partial Consent Decree, lodged

                       concurrently with this Consent Decree; and

               h.      Any and all claims held by individual consumers.




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        91.     This Consent Decree shall not be construed to limit the rights of the United States

or California to obtain penalties or injunctive relief under the Act or implementing regulations,

or under other federal or state laws, regulations, or permit conditions, except as specifically

provided in Paragraphs 86–87. The United States and California further reserve all legal and

equitable remedies to address any imminent and substantial endangerment to the public

health or welfare or the environment arising at any of Defendants’ facilities, or posed by

Defendants’ Subject Vehicles, whether related to the violations addressed in this Consent

Decree or otherwise.

        92.     In any subsequent administrative or judicial proceeding initiated by the United

States or California for injunctive relief, civil penalties, or other appropriate relief relating to

Defendants’ violations, Defendants shall not assert, and may not maintain, any defense or claim

based upon the principles of waiver, res judicata, collateral estoppel, issue preclusion, claim

preclusion, claim-splitting, or other defenses based upon any contention that the claims raised by

the United States or California in the subsequent proceeding were or should have been brought in

the instant case, except with respect to claims that have been specifically resolved pursuant to

Paragraphs 86–87.

        93.     This Consent Decree is not a permit, or a modification of any permit, under any

federal, state, or local laws or regulations. Defendants are responsible for achieving and

maintaining complete compliance with all applicable federal, state, and local laws, regulations,

and permits; and Defendants’ compliance with this Consent Decree shall be no defense to any

action commenced pursuant to any such laws, regulations, or permits, except as set forth herein.

The United States and California do not, by their consent to the entry of this Consent Decree,

warrant or aver in any manner that Defendants’ compliance with any aspect of this Consent




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Decree will result in compliance with provisions of the Act, or with any other provisions of

federal, state, or local laws, regulations, or permits.

        94.     This Consent Decree does not limit or affect the rights of Defendants or of the

United States or California against any third parties not party to this Consent Decree, nor does it

limit or affect the rights of third parties not party to this Consent Decree against Defendants,

except as otherwise provided by law.

        95.     This Consent Decree shall not be construed to create rights in, or grant any cause

of action to, any third party not party to this Consent Decree.

                                            XV.     COSTS

        96.     The Parties shall bear their own costs of this action, including attorneys’ fees,

subject to Paragraph 90.e, except that the United States and California shall be entitled to

collect the costs (including attorneys’ fees) incurred in any action necessary to collect any

portion of the civil penalty, mitigation, or stipulated penalties due under this Consent Decree

but not paid by Defendants.

                                          XVI.    NOTICES

        97.     Unless otherwise specified in this Consent Decree, Materials shall be

accompanied by a cover letter and submitted electronically as described below, unless such

notices are unable to be uploaded to the CDX electronic system (in the case of EPA) or

transmitted by email (in the case of any other party). For all notices to EPA, Defendants shall

register for the CDX electronic system and upload such notices at

https://cdx.epa.gov/epa_home.asp. All Emission Modification Proposal Reports, OBD Interim

Reports, documents and data submitted pursuant to Paragraph 19 (Subject Vehicle In-Use

Testing), and all revisions and amendments thereto, shall be submitted (1) on an electronic data




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site hosted by Daimler AG that is accessible to the United States, EPA, CARB, and California at

all times until 60 Days after Termination of this Consent Decree, and from which the United

States, EPA, CARB, and California are able to download all data hosted on that site; and (2) on a

hard disk that must be mailed to the addresses specified below no later than the date that the next

set of semi-annual reports are due after the relevant data has been uploaded to the data site, and

an email specifying the method of mailing and tracking information shall be sent to the

addressed below. If there is any discrepancy between the information submitted to the electronic

data site and the information submitted on the hard disk, the information submitted to the data

site shall control. Any notice that cannot be uploaded to CDX or the Daimler-hosted electronic

data site or transmitted via email or via a secure server shall be provided in writing via overnight

mail (and if any attachment is voluminous, it shall be provided on a disk, hard drive, or other

equivalent successor technology) to the addresses below:

       As to the United States:               DOJ at the email, or if necessary, the mail addresses
                                              below
                                              and
                                              EPA (via CDX or the mail address below if CDX is
                                              not possible)

       As to DOJ by email:                    eescdcopy.enrd@usdoj.gov
                                              Re: DJ # 90-5-2-1-11788

       As to DOJ by U.S. mail:                EES Case Management Unit
                                              Environment and Natural Resources Division
                                              U.S. Department of Justice
                                              P.O. Box 7611
                                              Washington, D.C. 20044-7611
                                              Re: DJ # 90-5-2-1-11788

       As to DOJ by overnight mail:           4 Constitution Square
                                              150 M Street, N. E.
                                              Suite 2.900
                                              Washington, D.C. 20002
                                              Re: DJ # 90-5-2-1-11788




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As to EPA by email:           ortega.kellie@epa.gov

As to EPA by mail:            Director, Air Enforcement Division
                              1200 Pennsylvania Avenue NW
                              William J Clinton South Building
                              MC 2242A
                              Washington, D.C. 20460

                              Emission Modification Proposal Reports, OBD
                              Interim Reports, documents and data submitted
                              pursuant to Paragraph 18.a19 (Subject Vehicle In-
                              Use Testing), and all revisions and amendments
                              thereto sent via hard drive shall be further labelled,
                              “Attn: Gregory Orehowsky,” and “Time Sensitive.”

                              Emission Modification Proposal Reports, OBD
                              Interim Reports, documents and data submitted
                              pursuant to Paragraph 19 (Subject Vehicle In-Use
                              Testing), and all revisions and amendments thereto
                              shall also be sent to OTAQ via hard drive at the
                              following address:

                              Director, Compliance Division
                              USEPA National Vehicle and Fuel Emissions
                              Laboratory
                              2565 Plymouth Road
                              Ann Arbor, MI 48105

                              Submissions to OTAQ shall be labelled, “Attn: Paul
                              Dekraker” and “Time Sensitive.”

As to EPA by telephone:       202-564-0652

As to CBP by email:           Marta.Williams@cbp.dhs.gov

As to California:             CARB and CA AG at the email or mail addresses
                              below, as applicable

As to CARB by email:          DaimlerCD@arb.ca.gov


As to CARB by telephone:      (916) 322-2884

As to CARB by mail:           Chief Counsel
                              California Air Resources Board
                              Legal Office



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                             1001 I Street
                             Sacramento, California 95814

As to CA AG by email:        gary.tavetian@doj.ca.gov
                             josh.caplan@doj.ca.gov

john.sasaki@doj.ca.gov

As to CA AG by mail:         Gary Tavetian
                             Supervising Deputy Attorney General
                             Natural Resources Law Section
                             California Department of Justice
                             300 South Spring Street
                             Los Angeles, CA 90013

                             Robert Byrne
                             Senior Assistant Attorney General
                             Natural Resources Section
                             Office of the Attorney General
                             P.O. Box 944255
                             Sacramento, CA 94244-2550

As to Defendants:            Gibson, Dunn & Crutcher, LLP, at the email or mail
                             addresses below, as applicable

                             Daimler AG, at the email or mail addresses below,
                             as applicable

                             MBUSA, LLC, at the email or mail addresses
                             below, as applicable

As to one or more of the
Defendants by email:         rludwiszewski@gibsondunn.com
                             sfletcher@gibsondunn.com
                             dirk.lindemann@daimler.com
                             hendrik.heitsch@daimler.com
                             matthew.j.everitt@mbusa.com
                             anthony.zepf@mbusa.com

As to one or more of the
Defendants by mail:          Raymond B. Ludwiszewski
                             Stacie B. Fletcher
                             GIBSON, DUNN & CRUTCHER LLP
                             1050 Connecticut Avenue Northwest
                             Washington, District of Columbia 20036
                             Telephone: (202) 955-8500



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                                             Facsimile: (202) 467-0539

                                             Dirk Lindemann
                                             Hendrik Heitsch
                                             DAIMLER AG
                                             Mercedesstraße 120
                                             Building 120, Floor 8
                                             (HPC 096 – F 387)
                                             70327 Stuttgart

                                             Matthew J. Everitt
                                             Anthony D. Zepf
                                             MERCEDES-BENZ USA, LLC
                                             One Mercedes-Benz Drive
                                             Sandy Springs, GA 30328-4312

       98.     Any Party may, by written notice to the other Parties, change its designated notice

recipient or notice address provided in the immediately preceding Paragraph.

       99.     Materials submitted pursuant to this Section shall be deemed submitted upon

uploading electronically, emailing, or mailing as required, except as provided elsewhere in this

Consent Decree or by mutual agreement of the Parties in writing.

                                   XVII. EFFECTIVE DATE

       100.    The Effective Date of this Consent Decree shall be the date upon which this

Consent Decree is entered by the Court or a motion to enter this Consent Decree is granted,

whichever occurs first, as recorded on the Court’s docket; provided, however, that Defendant

hereby agrees that it shall be bound to perform duties scheduled to occur between the Date of

Lodging and the Effective Date, and shall perform those duties pursuant to this Consent Decree.

In the event the United States withdraws or withholds consent to this Consent Decree before

entry, or the Court declines to enter this Consent Decree, then the preceding requirement to

perform duties scheduled to occur between the Date of Lodging and the Effective Date shall

terminate.




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                           XVIII. RETENTION OF JURISDICTION

       101.    The Court shall retain jurisdiction over this case until termination of this Consent

Decree, for the purpose of resolving disputes arising under this Consent Decree or entering

orders modifying this Consent Decree, pursuant to Sections XII (Dispute Resolution) and XIX

(Modification), or effectuating or enforcing compliance with the terms of this Consent Decree.

                                    XIX.    MODIFICATION

       102.    Except as otherwise set forth in this Section or in Appendix A, Paragraph 14, the

terms of this Consent Decree, including any attached Appendices, may be modified only by a

subsequent written agreement signed by all the Parties. Where the modification constitutes a

material change to this Consent Decree, it shall be effective only upon approval by the Court.

       103.    The United States or California, as applicable, will file any non-material

modifications with the Court. Once the non-material modification has been filed, Defendants

shall post the filed version (with ECF stamp) on the website required by Appendix A, Paragraph

16 (Online Access to Information). The following modifications will be considered non-

material: (1) changes to the method of submission of Materials unless this Consent Decree

originally mandated that a Material be made public and the proposed change involves changing

that method of submission to make it non-public; (2) extensions of time not to exceed 90 Days at

a time or 180 Days cumulatively; and (3) corrections of scrivener’s errors.

       104.    Any disputes concerning modification of this Consent Decree shall be resolved

pursuant to Section XII (Dispute Resolution), provided, however, that, instead of the burden of

proof provided by Paragraph 76, the Party seeking the modification bears the burden of

demonstrating that it is entitled to the requested modification in accordance with Federal Rule of

Civil Procedure 60(b).




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                                     XX.     TERMINATION

       105.    No earlier than five years after the Effective Date, after Defendants have

completed the requirements of Section VI (Subject Vehicle Compliance) and Section VIII

(Mitigation), and Appendices A and B, have demonstrated that they are in compliance with the

requirements of Section VII (Corporate Compliance), have complied with all other requirements

of this Consent Decree, and have paid the civil penalty and any accrued stipulated penalties as

required by this Consent Decree, Defendants may serve upon the United States and California a

request for termination, stating that Defendants have satisfied those requirements, together with

all necessary supporting documentation. Defendants may serve such a request for termination

notwithstanding the requirements of Appendix A, Paragraph 5 (Prohibition on Sales of Vehicles

that Have Not Entered into Commerce); Appendix A, Paragraph 6 (Resale and Export of Subject

Vehicles); Appendix A, Paragraph 7 (Emission Modification Available at No Cost); Appendix

A, Paragraph 16 (Online Access to Information); and Appendix A, Paragraphs 18.a–e, 18.h, and

18.i (Extended Warranty for Modified Eligible Vehicles).

       106.    Following receipt by the United States and California of Defendants’ request for

termination, the Parties shall confer informally concerning the request and any disagreement that

the Parties may have as to whether Defendants have satisfactorily complied with the

requirements for termination of this Consent Decree. If the United States, after consultation with

California, agrees that this Consent Decree may be terminated, the United States will file a

motion to terminate this Consent Decree, provided, however, that the provisions associated with

effectuating and enforcing Appendix A, Paragraph 5 (Prohibition on Sales of Vehicles that Have

Not Entered into Commerce) and Appendix A, Paragraph 6 (Resale and Export of Subject

Vehicles) shall continue in full force and effect for ten years from the Effective Date; and the




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provisions associated with effectuating and enforcing Appendix A, Paragraph 7 (Emission

Modification Available at No Cost), Appendix A, Paragraph 16 (Online Access to Information),

and Appendix A, Paragraphs 18.a–e, 18.h, and 18.i (Extended Warranty for Modified Eligible

Vehicles) shall continue in full force and effect until those provisions terminate by their own

terms.

         107.   If the United States, after consultation with California, does not agree that this

Consent Decree may be terminated, Defendants may invoke Dispute Resolution under Section

XII. However, Defendants shall not seek Dispute Resolution of any dispute regarding

termination until 45 Days after service of their request for termination.

                                XXI.    PUBLIC PARTICIPATION

         108.   This Consent Decree shall be lodged with the Court for a period of not less than

30 Days for public notice and comment in accordance with 28 C.F.R. § 50.7. The United States

reserves the right to withdraw or withhold its consent if the comments regarding this Consent

Decree disclose facts or considerations indicating that this Consent Decree is inappropriate,

improper, or inadequate. California reserves the right to withdraw or withhold its consent if the

United States does so. Defendants consent to entry of this Consent Decree without further notice

and agree not to withdraw from or oppose entry of this Consent Decree by the Court or to

challenge any provision of this Consent Decree, unless the United States has notified Defendants

in writing that it no longer supports entry of this Consent Decree.

                                 XXII. SIGNATORIES/SERVICE

         109.   Each undersigned representative of Defendants and California and the Assistant

Attorney General for the Environment and Natural Resources Division of the Department of




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Justice certifies that he or she is fully authorized to enter into the terms and conditions of this

Consent Decree and to execute and legally bind the Party he or she represents to this document.

         110.   This Consent Decree may be signed in counterparts, and its validity shall not be

challenged on that basis. For purposes of this Consent Decree, a signature page that is

transmitted electronically (e.g., by facsimile or emailed “PDF”) shall have the same effect as an

original.

         111.   Defendants agree to accept service of process by mail with respect to all matters

arising under or relating to this Consent Decree and to waive the formal service requirements set

forth in Rules 4 and 5 of the Federal Rules of Civil Procedure and any applicable Local Rules of

this Court including, but not limited to, service of a summons. Defendants need not file an

answer to the complaint in this action unless or until the Court expressly declines to enter this

Consent Decree, in which case Defendants’ answer would be due 30 Days following the Court’s

order.

                                      XXIII. INTEGRATION

         112.   This Consent Decree constitutes the final, complete, and exclusive agreement and

understanding among the Parties with respect to the settlement embodied in this Consent Decree

and supersedes all prior agreements and understandings, whether oral or written, concerning the

settlement embodied herein. Other than deliverables that are subsequently submitted and

approved pursuant to this Consent Decree, the Parties acknowledge that there are no

representations, agreements, or understandings relating to the settlement other than those

expressly contained in this Consent Decree.




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                     XXIV. 26 U.S.C. § 162(f)(2)(A)(ii) IDENTIFICATION

       113.    For purposes of the identification requirement of Section 162(f)(2)(A)(ii) of the

Internal Revenue Code, 26 U.S.C. § 162(f)(2)(A)(ii), the performance by Defendants of Section

II (Applicability), Paragraph 5; Section V (Approval of Submissions; U.S./EPA/CARB

Decision-Making), Paragraph 14; Section VI (Subject Vehicle Compliance), Paragraphs 18–19,

and related Appendices A and B; Section VII (Corporate Compliance), Paragraphs 20–34, and

related Appendix D; Section VIII (Mitigation), Paragraphs 35–40; Section IX (Reporting

Requirements), Paragraphs 42–44 and 46–48; and Section XIII (Information Collection and

Retention), Paragraphs 79–82, is restitution or required to come into compliance with law.

                                   XXV. FINAL JUDGMENT

       114.    Upon approval and entry of this Consent Decree by the Court, this Consent

Decree shall constitute a final judgment of the Court as to the United States, California, and

Defendants.

                                       XXVI. HEADINGS

       115.    Headings to the Sections and Subsections of this Consent Decree are provided for

convenience and do not affect the meaning or interpretation of the provisions of this Consent

Decree.

                                  XXVII.         APPENDICES

       116.    The following Appendices are attached to and part of this Consent Decree:


Appendix A is the Emission Modification Program;
Appendix A, Attachment A is the Approved Label for Emission Modification Category 1;
Appendix A, Attachment B is the Approved Consumer Emission Modification Disclosures for
Categories 1 and 9;
Appendix A, Attachment C is the Approved Dealer Emission Modification Disclosures for
Emission Modification Categories 1 and 9;


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Appendix B is Protocol for Assessment of Proposed Emission Modification (Test Protocol);
Appendix B, Attachment A is Emission Plus Test Vehicles and OBD Demonstration Vehicles;
Appendix B, Attachment B is Sample Signal Data;
Appendix B, Attachment C is Special Cycles;
Appendix B, Attachment D is PEMS Routes;
Appendix B, Attachment E is Data Parameters for Flat Files;
Appendix B, Attachment F is Emission, Special Cycle and Fuel Economy Testing Overview;
Appendix B, Attachment G is NVH Protocol;
Appendix B, Attachment H is Drivability Protocol;
Appendix B, Attachment I is Emission Modification Configuration Components (table);
Appendix C is ECU Signals for In-Use Vehicle Testing with Production ECU;
Appendix D is Defendants’ Compliance Operating Plan; and
Appendix E is Information and Parameters Reported for Gasoline Vehicles Prior to Certification.




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Dated and entered this   Day of __________, 2020,



                                   __________________________________
                                   UNITED STATES DISTRICT JUDGE




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THE UNDERSIGNED PARTY enters into this Consent Decree in the matter of California v.
Daimler AG & Mercedes-Benz USA, LLC

FOR THE PEOPLE OF THE STATE OF CALIFORNIA BY AND THROUGH THE
CALIFORNIA AIR RESOURCES BOARD:




                                     GARY E. TAVETIAN
                                     Supervising Deputy Attorney General
                                     JOSHUA M. CAPLAN
                                     JOHN SASAKI
                                     Deputy Attorneys General
                                     California Department of Justice
                                     Office of the Attorney General
                                     600 West Broadway, Suite 1800
                                     San Diego, CA 92101




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